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 3                                       EXHIBIT C

 4                       PROFESSIONAL FEES FOR THE PERIOD
                         APRIL 1, 2020 THROUGH APRIL 30, 2020
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       PG&E Corporation and Pacific Gas and Electric Company
                               Deloitte & Touche LLP
                    Fees Sorted by Category for the Fee Period
                                    April 01, 2020 - April 30, 2020

Date                       Description                                     Rate    Hours         Fees

2020 Audit Services
04/01/2020
   Azebu, Matt             Discussion with W. Meredith, B. Rice,        $260.00      0.5      $130.00
                           L. Schloetter (Deloitte), A. Chung, K.
                           Mallone, D. Diaz (PG&E) related to
                           review notes on quarterly financial
                           statement draft.
   Azebu, Matt             Discussion with L. Schloetter, B. Rice       $260.00      1.0      $260.00
                           (Deloitte) regarding planning for
                           quarterly review procedures and
                           timing.
   Dam, Vivian             Discussion with N. Donahue, T. Gillam,       $260.00      1.0      $260.00
                           W. Meredith, B. Rice, R. Nkinzingabo,
                           J, Yuen (Deloitte), E. Min, B. Wong, J.
                           Evans, T. Lewis (PG&E) regarding
                           quarter 1 tax updates in relation to
                           quarterly review procedures.
   Donahue, Nona           Discussion with T. Gillam, W. Meredith,      $410.00      1.0      $410.00
                           R. Nkinzingabo, B. Rice, V. Dam, J.
                           Yuen (Deloitte), E. Min, B. Wong, J.
                           Evans, T. Lewis (PG&E) regarding
                           quarter 1 tax updates in relation to
                           quarterly review procedures.
   Fazil, Mohamed          Meeting with W. Kipkirui (Deloitte) to       $260.00      0.5      $130.00
                           discuss the SAP risk assessment
                           documentation.
   Fazil, Mohamed          Perform risk and control matrix              $260.00      1.5      $390.00
                           preparation for SAP controls.
   Gillam, Tim             Discussion with N. Donahue, W.               $410.00      1.0      $410.00
                           Meredith, R. Nkinzingabo, B. Rice, V.
                           Dam, J. Yuen (Deloitte), E. Min, B.
                           Wong, J. Evans, T. Lewis (PG&E)
                           regarding quarter 1 tax updates in
                           relation to quarterly review procedures.
   Kipkirui, Winnie        Meeting with M. Fazil (Deloitte) to          $260.00      0.5      $130.00
                           discuss the SAP risk assessment
                           documentation.
   Long, Brittany          Review risk assessment                       $310.00      3.0      $930.00
                           documentation for SAP system.




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       PG&E Corporation and Pacific Gas and Electric Company
                              Deloitte & Touche LLP
                  Fees Sorted by Category for the Fee Period
                                  April 01, 2020 - April 30, 2020
Date                      Description                                    Rate    Hours         Fees

2020 Audit Services
04/01/2020
   Meredith, Wendy        Discussion with M. Azebu, B. Rice, L.       $410.00      0.5      $205.00
                          Schloetter (Deloitte), A. Chung, K.
                          Mallone, D. Diaz (PG&E) related to
                          review notes on quarterly financial
                          statement draft.
   Meredith, Wendy        Discussion with N. Donahue, T. Gillam,      $410.00      1.0      $410.00
                          R. Nkinzingabo, B. Rice, V. Dam, J.
                          Yuen (Deloitte), E. Min, B. Wong, J.
                          Evans, T. Lewis (PG&E) regarding
                          quarter 1 tax updates in relation to
                          quarterly review procedures.
   Nkinzingabo, Rudy      Discussion with N. Donahue, T. Gillam,      $310.00      1.0      $310.00
                          W. Meredith, B. Rice, V. Dam, J. Yuen
                          (Deloitte), E. Min, B. Wong, J. Evans,
                          T. Lewis (PG&E) regarding quarter 1
                          tax updates in relation to quarterly
                          review procedures.
   Rice, Blake            Discussion with W. Meredith, M.             $260.00      0.5      $130.00
                          Azebu, L. Schloetter (Deloitte), A.
                          Chung, K. Mallone, D. Diaz (PG&E)
                          related to review notes on quarterly
                          financial statement draft.
   Rice, Blake            Discussion with N. Donahue, T. Gillam,      $260.00      1.0      $260.00
                          W. Meredith, R. Nkinzingabo, V. Dam,
                          J. Yuen (Deloitte), E. Min, B. Wong, J.
                          Evans, T. Lewis (PG&E) regarding
                          quarter 1 tax updates in relation to
                          quarterly review procedures.
   Rice, Blake            Discussion with L. Schloetter, M.           $260.00      1.0      $260.00
                          Azebu (Deloitte) regarding planning for
                          quarterly review procedures and
                          timing.
   Schloetter, Lexie      Meeting with J. Gaboden, D.                 $210.00      1.5      $315.00
                          Thomason, N. Riojas, A. Duran
                          (PG&E) regarding company review
                          over quarterly potential adjusting
                          journal entries.
   Schloetter, Lexie      Discussion with W. Meredith, M.             $210.00      0.5      $105.00
                          Azebu, B. Rice (Deloitte), A. Chung, K.
                          Mallone, D. Diaz (PG&E) related to
                          review notes on quarterly financial
                          statement draft.

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       PG&E Corporation and Pacific Gas and Electric Company
                               Deloitte & Touche LLP
                    Fees Sorted by Category for the Fee Period
                                    April 01, 2020 - April 30, 2020
Date                       Description                                      Rate    Hours         Fees

2020 Audit Services
04/01/2020
   Schloetter, Lexie       Discussion with M. Azebu, B. Rice             $210.00      1.0      $210.00
                           (Deloitte) regarding planning for
                           quarterly review procedures and
                           timing.
   Yuen, Jennifer          Discussion with N. Donahue, T. Gillam,        $260.00      1.0      $260.00
                           W. Meredith, B. Rice, R. Nkinzingabo,
                           V. Dam (Deloitte), E. Min, B. Wong, J.
                           Evans, T. Lewis (PG&E) regarding
                           quarter 1 tax updates in relation to
                           quarterly review procedures.
04/02/2020
   Azebu, Matt             Review audit requests for the quarterly       $260.00      1.0      $260.00
                           review for first quarter.
   Fazil, Mohamed          Meeting with W. Kipkirui, B. Long, S.         $260.00      1.0      $260.00
                           Misra (Deloitte) to discuss the risk
                           assessment strategy and the FY20
                           planning for testing SAP system.
   Jin, Yezi               Meet with W. Meredith (Deloitte) to           $350.00      0.5      $175.00
                           discuss first quarter 2020 plan.
   Kipkirui, Winnie        Meeting with B. Long (Deloitte) to            $260.00      0.5      $130.00
                           discuss planning for FY'20 information
                           technology audit.
   Kipkirui, Winnie        Meeting with B. Long, S. Misra, M.            $260.00      1.0      $260.00
                           Fazil (Deloitte) to discuss the risk
                           assessment strategy and the FY20
                           planning for testing SAP system.
   Long, Brittany          Meeting with W. Kipkirui, S. Misra, M.        $310.00      1.0      $310.00
                           Fazil (Deloitte) to discuss the risk
                           assessment strategy and the FY20
                           planning for testing SAP system.
   Long, Brittany          Meeting with W. Kipkirui (Deloitte) to        $310.00      0.5      $155.00
                           discuss planning for FY'20 information
                           technology audit.
   Long, Brittany          Review risk assessment                        $310.00      1.5      $465.00
                           documentation for SAP system.
   Meredith, Wendy         Prepare meeting agenda for quarter 1          $410.00      0.4      $164.00
                           kick-off meeting with PG&E.
   Meredith, Wendy         Meet with Y. Jin (Deloitte) to discuss        $410.00      0.5      $205.00
                           first quarter 2020 plan.


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       PG&E Corporation and Pacific Gas and Electric Company
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                  Fees Sorted by Category for the Fee Period
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Date                      Description                                       Rate    Hours         Fees

2020 Audit Services
04/02/2020
   Misra, Saurabh         Meeting with W. Kipkirui, B. Long, M.          $310.00      1.0      $310.00
                          Fazil (Deloitte) to discuss the risk
                          assessment strategy and the FY20
                          planning for testing SAP system.
04/03/2020
   Ramkumar, Vignesh      Prepare status update pertaining to the        $210.00      1.0      $210.00
                          asset retirement obligation risk
                          assessment.
   Schloetter, Lexie      Formulate strategy for the quarterly           $210.00      3.0      $630.00
                          review timing related to workpapers
                          timing.
04/05/2020
   Bedi, Arpit            Analyze Form 8-K's that PG&E filed             $210.00      1.5      $315.00
                          with Securities and Exchange
                          Commission to assess the effect on
                          financial statements for Q1'20.
   Bedi, Arpit            Summarize Form 8-K's that PG&E filed           $210.00      1.5      $315.00
                          with Securities and Exchange
                          Commission to assess the effect on
                          financial statements for Q1'20.
   Bedi, Arpit            Prepare the internal audit report on           $210.00      2.0      $420.00
                          internal control operation for Q1'20.
04/06/2020
   Azebu, Matt            Discussion with E. Brown, K. Boyce, L.         $260.00      0.5      $130.00
                          Schloetter, B. Rice, W. Meredith
                          (Deloitte) regarding considerations
                          relating to the Q1 audit of PG&E.
   Azebu, Matt            Discussion with E. Brown, K. Boyce, L.         $260.00      0.5      $130.00
                          Schloetter, H. Chopra, A. Bedi, A.
                          Kamra, S. Varshney (Deloitte)
                          regarding status of workpaper
                          priorities.
   Bedi, Arpit            Discussion with E. Brown, K. Boyce, L.         $210.00      0.5      $105.00
                          Schloetter, M. Azebu, H. Chopra, A.
                          Kamra, S. Varshney (Deloitte)
                          regarding status of workpaper
                          priorities.




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       PG&E Corporation and Pacific Gas and Electric Company
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                 Fees Sorted by Category for the Fee Period
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Date                      Description                                   Rate    Hours         Fees

2020 Audit Services
04/06/2020
   Bedi, Arpit            Analyze the 8-K which discloses            $210.00      3.0      $630.00
                          material reporting matters to the
                          Securities and Exchange Commission
                          to assess the effect on financial
                          statements for Q1'20.
   Bedi, Arpit            Prepare required partner rotation          $210.00      1.0      $210.00
                          workpaper for the financial year 2020.
   Boyce, Kyle            Discussion with L. Schloetter, E. Brown    $190.00      0.5       $95.00
                          (Deloitte) regarding workpaper
                          priorities.
   Boyce, Kyle            Update the income statement analytic       $190.00      3.0      $570.00
                          for Q1 2020.
   Boyce, Kyle            Discussion with E. Brown, L.               $190.00      0.5       $95.00
                          Schloetter, M. Azebu, H. Chopra, A.
                          Bedi, A. Kamra, S. Varshney (Deloitte)
                          regarding status of workpaper
                          priorities.
   Boyce, Kyle            Discussion with E. Brown, L.               $190.00      0.5       $95.00
                          Schloetter, M. Azebu, B. Rice, W.
                          Meredith (Deloitte) regarding
                          considerations relating to the Q1 audit
                          of PG&E.
   Boyce, Kyle            Meeting regarding the review of the        $190.00      1.0      $190.00
                          potential adjustment report with L.
                          Schloetter (Deloitte), D. Thomason, J.
                          Garboden, N. Riojas, R. Sharma, E.
                          Min, E. Li (PG&E).
   Brown, Erin            Discussion with K. Boyce, L.               $190.00      0.5       $95.00
                          Schloetter, M. Azebu, H. Chopra, A.
                          Bedi, A. Kamra, S. Varshney (Deloitte)
                          regarding status of workpaper
                          priorities.
   Brown, Erin            Continue to document balance sheet         $190.00      3.0      $570.00
                          variance analytic for 1st quarter
                          numbers.
   Brown, Erin            Discussion with L. Schloetter, K. Boyce    $190.00      0.5       $95.00
                          (Deloitte) regarding workpaper
                          priorities.




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       PG&E Corporation and Pacific Gas and Electric Company
                              Deloitte & Touche LLP
                 Fees Sorted by Category for the Fee Period
                                   April 01, 2020 - April 30, 2020
Date                      Description                                    Rate    Hours         Fees

2020 Audit Services
04/06/2020
   Brown, Erin            Discussion with K. Boyce, L.                $190.00      0.5       $95.00
                          Schloetter, M. Azebu, B. Rice, W.
                          Meredith (Deloitte) regarding
                          considerations relating to the Q1 audit
                          of PG&E.
   Brown, Erin            Document balance sheet variance             $190.00      3.5      $665.00
                          analytic for 1st quarter numbers.
   Chopra, Harshita       Draft responses to the independence         $190.00      3.0      $570.00
                          areas in order to check the
                          applicability of Public Company
                          Accounting Oversight Board rules for
                          matters of Independence belonging to
                          the current quarter.
   Chopra, Harshita       Discussion with E. Brown, K. Boyce, L.      $190.00      0.5       $95.00
                          Schloetter, M. Azebu, A. Bedi, A.
                          Kamra, S. Varshney (Deloitte)
                          regarding status of workpaper
                          priorities.
   Chopra, Harshita       Continue to draft responses for             $190.00      2.0      $380.00
                          quarterly review checklist which
                          outlines the filing and audit
                          requirements when performing the
                          interim review.
   Chopra, Harshita       Continue assessing the independence         $190.00      1.5      $285.00
                          of the audit engagement team
                          members engaged on the PG&E audit
                          to comply with independence rules.
   Chopra, Harshita       Continue drafting responses to the          $190.00      1.0      $190.00
                          independence areas in order to check
                          the applicability of Public Company
                          Accounting Oversight Board's rules for
                          matters of Independence belonging to
                          the current quarter.
   Chopra, Harshita       Assess the independence of the audit        $190.00      3.0      $570.00
                          engagement team members engaged
                          on the PG&E audit to comply with
                          independence rules.
   Chopra, Harshita       Draft responses for quarterly review        $190.00      3.0      $570.00
                          checklist which outlines the filing and
                          audit requirements when performing
                          the interim review.

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       PG&E Corporation and Pacific Gas and Electric Company
                              Deloitte & Touche LLP
                   Fees Sorted by Category for the Fee Period
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Date                      Description                                   Rate    Hours         Fees

2020 Audit Services
04/06/2020
   Gupta, Deepak          Prepare the quarter over quarter           $210.00      2.0      $420.00
                          comparison for other comprehensive
                          income to analyze the fluctuation.
   Jin, Yezi              Discussion with L. Schloetter (Deloitte)   $350.00      0.5      $175.00
                          regarding strategy for senior manager
                          involvement on quarterly review
                          workpaper priorities.
   Meredith, Wendy        Discussion with E. Brown, K. Boyce, L.     $410.00      0.5      $205.00
                          Schloetter, M. Azebu, B. Rice (Deloitte)
                          regarding considerations relating to the
                          Q1 audit of PG&E.
   Rice, Blake            Discussion with E. Brown, K. Boyce, L.     $260.00      0.5      $130.00
                          Schloetter, M. Azebu, W. Meredith
                          (Deloitte) regarding considerations
                          relating to the Q1 audit of PG&E.
   Schloetter, Lexie      Draft correspondence to S. Varshney,       $210.00      0.5      $105.00
                          A. Kamra (Deloitte) related to quarterly
                          workpaper priorities.
   Schloetter, Lexie      Discussion with Y. Jin (Deloitte)          $210.00      0.5      $105.00
                          regarding strategy for senior manager
                          involvement on quarterly review
                          workpaper priorities.
   Schloetter, Lexie      Address notes on workpaper related to      $210.00      1.5      $315.00
                          auditors independence.
   Schloetter, Lexie      Discussion with E. Brown, K. Boyce         $210.00      0.5      $105.00
                          (Deloitte) regarding workpaper
                          priorities.
   Schloetter, Lexie      Update planned presentation for            $210.00      3.0      $630.00
                          communications to the audit committee
                          regarding quarterly updates.
   Schloetter, Lexie      Continue to update planned                 $210.00      2.5      $525.00
                          presentation for communications to the
                          audit committee regarding quarterly
                          updates.
   Schloetter, Lexie      Regarding the review of the potential      $210.00      1.0      $210.00
                          adjustment report with K. Boyce
                          (Deloitte), D. Thomason, J. Garboden,
                          N. Riojas, R. Sharma, E. Min, E. Li
                          (PG&E).



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       PG&E Corporation and Pacific Gas and Electric Company
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Date                      Description                                     Rate    Hours         Fees

2020 Audit Services
04/06/2020
   Schloetter, Lexie      Discussion with E. Brown, K. Boyce,          $210.00      0.5      $105.00
                          M. Azebu, B. Rice, W. Meredith
                          (Deloitte) regarding considerations
                          relating to the Q1 audit of PG&E.
   Schloetter, Lexie      Discussion with E. Brown, K. Boyce,          $210.00      0.5      $105.00
                          M. Azebu, H. Chopra, A. Bedi, A.
                          Kamra, S. Varshney (Deloitte)
                          regarding status of workpaper
                          priorities.
   Varshney, Swati        Discussion with E. Brown, K. Boyce, L.       $260.00      0.5      $130.00
                          Schloetter, M. Azebu, H. Chopra, A.
                          Bedi, A. Kamra (Deloitte) regarding
                          status of workpaper priorities.
04/07/2020
   Bedi, Arpit            Analyze various accounting and               $210.00      1.5      $315.00
                          financial reporting alerts applicable to
                          the PG&E to assess the effect on
                          financial statements for Q1'20.
   Bedi, Arpit            Summarize various accounting and             $210.00      1.5      $315.00
                          financial reporting alerts applicable to
                          the PG&E to assess the effect on
                          financial statements for Q1'20.
   Bedi, Arpit            Prepare risk assessment work paper to        $210.00      3.0      $630.00
                          assess the various accounting and
                          failure risk associated with PG&E for
                          Q1'20 and summarize various analyst
                          reports and its effects on PG&E.
   Boyce, Kyle            Discussion with L. Schloetter (Deloitte)     $190.00      0.5       $95.00
                          regarding the environmental
                          remediation liability accrual roll-
                          forward.
   Boyce, Kyle            Update the environmental remediation         $190.00      3.5      $665.00
                          liability accrual rollforward for Q1'2020.
   Boyce, Kyle            Discussion with L. Schloetter, E. Brown      $190.00      0.5       $95.00
                          (Deloitte) regarding workpaper
                          priorities.
   Boyce, Kyle            Continue to update the income                $190.00      2.5      $475.00
                          statement analytic for Q1 2020.
   Brown, Erin            Document balance sheet variance              $190.00      3.5      $665.00
                          analytic for 1st quarter numbers.

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                    Fees Sorted by Category for the Fee Period
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Date                        Description                                     Rate    Hours         Fees

2020 Audit Services
04/07/2020
   Brown, Erin              Document corporate consolidation             $190.00       3.0      $570.00
                            analytic for 1st quarter numbers.
   Brown, Erin              Discussion with L. Schloetter, K. Boyce      $190.00       0.5       $95.00
                            (Deloitte) regarding workpaper
                            priorities.
   Brown, Erin              Document engagement team protocols           $190.00       1.0      $190.00
                            for 2020 Audit.
   Chopra, Harshita         Draft responses for quarterly review         $190.00       1.0      $190.00
                            checklist which outlines the filing and
                            audit requirements when performing
                            the interim review.
   Chopra, Harshita         Discussion regarding independence            $190.00       0.5       $95.00
                            related considerations, including
                            identification of affiliates and scope of
                            services related queries with S.
                            Varshney (Deloitte).
   Chopra, Harshita         Assess the independence of the audit         $190.00       1.0      $190.00
                            engagement team members engaged
                            on the PG&E audit to comply with
                            independence rules.
   Chopra, Harshita         Draft responses to the independence          $190.00       0.5       $95.00
                            areas in order to check the
                            applicability of Public Company
                            Accounting Oversight Board's rules for
                            matters of Independence belonging to
                            the current quarter.
   Fazil, Mohamed           Review general information technology        $260.00       1.0      $260.00
                            controls listing for in-scope systems.
   Gupta, Deepak            Prepare the quarter over quarter             $210.00       0.5      $105.00
                            comparison for other comprehensive
                            income to explain the fluctuation.
   Kanekar, Anish           Prepare status update pertaining to the      $310.00       1.0      $310.00
                            property, plant and equipment risk
                            assessment.
   Kipkirui, Winnie         Meeting with B. Long (Deloitte) to           $260.00       0.5      $130.00
                            discuss the current status of the FY'20
                            information technology control testing.
   Long, Brittany           Meeting with W. Kipkirui (Deloitte) to       $310.00       0.5      $155.00
                            discuss the current status of the FY'20
                            information technology control testing.

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       PG&E Corporation and Pacific Gas and Electric Company
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                  Fees Sorted by Category for the Fee Period
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Date                       Description                                     Rate    Hours         Fees

2020 Audit Services
04/07/2020
   M, Ashwin               Prepare access security testing plan         $210.00       2.0      $420.00
                           for the SAP system, governance, risk
                           and compliance module.
   Ramkumar, Vignesh       Prepare status update pertaining to the      $210.00       1.0      $210.00
                           asset retirement obligation risk
                           assessment.
   Schloetter, Lexie       Prepare workpaper related to the audit       $210.00       3.5      $735.00
                           and audit related services summary.
   Schloetter, Lexie       Prepare workpaper related to the             $210.00       3.0      $630.00
                           preapproval of audit services in relation
                           to the quarterly engagement letter.
   Schloetter, Lexie       Draft correspondence to S. Varshney          $210.00       0.5      $105.00
                           and H. Chopra (Deloitte) regarding
                           quarterly workpaper priorities.
   Schloetter, Lexie       Research within audit analytics tools        $210.00       1.0      $210.00
                           on checklists associated with generally
                           accepted accounting principals.
   Schloetter, Lexie       Discussion with E. Brown, K. Boyce           $210.00       0.5      $105.00
                           (Deloitte) regarding workpaper
                           priorities.
   Schloetter, Lexie       Discussion with K. Boyce (Deloitte)          $210.00       0.5      $105.00
                           regarding the environmental
                           remediation liability accrual roll-
                           forward.
   Varshney, Swati         Discussion regarding independence            $260.00       0.5      $130.00
                           related considerations, including
                           identification of affiliates and scope of
                           services related queries with H.
                           Chopra (Deloitte).
   Varshney, Swati         Prepare quarter over quarter analysis        $260.00       1.5      $390.00
                           of other comprehensive income for the
                           company.
04/08/2020
   Bedi, Arpit             Continue to prepare the risk                 $210.00       3.0      $630.00
                           assessment work paper to assess the
                           various accounting and failure risk
                           associated with PG&E for Q1'20 and
                           summarize various analyst reports and
                           its effects on PG&E.


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       PG&E Corporation and Pacific Gas and Electric Company
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                 Fees Sorted by Category for the Fee Period
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Date                       Description                                    Rate    Hours         Fees

2020 Audit Services
04/08/2020
   Bedi, Arpit             Further prepare risk assessment work        $210.00       2.0      $420.00
                           paper to assess various accounting
                           and failure risk associated with PG&E
                           for Q1'20 and summarize various
                           financial analyst reports and its effects
                           on PG&E.
   Boyce, Kyle             Continue to update the income               $190.00       3.5      $665.00
                           statement analytic for Q1 2020.
   Boyce, Kyle             Discussion with L. Schloetter, E. Brown     $190.00       0.5       $95.00
                           (Deloitte) regarding workpaper
                           priorities.
   Boyce, Kyle             Discussion with L. Schloetter (Deloitte)    $190.00       1.0      $190.00
                           regarding the Q1’2020 income
                           statement analytic fluctuation analysis.
   Boyce, Kyle             Continue to update the income               $190.00       3.0      $570.00
                           statement analytic for Q1 2020.
   Brown, Erin             Document engagement team protocols          $190.00       1.0      $190.00
                           for 2020 Audit.
   Brown, Erin             Document corporate consolidation            $190.00       3.0      $570.00
                           analytic for 1st quarter numbers.
   Brown, Erin             Discussion with L. Schloetter, K. Boyce     $190.00       0.5       $95.00
                           (Deloitte) regarding workpaper
                           priorities.
   Brown, Erin             Document balance sheet variance             $190.00       3.5      $665.00
                           analytic for 1st quarter numbers.
   Chopra, Harshita        Assess the independence of the audit        $190.00       0.2       $38.00
                           engagement team members engaged
                           on the PG&E audit to comply with
                           independence rules.
   Chopra, Harshita        Discuss independence related                $190.00       0.5       $95.00
                           considerations, including identification
                           of affiliates, employment matters scope
                           of services and other independence
                           related queries with S. Varshney
                           (Deloitte).
   Fazil, Mohamed          Meeting with W. Kipkirui, B. Long           $260.00       1.0      $260.00
                           (Deloitte) to discuss plan for upcoming
                           information technology risk discussion.




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                                Deloitte & Touche LLP
                    Fees Sorted by Category for the Fee Period
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Date                        Description                                   Rate    Hours         Fees

2020 Audit Services
04/08/2020
   K, Kavya                 Prepare access security testing for the    $210.00       2.0      $420.00
                            SAP system, governance, risk and
                            compliance module.
   Kipkirui, Winnie         Meeting with M. Fazil, B. Long             $260.00       1.0      $260.00
                            (Deloitte) to discuss plan for upcoming
                            information technology risk
                            discussion..
   Long, Brittany           Meeting with M. Fazil, W. Kipkirui         $310.00       1.0      $310.00
                            (Deloitte) to discuss plan for upcoming
                            information technology risk discussion.
   M, Ashwin                Continue to prepare access security        $210.00       2.0      $420.00
                            testing plan for the SAP system,
                            governance, risk and compliance
                            module.
   Nambiar, Sachin          Review information technology audit        $210.00       0.5      $105.00
                            plan for 2020.
   Rice, Blake              Discussion with L. Schloetter (Deloitte)   $260.00       1.0      $260.00
                            regarding the record of issuance for
                            quarterly review reports.
   Schloetter, Lexie        Discussion with E. Brown, K. Boyce         $210.00       0.5      $105.00
                            (Deloitte) regarding workpaper
                            priorities.
   Schloetter, Lexie        Discussion with K. Boyce (Deloitte)        $210.00       1.0      $210.00
                            regarding the Q1’2020 income
                            statement analytic fluctuation analysis.
   Schloetter, Lexie        Discussion with B. Rice (Deloitte)         $210.00       1.0      $210.00
                            regarding the record of issuance for
                            quarterly review reports.
   Schloetter, Lexie        Update review reports for issuance of      $210.00       3.5      $735.00
                            quarterly financial statements.
   Schloetter, Lexie        Analyze environmental remediation          $210.00       1.5      $315.00
                            liabilities for fluctuations.
   Schloetter, Lexie        Continue to update the review reports      $210.00       1.5      $315.00
                            for review opinions issued to the
                            company.
   Varshney, Swati          Review interim review checklist which      $260.00       1.5      $390.00
                            includes questions for quarterly review
                            procedures to be performed on
                            financial information.


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                 Fees Sorted by Category for the Fee Period
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Date                       Description                                    Rate    Hours         Fees

2020 Audit Services
04/08/2020
   Varshney, Swati         Discuss independence related                 $260.00      0.5      $130.00
                           considerations, including identification
                           of affiliates, employment matters scope
                           of services and other independence
                           related queries with H. Chopra
                           (Deloitte).
04/09/2020
   Azebu, Matt             Discussion with L. Schloetter, E.            $260.00      0.5      $130.00
                           Brown, B. Rice, W. Meredith, T. Gillam,
                           Y. Jin, K. Boyce (Deloitte) regarding
                           status of the audit and workpaper
                           priorities.
   Bedi, Arpit             Prepare independence memo and                $210.00      1.5      $315.00
                           roadmap workpaper for Q1'20.
   Boyce, Kyle             Continue to update the environmental         $190.00      3.5      $665.00
                           remediation liability accrual rollforward
                           for Q1'2020.
   Boyce, Kyle             Discussion with E. Brown (Deloitte)          $190.00      0.5       $95.00
                           regarding workpaper priorities.
   Boyce, Kyle             Discussion with L. Schloetter, E.            $190.00      0.5       $95.00
                           Brown, B. Rice, M. Azebu, W.
                           Meredith, T. Gillam, Y. Jin (Deloitte)
                           regarding status of the audit and
                           workpaper priorities.
   Boyce, Kyle             Update the environmental remediation         $190.00      3.5      $665.00
                           liability accrual rollforward for Q1'2020.
   Brown, Erin             Document balance sheet variance              $190.00      3.5      $665.00
                           analytic for 1st quarter numbers.
   Brown, Erin             Discussion with K. Boyce (Deloitte)          $190.00      0.5       $95.00
                           regarding workpaper priorities.
   Brown, Erin             Continue documentation of balance            $190.00      3.5      $665.00
                           sheet variance analytic for 1st quarter
                           numbers.
   Brown, Erin             Discussion with L. Schloetter, B. Rice,      $190.00      0.5       $95.00
                           M. Azebu, W. Meredith, T. Gillam, Y.
                           Jin, K. Boyce (Deloitte) regarding
                           status of the audit and workpaper
                           priorities.




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                 Fees Sorted by Category for the Fee Period
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2020 Audit Services
04/09/2020
   Chopra, Harshita        Discuss responses for questionnaire          $190.00       0.5       $95.00
                           included in a form which outlines the
                           filing and audit requirements when
                           performing the interim review with S.
                           Varshney (Deloitte).
   Chopra, Harshita        Assess the independence of the audit         $190.00       0.3       $57.00
                           engagement team members engaged
                           on the PG&E audit to comply with
                           independence rules.
   Fazil, Mohamed          Review risk and control matrix               $260.00       2.5      $650.00
                           mapping for information technology
                           control testing.
   Fazil, Mohamed          Modify risk and control matrix mapping       $260.00       2.5      $650.00
                           for information technology control
                           testing.
   Gillam, Tim             Discussion with L. Schloetter, E.            $410.00       0.5      $205.00
                           Brown, B. Rice, M. Azebu, W.
                           Meredith, Y. Jin, K. Boyce (Deloitte)
                           regarding status of the audit and
                           workpaper priorities.
   Gillam, Tim             Meet with W. Meredith (Deloitte) to          $410.00       0.5      $205.00
                           discuss internal Deloitte client
                           continuance for 2020 audit.
   Jin, Yezi               Discussion with L. Schloetter, E.            $350.00       0.5      $175.00
                           Brown, B. Rice, M. Azebu, W.
                           Meredith, T. Gillam, K. Boyce (Deloitte)
                           regarding status of the audit and
                           workpaper priorities.
   K, Kavya                Continue to prepare access security          $210.00       2.0      $420.00
                           testing for the SAP system,
                           governance, risk and compliance
                           module.
   M, Ashwin               Continue to prepare access security          $210.00       1.0      $210.00
                           testing plan for the SAP system,
                           governance, risk and compliance
                           module.
   Meredith, Wendy         Discussion with L. Schloetter (Deloitte)     $410.00       0.5      $205.00
                           regarding impact of accounting
                           disclosures on the quarterly financial
                           statements.


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2020 Audit Services
04/09/2020
   Meredith, Wendy        Discussion with L. Schloetter, E.            $410.00       0.5      $205.00
                          Brown, B. Rice, M. Azebu, T. Gillam,
                          Y. Jin, K. Boyce (Deloitte) regarding
                          status of the audit and workpaper
                          priorities.
   Meredith, Wendy        Meet with T. Gillam (Deloitte) to            $410.00       0.5      $205.00
                          discuss internal Deloitte client
                          continuance for 2020 audit.
   Meredith, Wendy        Review client continuance                    $410.00       0.5      $205.00
                          documentation for 2020 audit.
   Meredith, Wendy        Respond to survey request for                $410.00       1.0      $410.00
                          information to be submitted to Public
                          Company Accounting Oversight Board
                          around the integrated audit.
   Meredith, Wendy        Review agendas related to first quarter      $410.00       0.5      $205.00
                          meetings
   Rice, Blake            Discussion with L. Schloetter, E.            $260.00       0.5      $130.00
                          Brown, M. Azebu, W. Meredith, T.
                          Gillam, Y. Jin, K. Boyce (Deloitte)
                          regarding status of the audit and
                          workpaper priorities.
   Schloetter, Lexie      Discussion with W. Meredith (Deloitte)       $210.00       0.5      $105.00
                          regarding impact of accounting
                          disclosures on the quarterly financial
                          statements.
   Schloetter, Lexie      Prepare for internal meeting related to      $210.00       2.0      $420.00
                          quarterly workpaper timing.
   Schloetter, Lexie      Review draft financial statements to         $210.00       2.5      $525.00
                          provide comments to the reporting
                          supervisor K. Mallone (PG&E).
   Schloetter, Lexie      Update listing of team members               $210.00       2.0      $420.00
                          requiring independence related to
                          quarterly procedures.
   Schloetter, Lexie      Discussion with E. Brown, B. Rice, M.        $210.00       0.5      $105.00
                          Azebu, W. Meredith, T. Gillam, Y. Jin,
                          K. Boyce (Deloitte) regarding status of
                          the audit and workpaper priorities.




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2020 Audit Services
04/09/2020
   Schloetter, Lexie       Discussion with M. Pietrasz (PG&E)          $210.00       0.5      $105.00
                           regarding legal updates related to
                           quarterly environmental liability
                           adjustments.
   Varshney, Swati         Discuss responses for questionnaire         $260.00       0.5      $130.00
                           included in a form which outlines the
                           filing and audit requirements when
                           performing the interim review with H.
                           Chopra (Deloitte).
   Varshney, Swati         Review checklist completed related to       $260.00       3.0      $780.00
                           interim financial information and audit
                           procedures performed on same.
04/10/2020
   Azebu, Matt             Discussion with B. Rice, B. Martin, W.      $260.00       1.0      $260.00
                           Meredith, L. Schloetter, J. Hamner, R.
                           Uy, E. Brown, V. Hennessy, K. Boyce
                           (Deloitte) regarding areas of
                           improvement and planning for the 2020
                           audit.
   Azebu, Matt             Discussion with T. Pemberton, T.            $260.00       0.5      $130.00
                           Gillam, W. Meredith, B. Rice, L.
                           Schloetter (Deloitte) regarding updates
                           on the engagement quality control
                           review for interim review workpapers.
   Bedi, Arpit             Summarize various alerts applicable to      $210.00       2.5      $525.00
                           the PG&E to assess the effect on
                           financial statements for Q1'20.
   Boyce, Kyle             Discussion with L. Schloetter, E. Brown     $190.00       0.5       $95.00
                           (Deloitte) regarding workpaper
                           priorities.
   Boyce, Kyle             Discussion with B. Rice, B. Martin, W.      $190.00       1.0      $190.00
                           Meredith, L. Schloetter, J. Hamner, M.
                           Azebu, R. Uy, E. Brown, V. Hennessy
                           (Deloitte) regarding areas of
                           improvement and planning for the 2020
                           audit.
   Boyce, Kyle             Close notes on the environmental            $190.00       3.5      $665.00
                           remediation liability accrual rollforward
                           for Q1'2020.
   Boyce, Kyle             Continue to update the income               $190.00       3.0      $570.00
                           statement analytic for Q1 2020.

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2020 Audit Services
04/10/2020
   Brown, Erin            Discussion with B. Rice, B. Martin, W.     $190.00       1.0      $190.00
                          Meredith, L. Schloetter, J. Hamner, M.
                          Azebu, R. Uy, V. Hennessy, K. Boyce
                          (Deloitte) regarding areas of
                          improvement and planning for the 2020
                          audit.
   Brown, Erin            Discussion with L. Schloetter, K. Boyce    $190.00       0.5       $95.00
                          (Deloitte) regarding workpaper
                          priorities.
   Brown, Erin            Document balance sheet variance            $190.00       3.5      $665.00
                          analytic for 1st quarter numbers.
   Brown, Erin            Document corporate consolidation           $190.00       2.0      $380.00
                          analytic for 1st quarter numbers.
   Brown, Erin            Document statement of other                $190.00       1.0      $190.00
                          comprehensive income analytic for 1st
                          quarter numbers.
   Chopra, Harshita       Assess independence of the audit           $190.00       1.0      $190.00
                          engagement team members engaged
                          on the PG&E audit to comply with
                          independence rules.
   Chopra, Harshita       Discussion with S. Varshney (Deloitte)     $190.00       0.5       $95.00
                          regarding independence related
                          considerations, including identification
                          of affiliates, employment matters scope
                          of services and other independence
                          related queries.
   Gillam, Tim            Discussion with T. Pemberton, W.           $410.00       0.5      $205.00
                          Meredith, M Azebu, B. Rice, L.
                          Schloetter (Deloitte) regarding updates
                          on the engagement quality control
                          review for interim review workpapers.
   Hamner, Jack           Discussion with B. Rice, B. Martin, W.     $260.00       1.0      $260.00
                          Meredith, L. Schloetter, M. Azebu, R.
                          Uy, E. Brown, V. Hennessy, K. Boyce
                          (Deloitte) regarding areas of
                          improvement and planning for the 2020
                          audit.




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2020 Audit Services
04/10/2020
   Hennessy, Vincent        Discussion with B. Rice, B. Martin, W.    $260.00       1.0      $260.00
                            Meredith, L. Schloetter, J. Hamner, M.
                            Azebu, R. Uy, E. Brown, K. Boyce
                            (Deloitte) regarding areas of
                            improvement and planning for the 2020
                            audit.
   Kipkirui, Winnie         Document risk assessment                  $260.00       2.5      $650.00
                            presentation slide deck for SAP
                            system.
   Kipkirui, Winnie         Create risk assessment presentation       $260.00       1.5      $390.00
                            including description of controls for
                            each information technology risk.
   Kipkirui, Winnie         Meeting with B. Long (Deloitte) to        $260.00       1.0      $260.00
                            discuss the SAP risk assessment deck.
   Long, Brittany           Meeting with W. Kipkirui (Deloitte) to    $310.00       1.0      $310.00
                            discuss the SAP risk assessment deck.
   Martin, Blake            Discussion with B. Rice, W. Meredith,     $260.00       1.0      $260.00
                            L. Schloetter, J. Hamner, M. Azebu, R.
                            Uy, E. Brown, V. Hennessy, K. Boyce
                            (Deloitte) regarding areas of
                            improvement and planning for the 2020
                            audit.
   Meredith, Wendy          Review 2020 audit plan presentation       $410.00       0.5      $205.00
                            slide deck.
   Meredith, Wendy          Discussion with B. Rice, B. Martin, L.    $410.00       1.0      $410.00
                            Schloetter, J. Hamner, M. Azebu, R.
                            Uy, E. Brown, V. Hennessy, K. Boyce
                            (Deloitte) regarding areas of
                            improvement and planning for the 2020
                            audit.
   Meredith, Wendy          Discussion with T. Pemberton, T.          $410.00       0.5      $205.00
                            Gillam, M Azebu, B. Rice, L. Schloetter
                            (Deloitte) regarding updates on the
                            engagement quality control review for
                            interim review workpapers.
   Pemberton, Tricia        Discussion with T. Gillam, W. Meredith,   $410.00       0.5      $205.00
                            M Azebu, B. Rice, L. Schloetter
                            (Deloitte) regarding updates on the
                            engagement quality control review for
                            interim review workpapers.


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Date                      Description                                   Rate    Hours         Fees

2020 Audit Services
04/10/2020
   Rice, Blake            Discussion with T. Pemberton, T.           $260.00       0.5      $130.00
                          Gillam, W. Meredith, M Azebu, L.
                          Schloetter (Deloitte) regarding updates
                          on the engagement quality control
                          review for interim review workpapers.
   Rice, Blake            Discussion with L. Schloetter (Deloitte)   $260.00       0.5      $130.00
                          and M. Pietrasz (PG&E) regarding
                          legal updates related to quarterly
                          environmental liability adjustments.
   Rice, Blake            Discussion with B. Martin, W. Meredith,    $260.00       1.0      $260.00
                          L. Schloetter, J. Hamner, M. Azebu, R.
                          Uy, E. Brown, V. Hennessy, K. Boyce
                          (Deloitte) regarding areas of
                          improvement and planning for the 2020
                          audit.
   Schloetter, Lexie      Discussion with E. Brown, K. Boyce         $210.00       0.5      $105.00
                          (Deloitte) regarding workpaper
                          priorities.
   Schloetter, Lexie      Discussion with T. Pemberton, T.           $210.00       0.5      $105.00
                          Gillam, W. Meredith, M Azebu, B. Rice
                          (Deloitte) regarding updates on the
                          engagement quality control review for
                          interim review workpapers.
   Schloetter, Lexie      Attend virtual training regarding the      $210.00       1.0      $210.00
                          impacts of the COVID-19 coronavirus
                          pandemic on PG&E's financial
                          statements.
   Schloetter, Lexie      Analyze revenue fluctuations for           $210.00       1.0      $210.00
                          quarterly analytic.
   Schloetter, Lexie      Analyze the impacts of the COVID-19        $210.00       0.5      $105.00
                          coronavirus pandemic on the
                          company's financial statements.
   Schloetter, Lexie      Discussion with B. Rice (Deloitte) and     $210.00       0.5      $105.00
                          M. Pietrasz (PG&E) regarding legal
                          updates related to quarterly
                          environmental liability adjustments.
   Schloetter, Lexie      Close notes on the workpaper related       $210.00       3.0      $630.00
                          to audit related summary notes.




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2020 Audit Services
04/10/2020
   Schloetter, Lexie      Discussion with B. Rice, B. Martin, W.     $210.00      1.0      $210.00
                          Meredith, J. Hamner, M. Azebu, R. Uy,
                          E. Brown, V. Hennessy, K. Boyce
                          (Deloitte) regarding areas of
                          improvement and planning for the 2020
                          audit.
   Uy, Rycel              Discussion with B. Rice, B. Martin, W.     $210.00      1.0      $210.00
                          Meredith, L. Schloetter, J. Hamner, M.
                          Azebu, E. Brown, V. Hennessy, K.
                          Boyce (Deloitte) regarding areas of
                          improvement and planning for the 2020
                          audit.
   Varshney, Swati        Review interim review checklist which      $260.00      0.5      $130.00
                          includes questions for quarterly review
                          procedures to be performed on
                          financial information.
   Varshney, Swati        Review independence considerations         $260.00      2.0      $520.00
                          for the company, which include
                          identifying affiliates, preapproval of
                          services, financial relationships and
                          employment matters.
   Varshney, Swati        Discussion with H. Chopra (Deloitte)       $260.00      0.5      $130.00
                          regarding independence related
                          considerations, including identification
                          of affiliates, employment matters scope
                          of services and other independence
                          related queries.
   Varshney, Swati        Review risk analysis of the company        $260.00      3.0      $780.00
                          with the use of various ratios and
                          analyst reports summarization.
04/12/2020
   Kamra, Akanksha        Review responses for questionnaire         $310.00      1.5      $465.00
                          included in a form which outlines the
                          filing and audit requirements when
                          performing the interim review for a
                          client.
   Kamra, Akanksha        Review documentation of memo               $310.00      1.0      $310.00
                          regarding independence compliance
                          for quarter 1.




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                 Fees Sorted by Category for the Fee Period
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Date                      Description                                    Rate    Hours         Fees

2020 Audit Services
04/13/2020
   Boyce, Kyle            Continue to update the income               $190.00       3.5      $665.00
                          statement analytic for Q1 2020.
   Boyce, Kyle            Close notes on the environmental            $190.00       1.0      $190.00
                          remediation liability accrual rollforward
                          for Q1'2020.
   Boyce, Kyle            Continue to update the income               $190.00       3.0      $570.00
                          statement analytic for Q1 2020.
   Boyce, Kyle            Discussion with B. Rice, L. Schloetter,     $190.00       0.5       $95.00
                          E. Brown (Deloitte) regarding
                          workpaper priorities.
   Brown, Erin            Document balance sheet variance             $190.00       3.5      $665.00
                          analytic for 1st quarter numbers.
   Brown, Erin            Continue to document balance sheet          $190.00       3.5      $665.00
                          variance analytic for 1st quarter
                          numbers.
   Brown, Erin            Perform tie-out procedures over PG&E        $190.00       2.0      $380.00
                          Form 10-Q draft of the quarterly
                          financial statements.
   Brown, Erin            Discussion with B. Rice, L. Schloetter,     $190.00       0.5       $95.00
                          K. Boyce (Deloitte) regarding
                          workpaper priorities.
   Chopra, Harshita       Discussion with S. Varshney (Deloitte)      $190.00       0.5       $95.00
                          regarding independence related
                          considerations, including identification
                          of affiliates, employment matters scope
                          of services and other independence
                          related queries.
   Chopra, Harshita       Draft responses for quarterly review        $190.00       0.2       $38.00
                          checklist which outlines the filing and
                          audit requirements when performing
                          the interim review.
   Chopra, Harshita       Assess the independence of the audit        $190.00       0.3       $57.00
                          engagement team members engaged
                          on the PG&E audit to comply with
                          independence rules.
   Kamra, Akanksha        Review independence of the audit            $310.00       0.5      $155.00
                          engagement team members engaged
                          on the PG&E audit to comply with
                          independence rules.



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       PG&E Corporation and Pacific Gas and Electric Company
                                Deloitte & Touche LLP
                    Fees Sorted by Category for the Fee Period
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Date                        Description                                   Rate    Hours          Fees

2020 Audit Services
04/13/2020
   Kipkirui, Winnie         Document risk assessment                   $260.00       2.5      $650.00
                            presentation slide deck for SAP
                            system.
   Long, Brittany           Prepare for quarter 1 meeting for          $310.00       0.5      $155.00
                            information technology risk
                            assessment.
   Long, Brittany           Review risk assessment plan on non-        $310.00       0.5      $155.00
                            SAP systems.
   Meredith, Wendy          Continue to review PG&E draft Form         $410.00       1.5      $615.00
                            10-Q for the quarterly financial
                            statements.
   Meredith, Wendy          Review PG&E draft 10-Q financial           $410.00       2.5     $1,025.00
                            statement for Q1'20.
   Meredith, Wendy          Review planned 2020 audit fee              $410.00       0.5      $205.00
                            analysis.
   Meredith, Wendy          Review quarterly review workpaper          $410.00       0.5      $205.00
                            around consideration of quarterly
                            reporting due to coronavirus impact.
   Rice, Blake              Discussion with L. Schloetter, E.          $260.00       0.5      $130.00
                            Brown, K. Boyce (Deloitte) regarding
                            workpaper priorities.
   Rice, Blake              Review PG&E Corporation variance           $260.00       2.0      $520.00
                            analysis workpaper.
   Schloetter, Lexie        Discussion with B. Rice, E. Brown, K.      $210.00       0.5      $105.00
                            Boyce (Deloitte) regarding workpaper
                            priorities.
   Schloetter, Lexie        Close notes on reports issued to the       $210.00       1.5      $315.00
                            company related to quarterly
                            procedures.
   Schloetter, Lexie        Review draft financials statements.        $210.00       1.5      $315.00
   Schloetter, Lexie        Research underlying reasons in             $210.00       3.5      $735.00
                            fluctuations in balance sheet analytics.
   Schloetter, Lexie        Update the workpaper related to the        $210.00       2.5      $525.00
                            evaluation of misstatements.
   Varshney, Swati          Review the risk assessment through         $260.00       1.0      $260.00
                            various financial ratios based on
                            previous financials statement of the
                            company.


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       PG&E Corporation and Pacific Gas and Electric Company
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                 Fees Sorted by Category for the Fee Period
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Date                       Description                                     Rate    Hours         Fees

2020 Audit Services
04/13/2020
   Varshney, Swati         Review independence roadmap                  $260.00       2.0      $520.00
                           checklist to evaluate independence
                           related to client and its affiliates and
                           the engagement team members.
   Varshney, Swati         Discussion with H. Chopra (Deloitte)         $260.00       0.5      $130.00
                           regarding independence related
                           considerations, including identification
                           of affiliates, employment matters scope
                           of services and other independence
                           related queries.
04/14/2020
   Azebu, Matt             Discussion with E. Brown, K. Boyce, L.       $260.00       0.5      $130.00
                           Schloetter, B. Rice, H. Chopra, A.
                           Kamra, S. Varshney (Deloitte)
                           regarding status of workpaper
                           priorities.
   Azebu, Matt             Discussion with L. Schloetter, E.            $260.00       0.5      $130.00
                           Brown, B. Rice, W. Meredith, T. Gillam,
                           Y. Jin, K. Boyce (Deloitte) regarding
                           status of the audit and workpaper
                           priorities.
   Azebu, Matt             Review non-recurring journal entries         $260.00       2.0      $520.00
                           posted during the quarter for quarterly
                           review testing procedures.
   Azebu, Matt             Discussion with W. Meredith, B. Rice,        $260.00       0.5      $130.00
                           L. Schloetter (Deloitte), A. Chung, K.
                           Mallone, D. Diaz (PG&E) regarding
                           review comments on quarterly financial
                           statement draft.
   Bedi, Arpit             Tie out the financial statement              $210.00       3.0      $630.00
                           numbers for Q1'20 Form 10-Q.
   Bedi, Arpit             Prepare rotation workpaper for the           $210.00       0.7      $147.00
                           2020 to document independence.
   Boyce, Kyle             Discussion with L. Schloetter (Deloitte)     $190.00       1.0      $190.00
                           regarding the electric balancing
                           account revenue reconciliation.
   Boyce, Kyle             Discussion with L. Schloetter, E.            $190.00       0.5       $95.00
                           Brown, B. Rice, M. Azebu, W.
                           Meredith, T. Gillam, Y. Jin (Deloitte)
                           regarding status of the audit and
                           workpaper priorities.

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       PG&E Corporation and Pacific Gas and Electric Company
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                 Fees Sorted by Category for the Fee Period
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Date                      Description                                   Rate    Hours         Fees

2020 Audit Services
04/14/2020
   Boyce, Kyle            Discussion with E. Brown, L.               $190.00       0.5       $95.00
                          Schloetter, M. Azebu, B. Rice, H.
                          Chopra, A. Kamra, S. Varshney
                          (Deloitte) regarding status of
                          workpaper priorities.
   Boyce, Kyle            Continue to update the income              $190.00       3.0      $570.00
                          statement analytic for Q1 2020.
   Boyce, Kyle            Continue to update the income              $190.00       3.5      $665.00
                          statement analytic for Q1 2020.
   Brown, Erin            Discussion with K. Boyce, L.               $190.00       0.5       $95.00
                          Schloetter, M. Azebu, B. Rice, H.
                          Chopra, A. Kamra, S. Varshney
                          (Deloitte) regarding status of
                          workpaper priorities.
   Brown, Erin            Document balance sheet variance            $190.00       3.5      $665.00
                          analytic for 1st quarter numbers.
   Brown, Erin            Continue to document balance sheet         $190.00       3.5      $665.00
                          variance analytic for 1st quarter
                          numbers.
   Brown, Erin            Discussion with L. Schloetter, B. Rice,    $190.00       0.5       $95.00
                          M. Azebu, W. Meredith, T. Gillam, Y.
                          Jin, K. Boyce (Deloitte) regarding
                          status of the audit and workpaper
                          priorities.
   Chopra, Harshita       Continue to review amounts included        $190.00       1.0      $190.00
                          in draft of the financial statements of
                          the company and perform tie-out of the
                          amounts to respective previous
                          quarterly or annual financial
                          statements.
   Chopra, Harshita       Check the independence of the audit        $190.00       1.0      $190.00
                          engagement team members engaged
                          on the PG&E audit for independence
                          documentation.
   Chopra, Harshita       Discussion with E. Brown, K. Boyce, L.     $190.00       0.5       $95.00
                          Schloetter, M. Azebu, B. Rice, A.
                          Kamra, S. Varshney (Deloitte)
                          regarding status of workpaper
                          priorities.



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       PG&E Corporation and Pacific Gas and Electric Company
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                 Fees Sorted by Category for the Fee Period
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Date                       Description                                    Rate    Hours         Fees

2020 Audit Services
04/14/2020
   Chopra, Harshita        Review amounts included in draft of          $190.00      3.0      $570.00
                           the financial statements of the
                           company and tying them out to
                           respective previous quarterly or annual
                           financial statements.
   Chopra, Harshita        Draft responses to the independence          $190.00      1.5      $285.00
                           areas in order to check the applicability
                           of Public Company Accounting
                           Oversight Board's rules for matters of
                           Independence belonging to the current
                           quarter.
   Fazil, Mohamed          Call with S. Misra (Deloitte) to discuss     $260.00      0.5      $130.00
                           information technology plan for 2020.
   Gillam, Tim             Discussion with L. Schloetter, E.            $410.00      0.5      $205.00
                           Brown, B. Rice, M. Azebu, W.
                           Meredith, Y. Jin, K. Boyce (Deloitte)
                           regarding status of the audit and
                           workpaper priorities.
   Jin, Yezi               Discussion with L. Schloetter, E.            $350.00      0.5      $175.00
                           Brown, B. Rice, M. Azebu, W.
                           Meredith, T. Gillam, K. Boyce (Deloitte)
                           regarding status of the audit and
                           workpaper priorities.
   Kamra, Akanksha         Discussion with E. Brown, K. Boyce, L.       $310.00      0.5      $155.00
                           Schloetter, M. Azebu, B. Rice, H.
                           Chopra, S. Varshney (Deloitte)
                           regarding status of workpaper
                           priorities.
   Kanekar, Anish          Prepare status update pertaining to the      $310.00      1.0      $310.00
                           asset retirement obligation risk
                           assessment.
   Meredith, Wendy         Review first quarter workpapers related      $410.00      1.0      $410.00
                           to independence.
   Meredith, Wendy         Meet with J. Garboden (PG&E) to              $410.00      0.5      $205.00
                           discuss impact of remote working on
                           internal control over financial reporting.
   Meredith, Wendy         Discussion with M. Azebu, B. Rice, L.        $410.00      0.5      $205.00
                           Schloetter (Deloitte), A. Chung, K.
                           Mallone, D. Diaz (PG&E) regarding
                           review comments on quarterly financial
                           statement draft.

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       PG&E Corporation and Pacific Gas and Electric Company
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                  Fees Sorted by Category for the Fee Period
                                   April 01, 2020 - April 30, 2020
Date                      Description                                     Rate    Hours         Fees

2020 Audit Services
04/14/2020
   Meredith, Wendy        Discussion with L. Schloetter, E.            $410.00       0.5      $205.00
                          Brown, B. Rice, M. Azebu, T. Gillam,
                          Y. Jin, K. Boyce (Deloitte) regarding
                          status of the audit and workpaper
                          priorities.
   Misra, Saurabh         Call with M. Fazil (Deloitte) to discuss     $310.00       1.0      $310.00
                          information technology plan for 2020.
   Ramkumar, Vignesh      Prepare status update regarding the          $210.00       1.0      $210.00
                          property, plant and equipment risk
                          assessment around disposal.
   Rice, Blake            Discussion with W. Meredith, M.              $260.00       0.5      $130.00
                          Azebu, L. Schloetter (Deloitte), A.
                          Chung, K. Mallone, D. Diaz (PG&E)
                          regarding review comments on
                          quarterly financial statement draft.
   Rice, Blake            Discussion with L. Schloetter, E.            $260.00       0.5      $130.00
                          Brown, M. Azebu, W. Meredith, T.
                          Gillam, Y. Jin, K. Boyce (Deloitte)
                          regarding status of the audit and
                          workpaper priorities.
   Rice, Blake            Discussion with E. Brown, K. Boyce, L.       $260.00       0.5      $130.00
                          Schloetter, M. Azebu, H. Chopra, A.
                          Kamra, S. Varshney (Deloitte)
                          regarding status of workpaper
                          priorities.
   Schloetter, Lexie      Discussion with K. Boyce (Deloitte)          $210.00       0.5      $105.00
                          regarding the electric balancing
                          account revenue reconciliation.
   Schloetter, Lexie      Review workpaper related to the              $210.00       1.5      $315.00
                          corporation consolidation for annual
                          and quarterly fluctuations.
   Schloetter, Lexie      Discussion with W. Meredith, M.              $210.00       0.5      $105.00
                          Azebu, B. Rice (Deloitte), A. Chung, K.
                          Mallone, D. Diaz (PG&E) regarding
                          review comments on quarterly financial
                          statement draft.
   Schloetter, Lexie      Perform preliminary review over              $210.00       1.0      $210.00
                          income statement analytics workpaper.
   Schloetter, Lexie      Perform research for the fluctuations in     $210.00       2.0      $420.00
                          the income statement for quarterly
                          analytic.

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       PG&E Corporation and Pacific Gas and Electric Company
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                  Fees Sorted by Category for the Fee Period
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Date                      Description                                   Rate    Hours         Fees

2020 Audit Services
04/14/2020
   Schloetter, Lexie      Discussion with E. Brown, B. Rice, M.      $210.00       0.5      $105.00
                          Azebu, W. Meredith, T. Gillam, Y. Jin,
                          K. Boyce (Deloitte) regarding status of
                          the audit and workpaper priorities.
   Schloetter, Lexie      Close notes on audit committee             $210.00       2.5      $525.00
                          presentation slides.
   Schloetter, Lexie      Discussion with E. Brown, K. Boyce,        $210.00       0.5      $105.00
                          M. Azebu, B. Rice, H. Chopra, A.
                          Kamra, S. Varshney (Deloitte)
                          regarding status of workpaper
                          priorities.
   Varshney, Swati        Discussion with E. Brown, K. Boyce, L.     $260.00       0.5      $130.00
                          Schloetter, M. Azebu, B. Rice, H.
                          Chopra, A. Kamra (Deloitte) regarding
                          status of workpaper priorities.
04/15/2020
   Azebu, Matt            Discussion with N. Donahue, R.             $260.00       0.5      $130.00
                          Nkinzingabo, J. Yuen, V. Dam, W.
                          Meredith, B. Rice, L. Schloetter
                          (Deloitte) regarding the scope of
                          quarterly tax work.
   Azebu, Matt            Meeting with T. Gillam, W. Meredith, B.    $260.00       1.0      $260.00
                          Rice (Deloitte), D. Thomason, J.
                          Garboden, E. Min, S. Hunter (PG&E)
                          to discussion first quarter accounting
                          matters.
   Azebu, Matt            Review Q1 internal control matters         $260.00       1.0      $260.00
                          identified by PG&E's financial controls
                          and compliance group for impacts on
                          quarterly review and audit plan.
   Azebu, Matt            Discussion with L. Schloetter, E.          $260.00       0.5      $130.00
                          Brown, K. Boyce (Deloitte) regarding
                          workpaper priorities.
   Azebu, Matt            Call with W. Meredith, B. Rice, L.         $260.00       0.5      $130.00
                          Schloetter (Deloitte), A. Chung, K.
                          Mallone, R. Stanley, N. Riojas, D.
                          Demartini (PG&E) regarding quarterly
                          audit procedure updates.
   Boyce, Kyle            Close notes on the environmental           $190.00       3.5      $665.00
                          remediation liability accrual workpaper.


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                 Fees Sorted by Category for the Fee Period
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2020 Audit Services
04/15/2020
   Boyce, Kyle            Prepare journal entry selections for       $190.00       1.5      $285.00
                          Q1'20.
   Boyce, Kyle            Discussion with M. Azebu, L.               $190.00       0.5       $95.00
                          Schloetter, E. Brown (Deloitte)
                          regarding workpaper priorities.
   Boyce, Kyle            Update the Q1'20 journal entry testing     $190.00       3.0      $570.00
                          file.
   Brown, Erin            Discussion with M. Azebu, L.               $190.00       0.5       $95.00
                          Schloetter, K. Boyce (Deloitte)
                          regarding workpaper priorities.
   Brown, Erin            Document balance sheet variance            $190.00       3.5      $665.00
                          analytic for 1st quarter numbers.
   Brown, Erin            Document balance sheet variance            $190.00       2.0      $380.00
                          analytic for 1st quarter numbers.
   Brown, Erin            Address notes with regards to              $190.00       3.0      $570.00
                          corporate consolidation analytic for 1st
                          quarter numbers.
   Chopra, Harshita       Check the independence of the audit        $190.00       0.5       $95.00
                          engagement team members engaged
                          on the PG&E audit for independence
                          documentation.
   Chopra, Harshita       Assess the independence of the audit       $190.00       0.5       $95.00
                          engagement team members engaged
                          on the PG&E audit to comply with
                          independence rules.
   Cochran, James         Discussion with T. Gillam, B. Rice, B.     $410.00       0.5      $205.00
                          Long (Deloitte), S. Cairns, D. Kenna,
                          C. Lee, C. Pezzola (PG&E) regarding
                          quarter 1 internal audit findings and
                          status of quarterly review.
   Dam, Vivian            Discussion with N. Donahue, R.             $260.00       0.5      $130.00
                          Nkinzingabo, J. Yuen, W. Meredith, B.
                          Rice, M. Azebu, L. Schloetter (Deloitte)
                          regarding the scope of quarterly tax
                          work.
   Donahue, Nona          Discussion with R. Nkinzingabo, J.         $410.00       0.5      $205.00
                          Yuen, V. Dam, W. Meredith, B. Rice,
                          M. Azebu, L. Schloetter (Deloitte)
                          regarding the scope of quarterly tax
                          work.

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                    Fees Sorted by Category for the Fee Period
                                     April 01, 2020 - April 30, 2020
Date                        Description                                   Rate    Hours         Fees

2020 Audit Services
04/15/2020
   Gillam, Tim              Discussion with B. Rice, J. Cochran, B.    $410.00       0.5      $205.00
                            Long (Deloitte), S. Cairns, D. Kenna,
                            C. Lee, C. Pezzola (PG&E) regarding
                            quarter 1 internal audit findings and
                            status of quarterly review.
   Gillam, Tim              Meeting with W. Meredith, M. Azebu,        $410.00       1.0      $410.00
                            B. Rice (Deloitte), D. Thomason, J.
                            Garboden, E. Min, S. Hunter (PG&E)
                            to discussion first quarter accounting
                            matters.
   Long, Brittany           Review risk assessment of SAP              $310.00       1.0      $310.00
                            system to understand the testing of
                            internal controls.
   Long, Brittany           Discussion with T. Gillam, B. Rice, J.     $310.00       0.5      $155.00
                            Cochran (Deloitte), S. Cairns, D.
                            Kenna, C. Lee, C. Pezzola (PG&E)
                            regarding quarter 1 internal audit
                            findings and status of quarterly review.
   Meredith, Wendy          Discussion with N. Donahue, R.             $410.00       0.5      $205.00
                            Nkinzingabo, J. Yuen, V. Dam, B. Rice,
                            M. Azebu, L. Schloetter (Deloitte)
                            regarding the scope of quarterly tax
                            work.
   Meredith, Wendy          Meeting with T. Gillam, M. Azebu, B.       $410.00       1.0      $410.00
                            Rice (Deloitte), D. Thomason, J.
                            Garboden, E. Min, S. Hunter (PG&E)
                            to discussion first quarter accounting
                            matters.
   Meredith, Wendy          Call with M. Azebu, B. Rice, L.            $410.00       0.5      $205.00
                            Schloetter (Deloitte), A. Chung, K.
                            Mallone, R. Stanley, N. Riojas, D.
                            Demartini (PG&E) regarding quarterly
                            audit procedure updates.
   Misra, Saurabh           Review risk-control matrix mapping         $310.00       2.0      $620.00
                            around information technology testing.
   Nkinzingabo, Rudy        Discussion with N. Donahue, J. Yuen,       $310.00       0.5      $155.00
                            V. Dam, W. Meredith, B. Rice, M.
                            Azebu, L. Schloetter (Deloitte)
                            regarding the scope of quarterly tax
                            work.



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                  Fees Sorted by Category for the Fee Period
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Date                      Description                                   Rate    Hours         Fees

2020 Audit Services
04/15/2020
   Nkinzingabo, Rudy      Review prior year year-end working         $310.00       0.7      $217.00
                          paper to compare with the changes of
                          book/tax differences for quarter 1
                          income tax provision.
   Rice, Blake            Discussion with N. Donahue, R.             $260.00       0.5      $130.00
                          Nkinzingabo, J. Yuen, V. Dam, W.
                          Meredith, M. Azebu, L. Schloetter
                          (Deloitte) regarding the scope of
                          quarterly tax work.
   Rice, Blake            Meeting with T. Gillam, W. Meredith,       $260.00       1.0      $260.00
                          M. Azebu (Deloitte), D. Thomason, J.
                          Garboden, E. Min, S. Hunter (PG&E)
                          to discussion first quarter accounting
                          matters.
   Rice, Blake            Discussion with T. Gillam, J. Cochran,     $260.00       0.5      $130.00
                          B. Long (Deloitte), S. Cairns, D.
                          Kenna, C. Lee, C. Pezzola (PG&E)
                          regarding quarter 1 internal audit
                          findings and status of quarterly review.
   Rice, Blake            Call with W. Meredith, M. Azebu, L.        $260.00       0.5      $130.00
                          Schloetter (Deloitte), A. Chung, K.
                          Mallone, R. Stanley, N. Riojas, D.
                          Demartini (PG&E) regarding quarterly
                          audit procedure updates.
   Schloetter, Lexie      Close notes on quarterly independence      $210.00       2.5      $525.00
                          memo.
   Schloetter, Lexie      Call with W. Meredith, M. Azebu, B.        $210.00       0.5      $105.00
                          Rice (Deloitte), A. Chung, K. Mallone,
                          R. Stanley, N. Riojas, D. Demartini
                          (PG&E) regarding quarterly audit
                          procedure updates.
   Schloetter, Lexie      Research balance sheet variance            $210.00       0.5      $105.00
                          analysis workpaper into causes of
                          quarterly fluctuations.
   Schloetter, Lexie      Review the company's board of              $210.00       2.5      $525.00
                          directors minutes and agendas to
                          assess if there are additional matters
                          to be taken into consideration
                          regarding accounting or disclosure for
                          Q1'20.



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                    Fees Sorted by Category for the Fee Period
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Date                        Description                                    Rate    Hours         Fees

2020 Audit Services
04/15/2020
   Schloetter, Lexie        Discussion with M. Azebu, E. Brown,         $210.00       0.5      $105.00
                            K. Boyce (Deloitte) regarding
                            workpaper priorities.
   Schloetter, Lexie        Discussion with N. Donahue, R.              $210.00       0.5      $105.00
                            Nkinzingabo, J. Yuen, V. Dam, W.
                            Meredith, B. Rice, M. Azebu (Deloitte)
                            regarding the scope of quarterly tax
                            work.
   Varshney, Swati          Prepare interim summary memo which          $260.00       3.0      $780.00
                            include events which occurred in
                            current quarter to understand the risk
                            assessment for the quarter.
   Varshney, Swati          Continue executing interim summary          $260.00       2.0      $520.00
                            memo which include events in current
                            quarter.
   Yuen, Jennifer           Discussion with N. Donahue, R.              $260.00       0.5      $130.00
                            Nkinzingabo, V. Dam, W. Meredith, B.
                            Rice, M. Azebu, L. Schloetter (Deloitte)
                            regarding the scope of quarterly tax
                            work.
04/16/2020
   Azebu, Matt              Discussion with L. Schloetter               $260.00       1.0      $260.00
                            (Deloitte), B. Wong (PG&E) regarding
                            inquiries over the board of directors
                            meetings updates.
   Azebu, Matt              Discussion with L. Schloetter, E.           $260.00       0.5      $130.00
                            Brown, S. Varshney, H. Chopra, K.
                            Boyce (Deloitte) regarding workpaper
                            priorities.
   Azebu, Matt              Discussion with L. Schloetter, E.           $260.00       0.5      $130.00
                            Brown, B. Rice, W. Meredith, K. Boyce
                            (Deloitte) regarding status of the audit
                            and workpaper priorities.
   Bedi, Arpit              Analyze various accounting and              $210.00       1.5      $315.00
                            financial reporting alerts applicable to
                            the PG&E to assess the effect on
                            financial statements for Q1'20.
   Boyce, Kyle              Discussion with M. Azebu, L.                $190.00       0.5       $95.00
                            Schloetter, E. Brown, S. Varshney, H.
                            Chopra (Deloitte) regarding workpaper
                            priorities.

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       PG&E Corporation and Pacific Gas and Electric Company
                                Deloitte & Touche LLP
                    Fees Sorted by Category for the Fee Period
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Date                        Description                                   Rate    Hours         Fees

2020 Audit Services
04/16/2020
   Boyce, Kyle              Discussion with L. Schloetter, E.          $190.00       0.5       $95.00
                            Brown, B. Rice, M. Azebu, W. Meredith
                            (Deloitte) regarding status of the audit
                            and workpaper priorities.
   Boyce, Kyle              Close notes on the environmental           $190.00       0.5       $95.00
                            remediation liability accrual workpaper.
   Brown, Erin              Document quarterly journal entry           $190.00       3.5      $665.00
                            testing.
   Brown, Erin              Continue to document quarterly journal     $190.00       3.5      $665.00
                            entry testing.
   Brown, Erin              Discussion with M. Azebu, L.               $190.00       0.5       $95.00
                            Schloetter, S. Varshney, H. Chopra, K.
                            Boyce (Deloitte) regarding workpaper
                            priorities.
   Brown, Erin              Discussion with L. Schloetter, B. Rice,    $190.00       0.5       $95.00
                            M. Azebu, W. Meredith, K. Boyce
                            (Deloitte) regarding status of the audit
                            and workpaper priorities.
   Chopra, Harshita         Discussion with M. Azebu, L.               $190.00       0.5       $95.00
                            Schloetter, E. Brown, S. Varshney, K.
                            Boyce (Deloitte) regarding workpaper
                            priorities.
   Chopra, Harshita         Discussion with S. Varshney (Deloitte)     $190.00       0.5       $95.00
                            regarding independence related
                            considerations, including identification
                            of affiliates, employment matters scope
                            of services and other independence
                            related queries.
   Chopra, Harshita         Document the procedures performed          $190.00       2.0      $380.00
                            relating to the minutes and the
                            agendas of meetings of Board of
                            Directors.
   Dam, Vivian              Review prior quarter and year's tax        $260.00       1.7      $442.00
                            memo to update current quarter tax
                            memo with updated dates and tax
                            values.
   Long, Brittany           Review risk assessment plan on SAP         $310.00       0.5      $155.00
                            systems.




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                  Fees Sorted by Category for the Fee Period
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Date                      Description                                   Rate    Hours         Fees

2020 Audit Services
04/16/2020
   Meredith, Wendy        Discussion with L. Schloetter, E.          $410.00       0.5      $205.00
                          Brown, B. Rice, M. Azebu, K. Boyce
                          (Deloitte) regarding status of the audit
                          and workpaper priorities.
   Rice, Blake            Discussion with L. Schloetter, E.          $260.00       0.5      $130.00
                          Brown, M. Azebu, W. Meredith, K.
                          Boyce (Deloitte) regarding status of the
                          audit and workpaper priorities.
   Rice, Blake            Review environmental remediation           $260.00       1.0      $260.00
                          accrual workpaper.
   Schloetter, Lexie      Discussion with M. Azebu (Deloitte), B.    $210.00       1.0      $210.00
                          Wong (PG&E) regarding inquiries over
                          the board of directors meetings
                          updates.
   Schloetter, Lexie      Discussion with M. Azebu, E. Brown,        $210.00       0.5      $105.00
                          S. Varshney, H. Chopra, K. Boyce
                          (Deloitte) regarding workpaper
                          priorities.
   Schloetter, Lexie      Discussion with E. Brown, B. Rice, M.      $210.00       0.5      $105.00
                          Azebu, W. Meredith, K. Boyce
                          (Deloitte) regarding status of the audit
                          and workpaper priorities.
   Schloetter, Lexie      Update quarterly review interim            $210.00       3.5      $735.00
                          summary memo for the impacts of new
                          financing.
   Schloetter, Lexie      Update interim review summary memo         $210.00       4.5      $945.00
                          for changes in regulatory matters.
   Varshney, Swati        Discussion with H. Chopra (Deloitte)       $260.00       0.5      $130.00
                          regarding independence related
                          considerations, including identification
                          of affiliates, employment matters scope
                          of services and other independence
                          related queries.
   Varshney, Swati        Prepare interim summary memo which         $260.00       1.0      $260.00
                          include events which happened in
                          current quarter.
   Varshney, Swati        Discussion with M. Azebu, L.               $260.00       0.5      $130.00
                          Schloetter, E. Brown, H. Chopra, K.
                          Boyce (Deloitte) regarding workpaper
                          priorities.


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Date                      Description                                   Rate    Hours         Fees

2020 Audit Services
04/17/2020
   Azebu, Matt            Meet with J. Garboden, S. Hunter           $260.00       0.5      $130.00
                          (PG&E), W. Meredith, B. Rice
                          (Deloitte) to discuss quarterly review
                          status.
   Boyce, Kyle            Close notes on the environmental           $190.00       1.5      $285.00
                          remediation liability accrual workpaper.
   Boyce, Kyle            Update the income statement analytic       $190.00       3.5      $665.00
                          for Q1 2020.
   Boyce, Kyle            Update the journal entry testing           $190.00       2.0      $380.00
                          workpaper for Q1'2020
   Boyce, Kyle            Discussion with L. Schloetter, E. Brown    $190.00       0.5       $95.00
                          (Deloitte) about workpaper priorities.
   Boyce, Kyle            Discussion with L. Schloetter (Deloitte)   $190.00       0.5       $95.00
                          regarding the income statement
                          analytic workpaper.
   Brown, Erin            Discussion with L. Schloetter, K. Boyce    $190.00       0.5       $95.00
                          (Deloitte) about workpaper priorities.
   Brown, Erin            Document quarterly journal entry           $190.00       3.5      $665.00
                          testing.
   Brown, Erin            Address notes to the balance sheet         $190.00       3.5      $665.00
                          analytic for 1st quarter numbers.
   Chopra, Harshita       Check the independence of the audit        $190.00       0.5       $95.00
                          engagement team members engaged
                          on the PG&E audit for independence
                          documentation.
   Chopra, Harshita       Continue to review amounts included        $190.00       2.0      $380.00
                          in draft of the financial statements of
                          the company including tie out to
                          respective previous quarterly or annual
                          financial statements.
   Chopra, Harshita       Continue to document the procedures        $190.00       1.5      $285.00
                          performed relating to the minutes and
                          the agendas of meetings of Board of
                          Directors.
   Chopra, Harshita       Review amounts included in draft of        $190.00       3.0      $570.00
                          the financial statements of the
                          company including tie out to respective
                          previous quarterly or annual financial
                          statements.


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       PG&E Corporation and Pacific Gas and Electric Company
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                    Fees Sorted by Category for the Fee Period
                                     April 01, 2020 - April 30, 2020
Date                        Description                                      Rate    Hours          Fees

2020 Audit Services
04/17/2020
   Long, Brittany           Review risk assessment plan on non-           $310.00       3.0      $930.00
                            SAP systems.
   Meredith, Wendy          Meet with J. Garboden, S. Hunter              $410.00       0.5      $205.00
                            (PG&E), M. Azebu, B. Rice (Deloitte)
                            to discuss quarterly review status.
   Rice, Blake              Meet with J. Garboden, S. Hunter              $260.00       0.5      $130.00
                            (PG&E), W. Meredith, M. Azebu
                            (Deloitte) to discuss quarterly review
                            status.
   Rice, Blake              Discussion with L. Schloetter (Deloitte)      $260.00       1.0      $260.00
                            regarding quarterly internal control
                            assessment.
   Schloetter, Lexie        Review balance sheet variance                 $210.00       2.5      $525.00
                            analytic workpaper.
   Schloetter, Lexie        Research the income statement                 $210.00       3.5      $735.00
                            fluctuations due to new regulatory
                            proceedings.
   Schloetter, Lexie        Discussion with E. Brown, K. Boyce            $210.00       0.5      $105.00
                            (Deloitte) about workpaper priorities.
   Schloetter, Lexie        Discussion with K. Boyce (Deloitte)           $210.00       0.5      $105.00
                            regarding the income statement
                            analytic workpaper.
   Schloetter, Lexie        Discussion with B. Rice (Deloitte)            $210.00       1.0      $210.00
                            regarding quarterly internal control
                            assessment.
   Schloetter, Lexie        Address notes on balance sheet                $210.00       1.0      $210.00
                            variance analysis review notes.
04/18/2020
   Meredith, Wendy          Review draft Form 10-Q disclosure.            $410.00       1.0      $410.00
   Pemberton, Tricia        Review the independence evaluation            $410.00       0.5      $205.00
                            for the quarterly review for quarter 1.
   Pemberton, Tricia        Review the quarterly review opinions          $410.00       0.5      $205.00
                            for quarter 1.
04/19/2020
   Gillam, Tim              Review Form 10-Q financial statement          $410.00       3.0     $1,230.00
                            and its associated disclosure for Q1'20.
   Schloetter, Lexie        Address notes related to the quarterly        $210.00       0.5      $105.00
                            financial statement tie-out.

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       PG&E Corporation and Pacific Gas and Electric Company
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                 Fees Sorted by Category for the Fee Period
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Date                      Description                                   Rate    Hours         Fees

2020 Audit Services
04/20/2020
   Boyce, Kyle            Discussion with L. Schloetter, E. Brown    $190.00       0.5       $95.00
                          (Deloitte) regarding workpaper
                          priorities.
   Boyce, Kyle            Update the Q1'20 cash flow                 $190.00       3.5      $665.00
                          workpaper.
   Boyce, Kyle            Continue to update the Q1'20 cash          $190.00       3.5      $665.00
                          flow workpaper.
   Brown, Erin            Address notes with regards to journal      $190.00       3.5      $665.00
                          entry testing.
   Brown, Erin            Discussion with L. Schloetter, K. Boyce    $190.00       0.5       $95.00
                          (Deloitte) regarding workpaper
                          priorities.
   Brown, Erin            Perform tie-out procedures over the        $190.00       3.5      $665.00
                          company's quarterly financial
                          statements.
   Chopra, Harshita       Review amounts included in draft of        $190.00       3.0      $570.00
                          the financial statements of the
                          company including tie-out of amounts
                          of respective previous quarterly or
                          annual financial statements.
   Chopra, Harshita       Summarize internal audit reports to        $190.00       0.4       $76.00
                          analyze risk mentioned in the audit
                          report which may impact the financials
                          of the company.
   Chopra, Harshita       Continue to review amounts included        $190.00       1.5      $285.00
                          in draft of the financial statements of
                          the company including tie out of
                          amounts of respective previous
                          quarterly or annual financial
                          statements.
   Chopra, Harshita       Continue documenting the procedures        $190.00       1.0      $190.00
                          performed relating to the meeting
                          minutes and agenda of Board of
                          Directors meetings.
   Chopra, Harshita       Continue to document the procedures        $190.00       3.0      $570.00
                          performed relating to the minutes and
                          the agendas of meetings of Board of
                          Directors.




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       PG&E Corporation and Pacific Gas and Electric Company
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                    Fees Sorted by Category for the Fee Period
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Date                        Description                                   Rate    Hours         Fees

2020 Audit Services
04/20/2020
   Cochran, James           Meeting with W. Kipkirui, B. Long, S.      $410.00       1.0      $410.00
                            Misra, M. Fazil (Deloitte) to discuss
                            engagement audit status including
                            2020 plan.
   Dam, Vivian              Prepare Q1 tax provision workpapers        $260.00       2.1      $546.00
                            with client data in order to analyze the
                            first quarter's effective tax rate.
   Fazil, Mohamed           Meeting with W. Kipkirui, J. Cochran,      $260.00       1.0      $260.00
                            B. Long, S. Misra (Deloitte) to discuss
                            engagement audit status including
                            2020 plan.
   Fazil, Mohamed           Perform configuration testing around       $260.00       3.0      $780.00
                            role set-up in SAP system,
                            governance, risk and compliance
                            module.
   Kipkirui, Winnie         Meeting with J. Cochran, B. Long, S.       $260.00       1.0      $260.00
                            Misra, M. Fazil (Deloitte) to discuss
                            engagement audit status including
                            2020 plan.
   Long, Brittany           Review risk assessment plan on SAP         $310.00       3.0      $930.00
                            systems.
   Long, Brittany           Meeting with W. Kipkirui, J. Cochran,      $310.00       1.0      $310.00
                            S. Misra, M. Fazil (Deloitte) to discuss
                            engagement audit status including
                            2020 plan.
   Meredith, Wendy          Review client continuance                  $410.00       0.5      $205.00
                            documentation for 2020 audit.
   Meredith, Wendy          Continue to review client continuance      $410.00       0.5      $205.00
                            documentation for 2020 audit.
   Misra, Saurabh           Meeting with W. Kipkirui, J. Cochran,      $310.00       1.0      $310.00
                            B. Long, M. Fazil (Deloitte) to discuss
                            engagement audit status including
                            2020 plan.
   Pemberton, Tricia        Review draft of the Form 10-Q for          $410.00       2.0      $820.00
                            PG&E Corporation & Utility.
   Rice, Blake              Review income statement variance           $260.00       3.0      $780.00
                            analysis.
   Schloetter, Lexie        Continue to review the income              $210.00       2.0      $420.00
                            statement analytic workpaper.


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       PG&E Corporation and Pacific Gas and Electric Company
                                Deloitte & Touche LLP
                    Fees Sorted by Category for the Fee Period
                                     April 01, 2020 - April 30, 2020
Date                        Description                                     Rate    Hours         Fees

2020 Audit Services
04/20/2020
   Schloetter, Lexie        Address notes related to performing tie      $210.00       1.0      $210.00
                            out procedures on the quarterly
                            financial statements.
   Schloetter, Lexie        Discussion with E. Brown, K. Boyce           $210.00       0.5      $105.00
                            (Deloitte) regarding workpaper
                            priorities.
   Schloetter, Lexie        Review workpaper related to the              $210.00       2.0      $420.00
                            quarterly journal entry testing for
                            entries related to potential
                            management override.
   Schloetter, Lexie        Review quarterly income statement            $210.00       3.5      $735.00
                            analytic variances.
   Schloetter, Lexie        Update the interim review summary            $210.00       1.5      $315.00
                            memo for quarter changes.
   Shariff, Salman          Perform conflict check of PG&E               $190.00       0.7      $133.00
                            entities for quarter 1.
   Yuen, Jennifer           Draft Q1 summary memo around tax             $260.00       2.5      $650.00
                            procedures performed.
   Yuen, Jennifer           Review tax provision support to              $260.00       3.0      $780.00
                            understand the company's operations
                            and impact to income taxes.
04/21/2020
   Azebu, Matt              Discussion with B. Rice, W. Meredith,        $260.00       0.5      $130.00
                            Y. Jin, L. Schloetter, E. Brown, K.
                            Boyce (Deloitte) regarding workpaper
                            priorities.
   Azebu, Matt              Discussion with W. Meredith, B. Rice,        $260.00       0.5      $130.00
                            L. Schloetter (Deloitte), A. Chung, K.
                            Mallonee, D. Diaz (PG&E) regarding
                            quarter 1 officer draft comments and
                            questions.
   Boyce, Kyle              Close notes on the Income Statement          $190.00       1.0      $190.00
                            Q1'20 analytic.
   Boyce, Kyle              Discussion with B. Rice, S. Varshney,        $190.00       0.5       $95.00
                            H. Chopra, L. Schloetter (Deloitte)
                            regarding status of workpaper
                            priorities.




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       PG&E Corporation and Pacific Gas and Electric Company
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                 Fees Sorted by Category for the Fee Period
                                   April 01, 2020 - April 30, 2020
Date                      Description                                   Rate    Hours         Fees

2020 Audit Services
04/21/2020
   Boyce, Kyle            Discussion with B. Rice, W. Meredith,      $190.00       0.5       $95.00
                          M. Azebu, Y. Jin, L. Schloetter, E.
                          Brown (Deloitte) regarding workpaper
                          priorities.
   Brown, Erin            Performed tie-out procedures over the      $190.00       2.0      $380.00
                          company's quarterly financial
                          statements.
   Brown, Erin            Discussion with B. Rice, W. Meredith,      $190.00       0.5       $95.00
                          M. Azebu, Y. Jin, L. Schloetter, K.
                          Boyce (Deloitte) regarding workpaper
                          priorities.
   Brown, Erin            Address senior review comments over        $190.00       3.5      $665.00
                          Cash Flow Analytic testing.
   Brown, Erin            Address senior review comments over        $190.00       3.5      $665.00
                          Income Statement Analytic testing.
   Chopra, Harshita       Continue to document the procedures        $190.00       2.0      $380.00
                          performed relating to the minutes and
                          the agendas of meetings of Board of
                          Directors.
   Chopra, Harshita       Continue to review amounts included        $190.00       1.5      $285.00
                          in draft of the financial statements of
                          the company including tie out of
                          amounts of respective previous
                          quarterly or annual financial
                          statements.
   Chopra, Harshita       Discussion with B. Rice, S. Varshney,      $190.00       0.5       $95.00
                          L. Schloetter, K. Boyce (Deloitte)
                          regarding status of workpaper
                          priorities.
   Chopra, Harshita       Analyze the applicability of Practice      $190.00       1.5      $285.00
                          Alerts, Financial Reporting Alerts,
                          Accounting Standards Updates, certain
                          Other Announcements and other
                          professional guidance on the company
                          and documenting their impact.
   Chopra, Harshita       Review amounts included in draft of        $190.00       3.0      $570.00
                          the financial statements of the
                          company and perform tie out of
                          amounts to respective previous
                          quarterly or annual financial
                          statements.

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                    Fees Sorted by Category for the Fee Period
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Date                        Description                                    Rate    Hours          Fees

2020 Audit Services
04/21/2020
   Dam, Vivian              Prepare Q1 tax provision workpapers         $260.00       6.4     $1,664.00
                            with client data in order to analyze the
                            first quarter's effective tax rate.
   Fazil, Mohamed           Meeting with W. Kipkirui, B. Long, S.       $260.00       1.0      $260.00
                            Misra (Deloitte) and R. Garza (PG&E)
                            to discuss the risk assessment for SAP
                            systems.
   Fazil, Mohamed           Test access security system roles in        $260.00       3.0      $780.00
                            SAP system, governance, risk and
                            compliance module.
   Jin, Yezi                Discussion with B. Rice, W. Meredith,       $350.00       0.5      $175.00
                            M. Azebu, L. Schloetter, E. Brown, K.
                            Boyce (Deloitte) regarding workpaper
                            priorities.
   Kamra, Akanksha          Review independence requirements to         $310.00       3.0      $930.00
                            document engagement team's
                            independence.
   Kapoor, Sameer           Perform conflict check of PG&E              $190.00       0.2       $38.00
                            entities for quarter 1.
   Kipkirui, Winnie         Meeting with B. Long (Deloitte) to          $260.00       1.0      $260.00
                            discuss the risk assessment deck for
                            PG&E.
   Kipkirui, Winnie         Meeting with B. Long, S. Misra, M.          $260.00       1.0      $260.00
                            Fazil (Deloitte) and R. Garza (PG&E)
                            to discuss the risk assessment for SAP
                            systems.
   Long, Brittany           Meeting with W. Kipkirui, S. Misra, M.      $310.00       1.0      $310.00
                            Fazil (Deloitte) and R. Garza (PG&E)
                            to discuss the risk assessment for SAP
                            systems.
   Long, Brittany           Meeting with B. Long (Deloitte) to          $310.00       1.0      $310.00
                            discuss the risk assessment
                            presentation slide deck for PG&E.
   Meredith, Wendy          Review audit committee presentation         $410.00       0.5      $205.00
                            slide deck for first quarter.
   Meredith, Wendy          Discussion with M. Azebu, B. Rice, L.       $410.00       0.5      $205.00
                            Schloetter (Deloitte), A. Chung, K.
                            Mallonee, D. Diaz (PG&E) regarding
                            quarter 1 officer draft comments and
                            questions.

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                  Fees Sorted by Category for the Fee Period
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Date                      Description                                  Rate    Hours         Fees

2020 Audit Services
04/21/2020
   Meredith, Wendy        Discussion with B. Rice, M. Azebu, Y.      $410.00      0.5      $205.00
                          Jin, L. Schloetter, E. Brown, K. Boyce
                          (Deloitte) regarding workpaper
                          priorities.
   Misra, Saurabh         Meeting with W. Kipkirui, B. Long, M.      $310.00      1.0      $310.00
                          Fazil (Deloitte) and R. Garza (PG&E)
                          to discuss the risk assessment for SAP
                          systems.
   Nkinzingabo, Rudy      Review income tax provision                $310.00      0.8      $248.00
                          workpaper.
   Ramkumar, Vignesh      Prepare status update regarding the        $210.00      1.0      $210.00
                          property, plant and equipment risk
                          assessment around depreciation.
   Rice, Blake            Prepare client continuance and risk        $260.00      3.0      $780.00
                          assessment profile.
   Rice, Blake            Discussion with W. Meredith, M.            $260.00      0.5      $130.00
                          Azebu, L. Schloetter (Deloitte), A.
                          Chung, K. Mallonee, D. Diaz (PG&E)
                          regarding quarter 1 officer draft
                          comments and questions.
   Rice, Blake            Discussion with S. Varshney, H.            $260.00      0.5      $130.00
                          Chopra, L. Schloetter, K. Boyce
                          (Deloitte) regarding status of
                          workpaper priorities.
   Rice, Blake            Discussion with W. Meredith, M.            $260.00      0.5      $130.00
                          Azebu, Y. Jin, L. Schloetter, E. Brown,
                          K. Boyce (Deloitte) regarding
                          workpaper priorities.
   Schloetter, Lexie      Update the interim review summary          $210.00      1.0      $210.00
                          memo for quarter changes.
   Schloetter, Lexie      Review workpaper related to the cash       $210.00      2.0      $420.00
                          flow statement analytic.
   Schloetter, Lexie      Discussion with W. Meredith, M.            $210.00      0.5      $105.00
                          Azebu, B. Rice (Deloitte), A. Chung, K.
                          Mallonee, D. Diaz (PG&E) regarding
                          quarter 1 officer draft comments and
                          questions.
   Schloetter, Lexie      Document updates to the assessment         $210.00      1.5      $315.00
                          of misstatements workpaper.



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       PG&E Corporation and Pacific Gas and Electric Company
                                Deloitte & Touche LLP
                    Fees Sorted by Category for the Fee Period
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Date                        Description                                    Rate    Hours          Fees

2020 Audit Services
04/21/2020
   Schloetter, Lexie        Review documentation related to the         $210.00       0.5      $105.00
                            internal audit's internal control
                            analysis.
   Schloetter, Lexie        Discussion with D. Demartini, D.            $210.00       0.5      $105.00
                            Kenna (PG&E) regarding the quarterly
                            internal control analysis.
   Schloetter, Lexie        Address notes related to the quarterly      $210.00       0.5      $105.00
                            financial statement tie-out procedures
                            performed.
   Schloetter, Lexie        Discussion with B. Rice, S. Varshney,       $210.00       0.5      $105.00
                            H. Chopra, K. Boyce (Deloitte)
                            regarding status of workpaper
                            priorities.
   Schloetter, Lexie        Discussion with B. Rice, W. Meredith,       $210.00       0.5      $105.00
                            M. Azebu, Y. Jin, E. Brown, K. Boyce
                            (Deloitte) regarding workpaper
                            priorities.
   Shariff, Salman          Perform conflict check of PG&E              $190.00       0.3       $57.00
                            entities for quarter 1.
   Varshney, Swati          Review risk assessment of the               $260.00       1.5      $390.00
                            fluctuation of various financial ratios
                            from prior quarter to current quarter.
   Varshney, Swati          Discussion with B. Rice, H. Chopra, L.      $260.00       0.5      $130.00
                            Schloetter, K. Boyce (Deloitte)
                            regarding status of workpaper
                            priorities.
   Yuen, Jennifer           Draft Q1 summary memo on tax                $260.00       4.5     $1,170.00
                            procedures performed.
04/22/2020
   Boyce, Kyle              Discussion with L. Schloetter (Deloitte)    $190.00       1.5      $285.00
                            regarding fluctuations in the Q1’20
                            income statement.
   Boyce, Kyle              Update the Q1'20 cash flow workpaper        $190.00       1.0      $190.00
                            for post close adjustments.
   Boyce, Kyle              Close notes on the income statement         $190.00       3.5      $665.00
                            Q1'20 analytic.
   Boyce, Kyle              Discussion with L. Schloetter, E. Brown     $190.00       0.5       $95.00
                            (Deloitte) regarding workpaper
                            priorities.


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       PG&E Corporation and Pacific Gas and Electric Company
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Date                      Description                                    Rate    Hours         Fees

2020 Audit Services
04/22/2020
   Boyce, Kyle            Continue to close notes on the income       $190.00       2.0      $380.00
                          statement Q1'20 analytic.
   Boyce, Kyle            Perform tie-out procedures on the           $190.00       1.5      $285.00
                          Company's financial statements for
                          Q1'20.
   Brown, Erin            Address notes to the balance sheet          $190.00       2.0      $380.00
                          analysis testing.
   Brown, Erin            Discussion with L. Schloetter (Deloitte)    $190.00       1.0      $190.00
                          regarding financial statement tie out
                          open items.
   Brown, Erin            Address notes to the journal entry          $190.00       2.0      $380.00
                          testing.
   Brown, Erin            Discussion with L. Schloetter, K. Boyce     $190.00       0.5       $95.00
                          (Deloitte) regarding workpaper
                          priorities.
   Brown, Erin            Perform tie-out procedures on the           $190.00       3.5      $665.00
                          company's quarterly financial
                          statements.
   Chopra, Harshita       Review amounts included in draft of         $190.00       1.0      $190.00
                          the financial statements of the
                          company and perform tie out of
                          amounts to respective previous
                          quarterly or annual financial
                          statements.
   Chopra, Harshita       Summarize internal audit reports and        $190.00       0.2       $38.00
                          analyze for risk mentioned in the audit
                          report which may impact the financials
                          of the company.
   Chopra, Harshita       Document procedures performed               $190.00       3.0      $570.00
                          relating to minutes and the agendas of
                          the meetings of board of directors
   Chopra, Harshita       Analyze the applicability of Practice       $190.00       1.0      $190.00
                          Alerts, Financial Reporting Alerts,
                          Accounting Standards Updates, certain
                          Other Announcements and other
                          professional guidance on the company
                          and documenting their impact.




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       PG&E Corporation and Pacific Gas and Electric Company
                               Deloitte & Touche LLP
                  Fees Sorted by Category for the Fee Period
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Date                       Description                                   Rate    Hours          Fees

2020 Audit Services
04/22/2020
   Chopra, Harshita        Continue documenting the procedures        $190.00       3.4      $646.00
                           performed relating to the meeting
                           minutes and agenda of Board of
                           Directors meetings.
   Dam, Vivian             Meeting with J. Yuen (Deloitte) to         $260.00       0.5      $130.00
                           discuss effective tax rate workpapers
                           for 2020 Q1 tax provision.
   Dam, Vivian             Update effective tax rate workpapers       $260.00       1.8      $468.00
                           for new information discussed during
                           call for Q1 2020 tax provision.
   Fazil, Mohamed          Continue to test access security           $260.00       2.0      $520.00
                           system roles in SAP system,
                           governance, risk and compliance
                           module.
   Gillam, Tim             Review Form 10-Q financial statement       $410.00       2.5     $1,025.00
                           and its associated disclosure for Q1'20.
   Jin, Yezi               Review Q1'2020 fluctuation analysis        $350.00       0.8      $280.00
                           on consolidation between PG&E Utility
                           and Corporation.
   Rice, Blake             Discussion with L. Schloetter              $260.00       0.5      $130.00
                           (Deloitte), R. Stanley (PG&E)
                           regarding gas transmission and
                           storage adjusting journal entry.
   Rice, Blake             Continue to prepare client continuance     $260.00       2.0      $520.00
                           and risk assessment profile.
   Rice, Blake             Review cash flow statement variance        $260.00       3.0      $780.00
                           analysis.
   Schloetter, Lexie       Discussion with B. Rice (Deloitte), R.     $210.00       0.5      $105.00
                           Stanley (PG&E) regarding gas
                           transmission and storage adjusting
                           journal entry.
   Schloetter, Lexie       Discussion with E. Brown (Deloitte)        $210.00       1.0      $210.00
                           regarding financial statement tie out
                           open items.
   Schloetter, Lexie       Discussion with K. Boyce (Deloitte)        $210.00       1.5      $315.00
                           regarding fluctuations in the Q1’20
                           income statement.




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                                Deloitte & Touche LLP
                    Fees Sorted by Category for the Fee Period
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Date                        Description                                    Rate    Hours         Fees

2020 Audit Services
04/22/2020
   Schloetter, Lexie        Draft email to A. Duran, N. Riojas, R.      $210.00       0.5      $105.00
                            Stanley, K. Mallone (PG&E) regarding
                            open items for the quarterly review
                            along with the audit status update for
                            the quarter currently.
   Schloetter, Lexie        Research environmental remediation          $210.00       1.0      $210.00
                            liability accrual documentation.
   Schloetter, Lexie        Research income statement analytic          $210.00       2.0      $420.00
                            workpaper.
   Schloetter, Lexie        Discussion with E. Brown, K. Boyce          $210.00       0.5      $105.00
                            (Deloitte) regarding workpaper
                            priorities.
   Schloetter, Lexie        Close notes on the income analytic          $210.00       1.0      $210.00
                            workpaper.
   Yuen, Jennifer           Draft Q1 summary memo pertaining to         $260.00       2.3      $598.00
                            tax procedures performed.
   Yuen, Jennifer           Meeting with V. Dam (Deloitte) to           $260.00       0.5      $130.00
                            discuss effective tax rate workpapers
                            for 2020 Q1 tax provision.
   Yuen, Jennifer           Review effective tax rate calculation.      $260.00       3.5      $910.00
04/23/2020
   Azebu, Matt              Discussion with T. Pemberton, W.            $260.00       0.5      $130.00
                            Meredith, B. Rice, L. Schloetter
                            (Deloitte) regarding quarterly
                            accounting updates.
   Boyce, Kyle              Perform tie-out procedures on the           $190.00       2.0      $380.00
                            company's financial statements for
                            Q1'20.
   Boyce, Kyle              Continue to close notes on the Q1'20        $190.00       1.5      $285.00
                            cash flow workpaper.
   Boyce, Kyle              Discussion with B. Rice (Deloitte)          $190.00       0.5       $95.00
                            regarding the Q1’20 cash flow
                            statement.
   Boyce, Kyle              Close notes on the Q1'20 cash flow          $190.00       3.5      $665.00
                            workpaper.
   Boyce, Kyle              Discussion with B. Rice, H. Chopra, S.      $190.00       0.5       $95.00
                            Varshney, A. Kamra, L. Schloetter, E.
                            Brown (Deloitte) regarding workpaper
                            priorities.

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       PG&E Corporation and Pacific Gas and Electric Company
                              Deloitte & Touche LLP
                 Fees Sorted by Category for the Fee Period
                                   April 01, 2020 - April 30, 2020
Date                      Description                                  Rate    Hours         Fees

2020 Audit Services
04/23/2020
   Brown, Erin            Perform tie-out procedures over the        $190.00      2.0      $380.00
                          company's quarterly financial
                          statements.
   Brown, Erin            Continue to address notes with regards     $190.00      3.5      $665.00
                          to balance sheet analysis testing.
   Brown, Erin            Address notes with regards to balance      $190.00      1.0      $190.00
                          sheet analysis testing.
   Brown, Erin            Discussion with B. Rice, H. Chopra, S.     $190.00      0.5       $95.00
                          Varshney, A. Kamra, L. Schloetter, K.
                          Boyce (Deloitte) regarding workpaper
                          priorities.
   Chopra, Harshita       Discussion with B. Rice, S. Varshney,      $190.00      0.5       $95.00
                          A. Kamra, L. Schloetter, E. Brown, K.
                          Boyce (Deloitte) regarding workpaper
                          priorities.
   Chopra, Harshita       Analyze the applicability of Practice      $190.00      0.5       $95.00
                          Alerts, Financial Reporting Alerts,
                          Accounting Standards Updates, certain
                          Other Announcements and other
                          professional guidance on the company
                          and documenting their impact.
   Chopra, Harshita       Summarize the Form 8-K's which             $190.00      0.3       $57.00
                          reports material events that PG&E filed
                          with Securities and Exchange
                          Commission to analyze the financial
                          impact of events that occurred on the
                          quarterly review approach
   Chopra, Harshita       Discussion with S. Varshney (Deloitte)     $190.00      0.3       $57.00
                          regarding queries related to internal
                          audit reports and its risks which may
                          impact the financials of the company
                          and queries regarding analyzing the
                          applicability of practice alerts and
                          financial reporting alerts.
   Chopra, Harshita       Document procedures performed              $190.00      2.0      $380.00
                          relating to minutes and the agendas of
                          the meetings of board of directors
   Chopra, Harshita       Summarize internal audit reports and       $190.00      1.3      $247.00
                          analyze for risk mentioned in the audit
                          report which may impact the financials
                          of the company.

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       PG&E Corporation and Pacific Gas and Electric Company
                                Deloitte & Touche LLP
                    Fees Sorted by Category for the Fee Period
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Date                        Description                                   Rate    Hours         Fees

2020 Audit Services
04/23/2020
   Chopra, Harshita         Continue to draft responses for            $190.00       3.0      $570.00
                            quarterly checklist to ensure
                            completeness of interim review
                            procedures.
   Jin, Yezi                Review Q1'20 fluctuation analysis on       $350.00       1.3      $455.00
                            environmental accrual.
   Kamra, Akanksha          Review the independence compliant          $310.00       0.5      $155.00
                            responses of the audit team.
   Kamra, Akanksha          Discussion with B. Rice, H. Chopra, S.     $310.00       0.5      $155.00
                            Varshney, L. Schloetter, E. Brown, K.
                            Boyce (Deloitte) regarding workpaper
                            priorities.
   Kipkirui, Winnie         Meeting with B. Long (Deloitte) to         $260.00       0.5      $130.00
                            discuss the risk assessment procedure
                            for SAP systems at PG&E.
   Kipkirui, Winnie         Updating documentation of the risk         $260.00       1.3      $338.00
                            assessment presentation slide deck for
                            SAP systems
   Long, Brittany           Meeting with W. Kipkirui (Deloitte) to     $310.00       0.5      $155.00
                            discuss the risk assessment procedure
                            for SAP systems at PG&E.
   Meredith, Wendy          Review management representation           $410.00       0.5      $205.00
                            draft letter.
   Meredith, Wendy          Discussion with T. Pemberton, M.           $410.00       0.5      $205.00
                            Azebu, B. Rice, L. Schloetter (Deloitte)
                            regarding quarterly accounting
                            updates.
   Nkinzingabo, Rudy        Call with J. Yuen (Deloitte) to discuss    $310.00       0.5      $155.00
                            questions received from T. Lewis
                            (PG&E) pertaining to the provision.
   Pemberton, Tricia        Discussion with W. Meredith, M.            $410.00       0.5      $205.00
                            Azebu, B. Rice, L. Schloetter (Deloitte)
                            regarding quarterly accounting
                            updates.
   Rice, Blake              Review balance sheet variance              $260.00       3.0      $780.00
                            analysis.
   Rice, Blake              Discussion with T. Pemberton, W.           $260.00       0.5      $130.00
                            Meredith, M. Azebu, L. Schloetter
                            (Deloitte) regarding quarterly
                            accounting updates.

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       PG&E Corporation and Pacific Gas and Electric Company
                              Deloitte & Touche LLP
                  Fees Sorted by Category for the Fee Period
                                  April 01, 2020 - April 30, 2020
Date                      Description                                  Rate    Hours         Fees

2020 Audit Services
04/23/2020
   Rice, Blake            Discussion with K. Boyce (Deloitte)       $260.00       0.5      $130.00
                          regarding the Q1’20 cash flow
                          statement.
   Rice, Blake            Discussion with H. Chopra, S.             $260.00       0.5      $130.00
                          Varshney, A. Kamra, L. Schloetter, E.
                          Brown, K. Boyce (Deloitte) regarding
                          workpaper priorities.
   Schloetter, Lexie      Discussion with T. Pemberton, W.          $210.00       0.5      $105.00
                          Meredith, M. Azebu, B. Rice (Deloitte)
                          regarding quarterly accounting
                          updates.
   Schloetter, Lexie      Research the balance sheet analytic       $210.00       1.5      $315.00
                          workpaper for additional fluctuation
                          analysis.
   Schloetter, Lexie      Close notes to the balance sheet          $210.00       0.5      $105.00
                          variance analysis.
   Schloetter, Lexie      Discussion with B. Rice, H. Chopra, S.    $210.00       0.5      $105.00
                          Varshney, A. Kamra, E. Brown, K.
                          Boyce (Deloitte) regarding workpaper
                          priorities.
   Varshney, Swati        Review summary of alerts for the          $260.00       3.0      $780.00
                          company which include all new
                          standards and guidance update related
                          to accounting and financial reporting
                          issues to assess if there is any impact
                          on the company.
   Varshney, Swati        Continue to review summary of alerts      $260.00       1.0      $260.00
                          for the company which include
                          standards and guidance update related
                          to accounting and financial reporting
                          issues to assess if there is any impact
                          on the company.
   Varshney, Swati        Discussion with B. Rice, H. Chopra, A.    $260.00       0.5      $130.00
                          Kamra, L. Schloetter, E. Brown, K.
                          Boyce (Deloitte) regarding workpaper
                          priorities.




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                    Fees Sorted by Category for the Fee Period
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Date                        Description                                     Rate    Hours          Fees

2020 Audit Services
04/23/2020
   Varshney, Swati          Discussion with H. Chopra (Deloitte)         $260.00       0.3       $78.00
                            regarding queries related to internal
                            audit reports and its risks which may
                            impact the financials of the company
                            and queries regarding Analyze the
                            applicability of practice alerts and
                            financial reporting alerts.
   Varshney, Swati          Review independence compliance               $260.00       0.5      $130.00
                            documentation.
   Yuen, Jennifer           Call with R. Nkinzingabo (Deloitte) to       $260.00       0.5      $130.00
                            discuss questions received from T.
                            Lewis (PG&E) pertaining to the
                            provision.
   Yuen, Jennifer           Review effective tax rate workpaper          $260.00       4.5     $1,170.00
                            and draft questions to client on
                            effective tax rate and pre-tax items
                            impacting comparability.
04/24/2020
   Boyce, Kyle              Discussion with B. Rice, W. Meredith,        $190.00       0.5       $95.00
                            Y. Jin, E. Brown (Deloitte) regarding
                            workpaper priorities.
   Boyce, Kyle              Close notes on the Q1'20 cash flow           $190.00       0.5       $95.00
                            workpaper.
   Boyce, Kyle              Close notes on the Q1'20 income              $190.00       3.5      $665.00
                            statement analytic workpaper.
   Boyce, Kyle              Close notes on the environmental             $190.00       1.5      $285.00
                            remediation liability accrual Q1'20
                            workpaper.
   Boyce, Kyle              Continued to Close notes on the Q1'20        $190.00       2.0      $380.00
                            income statement analytic workpaper.
   Brown, Erin              Address notes with regards to balance        $190.00       2.0      $380.00
                            sheet analysis testing.
   Brown, Erin              Discussion with B. Rice (Deloitte)           $190.00       1.0      $190.00
                            regarding review comments within
                            balance sheet analysis.
   Brown, Erin              Address notes with regards to journal        $190.00       1.5      $285.00
                            entry testing.
   Brown, Erin              Discussion with B. Rice, W. Meredith,        $190.00       0.5       $95.00
                            Y. Jin, K. Boyce (Deloitte) regarding
                            workpaper priorities.

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                  Fees Sorted by Category for the Fee Period
                                    April 01, 2020 - April 30, 2020
Date                       Description                                   Rate    Hours         Fees

2020 Audit Services
04/24/2020
   Brown, Erin             Discussion with L. Schloetter (Deloitte)   $190.00       1.0      $190.00
                           regarding open items relating to journal
                           entry testing.
   Brown, Erin             Perform tie-out procedures over the        $190.00       3.0      $570.00
                           company's quarterly financial
                           statements.
   Chopra, Harshita        Review amounts included in draft of        $190.00       0.6      $114.00
                           the financial statements of the
                           company and perform tie out of
                           amounts to respective previous
                           quarterly or annual financial
                           statements.
   Chopra, Harshita        Analyze the applicability of Practice      $190.00       1.2      $228.00
                           Alerts, Financial Reporting Alerts,
                           Accounting Standards Updates, certain
                           Other Announcements and other
                           professional guidance on the company
                           and documenting their impact.
   Chopra, Harshita        Check the independence of the audit        $190.00       0.1       $19.00
                           engagement team members engaged
                           on the PG&E audit for independence
                           documentation.
   Cochran, James          Meeting with W. Kipkirui, B. Long          $410.00       0.5      $205.00
                           (Deloitte) to discuss the risk
                           assessment for PG&E.
   Jin, Yezi               Discussion with B. Rice, W. Meredith,      $350.00       0.5      $175.00
                           E. Brown, K. Boyce (Deloitte)
                           regarding workpaper priorities.
   Jin, Yezi               Review environmental remediation           $350.00       0.5      $175.00
                           accrual workpaper.
   Kipkirui, Winnie        Meeting with J. Cochran, B. Long           $260.00       0.5      $130.00
                           (Deloitte) to discuss the risk
                           assessment for PG&E.
   Kipkirui, Winnie        Meeting with B. Long (Deloitte) to         $260.00       0.5      $130.00
                           discuss 2020 information technology
                           control testing.
   Kipkirui, Winnie        Document the presentation deck for         $260.00       1.0      $260.00
                           risk assessment for information
                           technology for PG&E.



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                    Fees Sorted by Category for the Fee Period
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Date                        Description                                   Rate    Hours         Fees

2020 Audit Services
04/24/2020
   Kipkirui, Winnie         Update the presentation deck for risk      $260.00       1.0      $260.00
                            assessment for information technology
                            for PG&E.
   Long, Brittany           Meeting with W. Kipkirui (Deloitte) to     $310.00       0.5      $155.00
                            discuss 2020 information technology
                            control testing.
   Long, Brittany           Meeting with W. Kipkirui, J. Cochran       $310.00       0.5      $155.00
                            (Deloitte) to discuss the risk
                            assessment for PG&E.
   Meredith, Wendy          Discussion with B. Rice, Y. Jin, E.        $410.00       0.5      $205.00
                            Brown, K. Boyce (Deloitte) regarding
                            workpaper priorities.
   Nkinzingabo, Rudy        Review income tax provision                $310.00       1.2      $372.00
                            workpaper for quarter 1.
   Pemberton, Tricia        Review Q1 management                       $410.00       1.0      $410.00
                            representation letter
   Rice, Blake              Discussion with W. Meredith, Y. Jin, E.    $260.00       0.5      $130.00
                            Brown, K. Boyce (Deloitte) regarding
                            workpaper priorities.
   Rice, Blake              Discussion with E. Brown (Deloitte)        $260.00       1.0      $260.00
                            regarding review comments within
                            balance sheet analysis.
   Schloetter, Lexie        Close notes on interim review              $210.00       1.5      $315.00
                            summary memo to update
                            documentation.
   Schloetter, Lexie        Gather support related to the quarterly    $210.00       1.0      $210.00
                            financial statement tie-out of numbers
                            from K. Mallone (PG&E).
   Schloetter, Lexie        Update documentation with the              $210.00       1.5      $315.00
                            quarterly journal entry testing
                            workpaper.
   Schloetter, Lexie        Update the assessment of                   $210.00       1.5      $315.00
                            misstatements workpaper for quarterly
                            internal control considerations.
   Schloetter, Lexie        Update the assessment of                   $210.00       2.0      $420.00
                            misstatements workpaper for quarterly
                            internal control considerations.
   Schloetter, Lexie        Discussion with E. Brown (Deloitte)        $210.00       1.0      $210.00
                            regarding open items relating to journal
                            entry testing.

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       PG&E Corporation and Pacific Gas and Electric Company
                                Deloitte & Touche LLP
                    Fees Sorted by Category for the Fee Period
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Date                        Description                                    Rate    Hours          Fees

2020 Audit Services
04/24/2020
   Varshney, Swati          Continue to review summary of alerts        $260.00       0.5      $130.00
                            for the company which include all new
                            standards and guidance update related
                            to accounting and financial reporting
                            issues to assess if there is any impact
                            on the company.
   Yuen, Jennifer           Prepare effective tax rate workpaper.       $260.00       3.5      $910.00
04/25/2020
   Meredith, Wendy          Review update draft 10-Q disclosure.        $410.00       0.5      $205.00
   Meredith, Wendy          Review independence and analytical          $410.00       1.0      $410.00
                            review procedures for first quarter.
   Meredith, Wendy          Continue to review update draft Form        $410.00       1.5      $615.00
                            10-Q quarterly financial statements.
04/26/2020
   Gillam, Tim              Review the audit committee                  $410.00       3.0     $1,230.00
                            communication prepared for quarter 1.
   Yuen, Jennifer           Finalize Q1 summary memo on tax             $260.00       2.1      $546.00
                            procedures performed.
04/27/2020
   Boyce, Kyle              Discussion with L. Schloetter, E.           $190.00       0.5       $95.00
                            Brown, B. Rice (Deloitte) regarding
                            workpaper priorities.
   Boyce, Kyle              Perform tie-out procedures on the           $190.00       1.5      $285.00
                            company's financial statements for
                            Q1'20.
   Brown, Erin              Discussion with L. Schloetter, B. Rice,     $190.00       0.5       $95.00
                            K. Boyce (Deloitte) regarding
                            workpaper priorities.
   Brown, Erin              Performed tie-out procedures over the       $190.00       3.5      $665.00
                            Company's Form 10-Q financial
                            statement draft.
   Brown, Erin              Continue to perform tie-out procedures      $190.00       3.0      $570.00
                            over the company's 10Q draft.
   Brown, Erin              Address notes to the balance sheet          $190.00       2.0      $380.00
                            analytic.




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       PG&E Corporation and Pacific Gas and Electric Company
                                Deloitte & Touche LLP
                    Fees Sorted by Category for the Fee Period
                                     April 01, 2020 - April 30, 2020
Date                        Description                                   Rate    Hours         Fees

2020 Audit Services
04/27/2020
   Chopra, Harshita         Review amounts included in draft of        $190.00       0.5       $95.00
                            the financial statements of the
                            company and perform tie out of
                            amounts to respective previous
                            quarterly or annual financial
                            statements.
   Chopra, Harshita         Continue to draft responses for            $190.00       3.0      $570.00
                            quarterly checklist to assess
                            completeness of interim review
                            procedures.
   Chopra, Harshita         Continue to draft responses for            $190.00       3.0      $570.00
                            quarterly checklist to assess
                            completeness of interim review
                            procedures.
   Chopra, Harshita         Continue to draft responses for            $190.00       2.0      $380.00
                            quarterly checklist to assess
                            completeness of interim review
                            procedures.
   Cochran, James           Call with B. Long (Deloitte) to discuss    $410.00       0.5      $205.00
                            2020 information technology audit
                            plan.
   Donahue, Nona            Perform Q1 tax provision review.           $410.00       2.0      $820.00
   Gillam, Tim              Prepare discussion points for the audit    $410.00       1.0      $410.00
                            committee meeting.
   Long, Brittany           Call with J. Cochran (Deloitte) to         $310.00       0.5      $155.00
                            discuss 2020 information technology
                            audit plan.
   Meredith, Wendy          Review quarterly reporting workpaper       $410.00       1.0      $410.00
                            for Q1'20.
   Nkinzingabo, Rudy        Review income tax provision                $310.00       1.8      $558.00
                            fluctuation workpaper.
   Nkinzingabo, Rudy        Review unrecognized tax benefit            $310.00       2.0      $620.00
                            reconciliation working paper.
   Pemberton, Tricia        Review draft of Form 10-Q financial        $410.00       1.0      $410.00
                            statements for PG&E Corporation and
                            PG&E Utility.
   Pemberton, Tricia        Review quarterly workpapers for Q1         $410.00       1.0      $410.00
                            2020 review around summary memo.



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       PG&E Corporation and Pacific Gas and Electric Company
                               Deloitte & Touche LLP
                   Fees Sorted by Category for the Fee Period
                                    April 01, 2020 - April 30, 2020
Date                       Description                                     Rate    Hours          Fees

2020 Audit Services
04/27/2020
   Rice, Blake             Discussion with L. Schloetter, E.            $260.00       0.5      $130.00
                           Brown, K. Boyce (Deloitte) regarding
                           workpaper priorities.
   Rice, Blake             Prepare assessment of misstatements          $260.00       2.5      $650.00
                           for quarter 1 review.
   Schloetter, Lexie       Update quarterly review workpaper for        $210.00       1.5      $315.00
                           summary memo and evaluation of
                           misstatements workpaper.
   Schloetter, Lexie       Discussion with E. Brown, B. Rice, K.        $210.00       0.5      $105.00
                           Boyce (Deloitte) regarding workpaper
                           priorities.
   Schloetter, Lexie       Document the assessment of                   $210.00       2.5      $525.00
                           misstatements for Q1'20 workpaper.
   Schloetter, Lexie       Analyze fluctuations in the balance          $210.00       1.5      $315.00
                           sheet variance analysis.
   Schloetter, Lexie       Close notes related to the summary of        $210.00       2.0      $420.00
                           alerts workpaper for new accounting
                           standards.
   Varshney, Swati         Review summarization for the minutes         $260.00       3.0      $780.00
                           from the Board of Director meetings.
04/28/2020
   Azebu, Matt             Discussion with B. Rice, H. Chopra, S.       $260.00       0.5      $130.00
                           Varshney, A. Kamra, L. Schloetter, E.
                           Brown, K. Boyce (Deloitte) regarding
                           workpaper priorities.
   Bhatia, Sagar           Review summary of board of director          $260.00       5.5     $1,430.00
                           minutes and assess whether there may
                           be an impact on audit procedures.
   Boyce, Kyle             Update cash flow workpaper for post          $190.00       2.0      $380.00
                           close adjusting journal entries.
   Boyce, Kyle             Discussion with L. Schloetter (Deloitte)     $190.00       1.5      $285.00
                           regarding fluctuations in the Q1’20
                           income statement.
   Boyce, Kyle             Discussion with B. Rice, W. Meredith,        $190.00       0.5       $95.00
                           Y. Jin, L. Schloetter, E. Brown
                           (Deloitte) regarding workpaper
                           priorities.




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       PG&E Corporation and Pacific Gas and Electric Company
                              Deloitte & Touche LLP
                 Fees Sorted by Category for the Fee Period
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Date                      Description                                     Rate    Hours         Fees

2020 Audit Services
04/28/2020
   Boyce, Kyle            Discussion with B. Rice, H. Chopra, S.        $190.00      0.5       $95.00
                          Varshney, A. Kamra, M. Azebu, L.
                          Schloetter, E. Brown (Deloitte)
                          regarding workpaper priorities.
   Boyce, Kyle            Close notes on the workpaper related          $190.00      1.5      $285.00
                          to going concern assessment for the
                          quarter.
   Boyce, Kyle            Close notes on the income statement           $190.00      1.5      $285.00
                          Q1'20 analytic.
   Brown, Erin            Discussion with B. Rice, W. Meredith,         $190.00      0.5       $95.00
                          Y. Jin, L. Schloetter, K. Boyce
                          (Deloitte) regarding workpaper
                          priorities.
   Brown, Erin            Discussion with B. Rice, H. Chopra, S.        $190.00      0.5       $95.00
                          Varshney, A. Kamra, M. Azebu, L.
                          Schloetter, K. Boyce (Deloitte)
                          regarding workpaper priorities.
   Brown, Erin            Document the planning memo                    $190.00      3.5      $665.00
                          regarding the identification of affiliates.
   Brown, Erin            Update documentation regarding                $190.00      2.0      $380.00
                          PG&E engagement team protocols for
                          2020 audit.
   Brown, Erin            Update analytic testing for post-close        $190.00      2.5      $475.00
                          amounts provided within the draft of
                          the financials.
   Chopra, Harshita       Update practice alerts, financial             $190.00      0.6      $114.00
                          reporting alerts, financial accounting
                          standards board accounting standards
                          updates, certain other announcements
                          and other professional guidance.
   Chopra, Harshita       Summarize internal audit reports and          $190.00      0.5       $95.00
                          analyze for risk mentioned in the audit
                          report which may impact the financials
                          of the company.
   Chopra, Harshita       Check the independence of the audit           $190.00      0.5       $95.00
                          engagement team members engaged
                          on the PG&E audit for independence
                          documentation.




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       PG&E Corporation and Pacific Gas and Electric Company
                                Deloitte & Touche LLP
                    Fees Sorted by Category for the Fee Period
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Date                        Description                                   Rate    Hours          Fees

2020 Audit Services
04/28/2020
   Chopra, Harshita         Discussion with S. Varshney (Deloitte)     $190.00       0.4       $76.00
                            regarding workpaper priorities, status
                            and queries regarding procedures
                            performed relating to minutes of
                            meetings of board of directors and the
                            agendas.
   Chopra, Harshita         Discussion with B. Rice, S. Varshney,      $190.00       0.5       $95.00
                            A. Kamra, M. Azebu, L. Schloetter, E.
                            Brown, K. Boyce (Deloitte) regarding
                            workpaper priorities.
   Chopra, Harshita         Document procedures performed              $190.00       0.6      $114.00
                            relating to minutes and the agendas of
                            the meetings of board of directors
   Gillam, Tim              Review the updated Form 10Q                $410.00       2.5     $1,025.00
                            financial statement.
   Gillam, Tim              Attend the joint safety, compliance &      $410.00       3.0     $1,230.00
                            audit committee with D. Thomason, B.
                            Johnson, J. Wells (PG&E)
   Gillam, Tim              Attend the first quarter audit committee   $410.00       2.5     $1,025.00
                            meeting of PG&E with D. Thomason,
                            B. Johnson, J. Wells (PG&E).
   Jin, Yezi                Discussion with B. Rice, W. Meredith,      $350.00       0.5      $175.00
                            L. Schloetter, E. Brown, K. Boyce
                            (Deloitte) regarding workpaper
                            priorities.
   Kamra, Akanksha          Discussion with B. Rice, H. Chopra, S.     $310.00       0.5      $155.00
                            Varshney, M. Azebu, L. Schloetter, E.
                            Brown, K. Boyce (Deloitte) regarding
                            workpaper priorities.
   Kamra, Akanksha          Review summary of alerts workpaper         $310.00       2.0      $620.00
                            pertaining to accounting, financial
                            reporting, and other updates that may
                            have an impact on disclosure or
                            accounting for the company's Q1'2020
                            financial statement.
   Long, Brittany           Modify information technology testing      $310.00       0.5      $155.00
                            audit plan to incorporate the
                            improvement points for 2020 from
                            2019 audit debrief.
   Meredith, Wendy          Review first quarter review analytical     $410.00       0.5      $205.00
                            workpapers.

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       PG&E Corporation and Pacific Gas and Electric Company
                              Deloitte & Touche LLP
                  Fees Sorted by Category for the Fee Period
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Date                      Description                                     Rate    Hours         Fees

2020 Audit Services
04/28/2020
   Meredith, Wendy        Discussion with B. Rice, L. Schloetter       $410.00       0.5      $205.00
                          (Deloitte), A. Chung, K. Mallone
                          (PG&E) regarding audit committee
                          draft financial statement comments.
   Meredith, Wendy        Discussion with B. Rice, Y. Jin, L.          $410.00       0.5      $205.00
                          Schloetter, E. Brown, K. Boyce
                          (Deloitte) regarding workpaper
                          priorities.
   Nkinzingabo, Rudy      Review valuation allowance analysis          $310.00       2.7      $837.00
                          documentation.
   Nkinzingabo, Rudy      Review summary memo on tax                   $310.00       2.0      $620.00
                          procedures performed.
   Pemberton, Tricia      Review the quarterly review summary          $410.00       1.5      $615.00
                          memo for Q1 2020.
   Ramkumar, Vignesh      Prepare status update regarding the          $210.00       1.0      $210.00
                          property, plant and equipment risk
                          assessment around capitalization.
   Rice, Blake            Discussion with W. Meredith, L.              $260.00       0.5      $130.00
                          Schloetter (Deloitte), A. Chung, K.
                          Mallone (PG&E) regarding audit
                          committee draft financial statement
                          comments.
   Rice, Blake            Discussion with L. Schloetter (Deloitte)     $260.00       0.5      $130.00
                          regarding audit committee materials for
                          quarterly review procedures.
   Rice, Blake            Discussion with H. Chopra, S.                $260.00       0.5      $130.00
                          Varshney, A. Kamra, M. Azebu, L.
                          Schloetter, E. Brown, K. Boyce
                          (Deloitte) regarding workpaper
                          priorities.
   Rice, Blake            Discussion with W. Meredith, Y. Jin, L.      $260.00       0.5      $130.00
                          Schloetter, E. Brown, K. Boyce
                          (Deloitte) regarding workpaper
                          priorities.
   Schloetter, Lexie      Update workpaper related to the              $210.00       3.0      $630.00
                          assessment of misstatements for the
                          quarterly review.
   Schloetter, Lexie      Update memo related to the workpaper         $210.00       3.0      $630.00
                          for the entity's affiliates.



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       PG&E Corporation and Pacific Gas and Electric Company
                                Deloitte & Touche LLP
                    Fees Sorted by Category for the Fee Period
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Date                        Description                                   Rate    Hours         Fees

2020 Audit Services
04/28/2020
   Schloetter, Lexie        Discussion with K. Boyce (Deloitte)        $210.00       1.0      $210.00
                            regarding fluctuations in the Q1’20
                            income statement.
   Schloetter, Lexie        Discussion with W. Meredith, B. Rice       $210.00       0.5      $105.00
                            (Deloitte), A. Chung, K. Mallone
                            (PG&E) regarding audit committee
                            draft financial statement comments.
   Schloetter, Lexie        Discussion with B. Rice (Deloitte)         $210.00       0.5      $105.00
                            regarding audit committee materials for
                            quarterly review procedures.
   Schloetter, Lexie        Discussion with B. Rice, H. Chopra, S.     $210.00       0.5      $105.00
                            Varshney, A. Kamra, M. Azebu, E.
                            Brown, K. Boyce (Deloitte) regarding
                            workpaper priorities.
   Schloetter, Lexie        Discussion with B. Rice, W. Meredith,      $210.00       0.5      $105.00
                            Y. Jin, E. Brown, K. Boyce (Deloitte)
                            regarding workpaper priorities.
   Varshney, Swati          Review internal audit report on internal   $260.00       1.0      $260.00
                            control operation during the quarter
                            and impact on the audit.
   Varshney, Swati          Review summary of accounting               $260.00       0.2       $52.00
                            standards impact on the company.
   Varshney, Swati          Discussion with H. Chopra (Deloitte)       $260.00       0.4      $104.00
                            regarding workpaper priorities, status
                            and queries regarding procedures
                            performed relating to minutes of
                            meetings of board of directors and the
                            agendas.
   Varshney, Swati          Discussion with B. Rice, H. Chopra, A.     $260.00       0.5      $130.00
                            Kamra, M. Azebu, L. Schloetter, E.
                            Brown, K. Boyce (Deloitte) regarding
                            workpaper priorities.
   Yuen, Jennifer           Update documentation based on              $260.00       3.0      $780.00
                            revised tax provision support.
04/29/2020
   Boyce, Kyle              Close notes on the income statement        $190.00       3.0      $570.00
                            Q1'20 analytic.
   Boyce, Kyle              Continue to perform tie-out procedures     $190.00       1.5      $285.00
                            on the company's financial statements
                            for Q1'20.

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       PG&E Corporation and Pacific Gas and Electric Company
                               Deloitte & Touche LLP
                 Fees Sorted by Category for the Fee Period
                                    April 01, 2020 - April 30, 2020
Date                       Description                                    Rate    Hours         Fees

2020 Audit Services
04/29/2020
   Boyce, Kyle             Discussion with L. Schloetter, E. Brown     $190.00       0.5       $95.00
                           (Deloitte) regarding workpaper
                           priorities.
   Boyce, Kyle             Discussion with L. Schloetter               $190.00       1.0      $190.00
                           (Deloitte), R. Stanley, A. Duran
                           (PG&E) regarding fluctuations in the
                           Q1’20 income statement.
   Boyce, Kyle             Perform tie-out procedures on the           $190.00       3.5      $665.00
                           company's financial statements for
                           Q1'20.
   Brown, Erin             Performed tie-out procedures over the       $190.00       3.0      $570.00
                           Company's Form 10-Q financial
                           statement draft.
   Brown, Erin             Discussion with L. Schloetter, K. Boyce     $190.00       0.5       $95.00
                           (Deloitte) regarding workpaper
                           priorities.
   Brown, Erin             Address notes to journal entry testing.     $190.00       3.5      $665.00
   Chopra, Harshita        Summarize internal audit reports and        $190.00       0.7      $133.00
                           analyze risk mentioned in the audit
                           report which may impact the financials
                           of the company.
   Chopra, Harshita        Update practice alerts, financial           $190.00       0.4       $76.00
                           reporting alerts, financial accounting
                           standards board accounting standards
                           updates, certain other announcements
                           and other professional guidance.
   Fazil, Mohamed          Prepare information technology testing      $260.00       1.0      $260.00
                           plan.
   Gillam, Tim             Review the audit documentation to           $410.00       0.5      $205.00
                           evidence the content discussed during
                           the audit committee meeting.
   Jin, Yezi               Review quarterly checklist on               $350.00       1.0      $350.00
                           accounting and reporting compliance.
   Jin, Yezi               Review tie-out procedures performed         $350.00       1.5      $525.00
                           on Q1 Form 10-Q quarterly financial
                           statement.
   Kamra, Akanksha         Review summary of alerts regarding          $310.00       1.0      $310.00
                           accounting and financial reporting
                           updates to assess if there is an impact
                           on the company's quarter 1 disclosure.

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                    Fees Sorted by Category for the Fee Period
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Date                        Description                                      Rate    Hours         Fees

2020 Audit Services
04/29/2020
   Kamra, Akanksha          Review summary of board of director           $310.00       3.0      $930.00
                            minutes and assess whether there may
                            be an impact on audit procedures.
   Kipkirui, Winnie         Document updates to the presentation          $260.00       2.5      $650.00
                            slide deck on information technology
                            risk assessment.
   Long, Brittany           Review PG&E cyber security audit              $310.00       0.5      $155.00
                            report to understand the cyber risk
                            assessment for information technology
                            testing.
   Long, Brittany           Review information technology testing         $310.00       0.5      $155.00
                            plan for 2020.
   Meredith, Wendy          Review quarter review workpapers on           $410.00       1.0      $410.00
                            fluctuation analysis for balance sheet.
   Meredith, Wendy          Review quarter review workpapers on           $410.00       0.5      $205.00
                            fluctuation analysis for income
                            statement.
   Meredith, Wendy          Review quarter review workpapers for          $410.00       0.5      $205.00
                            reporting compliance checklist around
                            accounting and financial reporting to
                            the Securities and Exchange
                            Commission.
   Meredith, Wendy          Review updated draft Form 10-Q                $410.00       0.5      $205.00
                            financial statement for quarter 1.
   Meredith, Wendy          Review updated management                     $410.00       0.5      $205.00
                            representation letter for quarter 1.
   Meredith, Wendy          Continue to review updated draft Form         $410.00       1.0      $410.00
                            10-Q quarterly financial statements.
   Nkinzingabo, Rudy        Discussion with J. Yuen (Deloitte)            $310.00       1.5      $465.00
                            regarding valuation allowance
                            documentation update in tax memo.
   Nkinzingabo, Rudy        Review effective tax rate fluctuation         $310.00       1.5      $465.00
                            analysis.
   Pemberton, Tricia        Review updated draft of the Q1 10-Q           $410.00       2.0      $820.00
                            for PG&E Corporation & Utility.
   Rice, Blake              Review appendix within management             $260.00       2.0      $520.00
                            representation letter for quarter 1
                            review.



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       PG&E Corporation and Pacific Gas and Electric Company
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Date                        Description                                  Rate    Hours         Fees

2020 Audit Services
04/29/2020
   Schloetter, Lexie        Discussion with K. Boyce (Deloitte), R.    $210.00      1.0      $210.00
                            Stanley, A. Duran (PG&E) regarding
                            fluctuations in the Q1’20 income
                            statement.
   Schloetter, Lexie        Update the memo related to the             $210.00      3.5      $735.00
                            accounting principles and disclosures
                            used on the financial statements.
   Schloetter, Lexie        Discussion with E. Brown, K. Boyce         $210.00      0.5      $105.00
                            (Deloitte) regarding workpaper
                            priorities.
   Schloetter, Lexie        Close notes related to the quarterly       $210.00      1.0      $210.00
                            financial statement tie-out procedures.
   Schloetter, Lexie        Close notes on memo related to the         $210.00      1.0      $210.00
                            company's affiliates listing.
   Schloetter, Lexie        Close notes on the accounting              $210.00      1.5      $315.00
                            principles and disclosures used on the
                            financial statements.
   Schloetter, Lexie        Close notes related to the audit           $210.00      1.0      $210.00
                            committee communication slide deck.
   Schloetter, Lexie        Analyze fluctuations related to the        $210.00      3.5      $735.00
                            income statement analytic for quarterly
                            review.
   Varshney, Swati          Review internal audit reports on           $260.00      0.5      $130.00
                            internal control operations to assess
                            their impact on the audit.
   Varshney, Swati          Review summary of accounting               $260.00      1.0      $260.00
                            standards impact on the company.
   Yuen, Jennifer           Discussion with R. Nkinzingabo             $260.00      1.5      $390.00
                            (Deloitte) regarding valuation
                            allowance documentation update in tax
                            memo.
04/30/2020
   Azebu, Matt              Discussion with B. Rice, W. Meredith,      $260.00      0.5      $130.00
                            T. Gillam, Y. Jin, L. Schloetter, E.
                            Brown, K. Boyce, A. Kamra, H. Chopra
                            (Deloitte) regarding workpaper
                            priorities.




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       PG&E Corporation and Pacific Gas and Electric Company
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2020 Audit Services
04/30/2020
   Azebu, Matt            Discussion with B. Rice, L. Schloetter,     $260.00       0.5      $130.00
                          E. Brown, S. Varshney, K. Boyce
                          (Deloitte) regarding workpaper
                          priorities.
   Azebu, Matt            Review final communications to audit        $260.00       1.0      $260.00
                          committee in connection with quarterly
                          review procedures.
   Azebu, Matt            Review tie-out procedures performed         $260.00       3.0      $780.00
                          for the quarterly financial statements
                          on Form 10-Q.
   Azebu, Matt            Discussion with T. Pemberton, W.            $260.00       0.5      $130.00
                          Meredith, B. Rice, L. Schloetter
                          (Deloitte) regarding the assessment of
                          misstatements workpaper for the
                          quarterly review.
   Boyce, Kyle            Perform tie-out procedures on the           $190.00       3.5      $665.00
                          company's financial statements for
                          Q1'20.
   Boyce, Kyle            Discussion with M. Azebu, B. Rice, W.       $190.00       0.5       $95.00
                          Meredith, T. Gillam, Y. Jin, L.
                          Schloetter, E. Brown, A. Kamra, H.
                          Chopra (Deloitte) regarding workpaper
                          priorities.
   Boyce, Kyle            Discussion with B. Rice, L. Schloetter,     $190.00       0.5       $95.00
                          E. Brown, M. Azebu, S. Varshney
                          (Deloitte) regarding workpaper
                          priorities.
   Boyce, Kyle            Close notes on the income statement         $190.00       1.5      $285.00
                          Q1'20 analytic.
   Boyce, Kyle            Continue to perform tie-out procedures      $190.00       3.5      $665.00
                          on the company's financial statements
                          for Q1'20.
   Brown, Erin            Address notes with regards to the           $190.00       3.0      $570.00
                          Form 10-Q quarterly financial
                          statement tie-out.
   Brown, Erin            Discussion with M. Azebu, B. Rice, W.       $190.00       0.5       $95.00
                          Meredith, T. Gillam, Y. Jin, L.
                          Schloetter, K. Boyce, A. Kamra, H.
                          Chopra (Deloitte) regarding workpaper
                          priorities.


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       PG&E Corporation and Pacific Gas and Electric Company
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2020 Audit Services
04/30/2020
   Brown, Erin             Performed tie-out procedures over the      $190.00       3.5      $665.00
                           Company's Form 10-Q financial
                           statement draft.
   Brown, Erin             Discussion with B. Rice, L. Schloetter,    $190.00       0.5       $95.00
                           M. Azebu, S. Varshney, K. Boyce
                           (Deloitte) regarding workpaper
                           priorities.
   Chopra, Harshita        Draft responses for quarterly checklist    $190.00       3.0      $570.00
                           to assess completeness of interim
                           review procedures.
   Chopra, Harshita        Discussion with M. Azebu, B. Rice, W.      $190.00       0.5       $95.00
                           Meredith, T. Gillam, Y. Jin, L.
                           Schloetter, E. Brown, K. Boyce, A.
                           Kamra (Deloitte) regarding workpaper
                           priorities.
   Fazil, Mohamed          Meeting with W. Kipkirui (Deloitte) to     $260.00       0.5      $130.00
                           discuss interim planning for FY'20
                           audit.
   Fazil, Mohamed          Prepare status tracker for information     $260.00       0.5      $130.00
                           technology planning.
   Gillam, Tim             Discussion with M. Azebu, B. Rice, W.      $410.00       0.5      $205.00
                           Meredith, Y. Jin, L. Schloetter, E.
                           Brown, K. Boyce, A. Kamra, H. Chopra
                           (Deloitte) regarding workpaper
                           priorities.
   Gillam, Tim             Review the Form 10-Q financial             $410.00       2.5     $1,025.00
                           statement for Q1'20.
   Jin, Yezi               Discussion with M. Azebu, B. Rice, W.      $350.00       0.5      $175.00
                           Meredith, T. Gillam, L. Schloetter, E.
                           Brown, K. Boyce, A. Kamra, H. Chopra
                           (Deloitte) regarding workpaper
                           priorities.
   Kamra, Akanksha         Discussion with M. Azebu, B. Rice, W.      $310.00       0.5      $155.00
                           Meredith, T. Gillam, Y. Jin, L.
                           Schloetter, E. Brown, K. Boyce, H.
                           Chopra (Deloitte) regarding workpaper
                           priorities.
   Kamra, Akanksha         Continue to review summary of board        $310.00       1.5      $465.00
                           of director minutes and assess whether
                           there may be an impact on audit
                           procedures.

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       PG&E Corporation and Pacific Gas and Electric Company
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2020 Audit Services
04/30/2020
   Kamra, Akanksha          Review summary of internal audit             $310.00       2.0      $620.00
                            report regarding internal control
                            operation during Q1.
   Kanekar, Anish           Prepare status update pertaining to the      $310.00       2.0      $620.00
                            property, plant and equipment risk
                            assessment around additions.
   Khan, Shabeer            Prepare audit committee presentation         $190.00       0.6      $114.00
                            for quarter 1.
   Kipkirui, Winnie         Meeting with M. Fazil (Deloitte) to          $260.00       0.5      $130.00
                            discuss interim planning for FY'20
                            audit.
   Kipkirui, Winnie         Meeting with B. Long (Deloitte) to           $260.00       0.5      $130.00
                            discuss interim testing for FY'20
                            information technology testing.
   Long, Brittany           Review information technology audit          $310.00       1.5      $465.00
                            plan to prepare budgeted hours for the
                            year.
   Long, Brittany           Review information technology audit          $310.00       1.5      $465.00
                            plan to prepare for staffing resource
                            allocation.
   Long, Brittany           Meeting with W. Kipkirui (Deloitte) to       $310.00       0.5      $155.00
                            discuss interim testing for FY'20
                            information technology testing.
   Meredith, Wendy          Review first quarter independence            $410.00       0.5      $205.00
                            workpaper.
   Meredith, Wendy          Review first quarter review journal          $410.00       0.5      $205.00
                            entry testing.
   Meredith, Wendy          Meet with J. Garboden (PG&E) to              $410.00       0.5      $205.00
                            discuss first quarter status of the
                            quarterly review.
   Meredith, Wendy          Discussion with M. Azebu, B. Rice, T.        $410.00       0.5      $205.00
                            Gillam, Y. Jin, L. Schloetter, E. Brown,
                            K. Boyce, A. Kamra, H. Chopra
                            (Deloitte) regarding workpaper
                            priorities.
   Meredith, Wendy          Discussion with T. Pemberton, M.             $410.00       0.5      $205.00
                            Azebu, B. Rice, L. Schloetter (Deloitte)
                            regarding the assessment of
                            misstatements workpaper for the
                            quarterly review.

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2020 Audit Services
04/30/2020
   Pemberton, Tricia      Discussion with W. Meredith, M.            $410.00       0.5      $205.00
                          Azebu, B. Rice, L. Schloetter (Deloitte)
                          regarding the assessment of
                          misstatements workpaper for the
                          quarterly review.
   Pemberton, Tricia      Review assessment of misstatements         $410.00       1.5      $615.00
                          for Q1 review for PG&E Corporation &
                          Utility.
   Pemberton, Tricia      Review final draft of the Form 10-Q for    $410.00       2.0      $820.00
                          PG&E Corporation & Utility.
   Rice, Blake            Review tie-out procedures performed        $260.00       2.0      $520.00
                          for quarter 1 financial statement.
   Rice, Blake            Discussion with T. Pemberton, W.           $260.00       0.5      $130.00
                          Meredith, M. Azebu, L. Schloetter
                          (Deloitte) regarding the assessment of
                          misstatements workpaper for the
                          quarterly review.
   Rice, Blake            Discussion with L. Schloetter (Deloitte)   $260.00       1.0      $260.00
                          regarding the preparation of final
                          reports to be issued around audit
                          committee communication and
                          quarterly review.
   Rice, Blake            Discussion with M. Azebu, W.               $260.00       0.5      $130.00
                          Meredith, T. Gillam, Y. Jin, L.
                          Schloetter, E. Brown, K. Boyce, A.
                          Kamra, H. Chopra (Deloitte) regarding
                          workpaper priorities.
   Rice, Blake            Discussion with L. Schloetter, E.          $260.00       0.5      $130.00
                          Brown, M. Azebu, S. Varshney, K.
                          Boyce (Deloitte) regarding workpaper
                          priorities.
   Schloetter, Lexie      Close notes related to the quarterly       $210.00       1.5      $315.00
                          financial statement tie-out procedures.
   Schloetter, Lexie      Discussion with T. Pemberton, W.           $210.00       0.5      $105.00
                          Meredith, M. Azebu, B. Rice (Deloitte)
                          regarding the assessment of
                          misstatements workpaper for the
                          quarterly review.




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       PG&E Corporation and Pacific Gas and Electric Company
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                    Fees Sorted by Category for the Fee Period
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2020 Audit Services
04/30/2020
   Schloetter, Lexie           Initiate record of issuance for the        $210.00       1.0        $210.00
                               reporting pertaining to quarterly review
                               and audit committee communication
                               slide deck.
   Schloetter, Lexie           Update the final reports for issuance      $210.00       3.5        $735.00
                               on the quarterly review.
   Schloetter, Lexie           Update workpaper documentation on          $210.00       2.5        $525.00
                               further analysis related to the
                               assessment of misstatements.
   Schloetter, Lexie           Discussion with B. Rice (Deloitte)         $210.00       1.0        $210.00
                               regarding the preparation of final
                               reports to be issued pertaining to audit
                               committee communication and
                               quarterly review.
   Schloetter, Lexie           Discussion with M. Azebu, B. Rice, W.      $210.00       0.5        $105.00
                               Meredith, T. Gillam, Y. Jin, E. Brown,
                               K. Boyce, A. Kamra, H. Chopra
                               (Deloitte) regarding workpaper
                               priorities.
   Schloetter, Lexie           Discussion with B. Rice, E. Brown, M.      $210.00       0.5        $105.00
                               Azebu, S. Varshney, K. Boyce
                               (Deloitte) regarding workpaper
                               priorities.
   Varshney, Swati             Discussion with B. Rice, L. Schloetter,    $260.00       0.5        $130.00
                               E. Brown, M. Azebu, K. Boyce
                               (Deloitte) regarding workpaper
                               priorities.
   Yuen, Jennifer              Close notes in summary memo around         $260.00       0.5        $130.00
                               tax procedures performed.
   Subtotal for 2020 Audit Services:                                                 978.3      $233,061.00

2020 California Wildfires
04/01/2020
   Meredith, Wendy             Prepare memo related to Butte County       $810.00       0.5        $405.00
                               settlement around wildfire obligation.




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       PG&E Corporation and Pacific Gas and Electric Company
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2020 California Wildfires
04/13/2020
   Gillam, Tim            Discuss accounting implication of the     $810.00       1.5     $1,215.00
                          Federal Emergency Management
                          Agency's settlement with D. Thomason
                          (PG&E) regarding wildfire accounting.
04/14/2020
   Gillam, Tim            Review Federal Emergency                  $810.00       2.0     $1,620.00
                          Management Agency and state agency
                          agreements to understand accounting
                          implication for wildfire accounting.
04/16/2020
   Azebu, Matt            Review draft settlement agreements        $510.00       1.0      $510.00
                          related to federal and state agency
                          claims around wildfire.
   Meredith, Wendy        Review Federal Emergency                  $810.00       1.0      $810.00
                          Management Agency and state
                          agencies settlement agreements to
                          evaluate wildfire obligation.
04/17/2020
   Azebu, Matt            Continue to review draft settlement       $510.00       1.0      $510.00
                          agreements related to federal and
                          state agency claims around wildfire.
04/20/2020
   Gillam, Tim            Discussion with J. Garboden (PG&E),       $810.00       0.5      $405.00
                          S. Karotkin, D. Haaren (Cravath), M.
                          Goren (Weil), W. Meredith (Deloitte)
                          regarding the accounting for the draft
                          agreements related to federal and
                          state agency wildfire claims.
   Meredith, Wendy        Review draft trust documents for          $810.00       0.5      $405.00
                          wildfire claims trusts.
   Meredith, Wendy        Discussion with J. Garboden (PG&E),       $810.00       0.5      $405.00
                          S. Karotkin, D. Haaren (Cravath), M.
                          Goren (Weil), T. Gillam (Deloitte)
                          regarding the accounting for the draft
                          agreements related to federal and
                          state agency wildfire claims.




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       PG&E Corporation and Pacific Gas and Electric Company
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2020 California Wildfires
04/21/2020
   Meredith, Wendy        Meet with J. Loduca, B. Wong, J. Lloyd         $810.00      0.5      $405.00
                          (PG&E) to discuss Kincade fire
                          disclosure and quarter one updates.
04/22/2020
   Azebu, Matt            Discussion with T. Gillam, W. Meredith,        $510.00      0.5      $255.00
                          L. Schloetter (Deloitte), K. Mallone, A.
                          Chung, J. Garboden, A. Capelle, T.
                          Lucey, S. Shirley (PG&E) regarding
                          quarterly updates on Wildfire liabilities.
   Azebu, Matt            Review wildfire liabilities calculation for    $510.00      0.5      $255.00
                          the quarter.
   Gillam, Tim            Discussion with W. Meredith, M.                $810.00      0.5      $405.00
                          Azebu, L. Schloetter (Deloitte), K.
                          Mallone, A. Chung, J. Garboden, A.
                          Capelle, T. Lucey, S. Shirley (PG&E)
                          regarding quarterly updates on Wildfire
                          liabilities.
   Meredith, Wendy        Discussion with T. Gillam, M. Azebu, L.        $810.00      0.5      $405.00
                          Schloetter (Deloitte), K. Mallone, A.
                          Chung, J. Garboden, A. Capelle, T.
                          Lucey, S. Shirley (PG&E) regarding
                          quarterly updates on Wildfire liabilities.
   Schloetter, Lexie      Prepare for meeting related to meeting         $410.00      0.5      $205.00
                          related to wildfire liability legal meeting.
   Schloetter, Lexie      Discussion with T. Gillam, W. Meredith,        $410.00      0.5      $205.00
                          M. Azebu (Deloitte), K. Mallone, A.
                          Chung, J. Garboden, A. Capelle, T.
                          Lucey, S. Shirley (PG&E) regarding
                          quarterly updates on Wildfire liabilities.
04/23/2020
   Azebu, Matt            Discussion with W. Meredith, L.                $510.00      0.5      $255.00
                          Schloetter (Deloitte), K. Mallone, S.
                          Shirle, C. Gleicher, T. Lucey (PG&E)
                          related to updates on the Wildfire
                          Securities Class Action litigation.
   Meredith, Wendy        Discussion with M. Azebu, L.                   $810.00      0.5      $405.00
                          Schloetter (Deloitte), K. Mallone, S.
                          Shirle, C. Gleicher, T. Lucey (PG&E)
                          related to updates on the Wildfire
                          Securities Class Action litigation.

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2020 California Wildfires
04/23/2020
   Schloetter, Lexie      Discussion with W. Meredith, M. Azebu       $410.00       0.5      $205.00
                          (Deloitte), K. Mallone, S. Shirle, C.
                          Gleicher, T. Lucey (PG&E) related to
                          updates on the Wildfire Securities
                          Class Action litigation.
04/24/2020
   Azebu, Matt            Discussion with S. Schirle, T. Lucey, J.    $510.00       0.5      $255.00
                          Garboden (PG&E), K. Orsini (Cravath),
                          T. Gillam, W. Meredith (Deloitte)
                          regarding the accounting and
                          disclosure for Kincade wildfire-related
                          matters.
   Gillam, Tim            Discussion with S. Schirle, T. Lucey, J.    $810.00       0.5      $405.00
                          Garboden (PG&E), K. Orsini (Cravath),
                          W. Meredith, M. Azebu (Deloitte)
                          regarding the accounting and
                          disclosure for Kincade wildfire-related
                          matters.
   Meredith, Wendy        Discussion with S. Schirle, T. Lucey, J.    $810.00       0.5      $405.00
                          Garboden (PG&E), K. Orsini (Cravath),
                          T. Gillam, M. Azebu (Deloitte)
                          regarding the accounting and
                          disclosure for Kincade wildfire-related
                          matters.
04/25/2020
   Gillam, Tim            Review the Butte county fire claim          $810.00       2.5     $2,025.00
                          settlement.
   Meredith, Wendy        Review procedures related to wildfire       $810.00       0.5      $405.00
                          settlements for first quarter.
04/27/2020
   Azebu, Matt            Meeting with J. Garboden, S. Schirle,       $510.00       0.5      $255.00
                          D. Thomason (PG&E), O. Nasab
                          (Cravath), T. Gillam, W. Meredith
                          (Deloitte) to discuss the accounting
                          treatment and disclosures related to
                          the Kincade Fire.




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                  Fees Sorted by Category for the Fee Period
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2020 California Wildfires
04/27/2020
   Gillam, Tim                  Meeting with J. Garboden, S. Schirle,      $810.00       0.5       $405.00
                                D. Thomason (PG&E), O. Nasab
                                (Cravath), W. Meredith, M. Azebu
                                (Deloitte) to discuss the accounting
                                treatment and disclosures related to
                                the Kincade Fire.
   Meredith, Wendy              Meeting with J. Garboden, S. Schirle,      $810.00       0.5       $405.00
                                D. Thomason (PG&E), O. Nasab
                                (Cravath), T. Gillam, M. Azebu
                                (Deloitte) to discuss the accounting
                                treatment and disclosures related to
                                the Kincade Fire.
04/28/2020
   Gillam, Tim                  Review the disclosure related to           $810.00       0.5       $405.00
                                wildfire in the Form 10-Q.
   Pemberton, Tricia            Review the memo documenting the            $810.00       1.5      $1,215.00
                                updates on the Wildfire reserves for Q1
                                2020 and tentative settlements
                                reached with Federal Emergency
                                Management Agency and California
                                Governor's Office of Emergency
                                Services.
04/29/2020
   Gillam, Tim                  Meet with W. Meredith (Deloitte) to        $810.00       0.5       $405.00
                                discuss wildfire related disclosures in
                                Form 10-Q.
   Meredith, Wendy              Meet with T. Gillam (Deloitte) to          $810.00       0.5       $405.00
                                discuss wildfire related disclosures in
                                Form 10-Q.
   Meredith, Wendy              Review accounting memo related to          $810.00       0.5       $405.00
                                fire victim trusts.
   Subtotal for 2020 California Wildfires:                                              23.0     $16,680.00

2020 Post Bankruptcy Matters
04/01/2020
   Allen, Jana                  Research accounting guidance for           $610.00       0.5       $305.00
                                equity backstop agreement and diluted
                                earnings per share.



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2020 Post Bankruptcy Matters
04/01/2020
   Meredith, Wendy        Research accounting for equity             $810.00      1.0      $810.00
                          backstop agreement.
   Shi, Yuxin             Prepare independent valuation model        $410.00      2.0      $820.00
                          around equity backstop valuation.
   Xu, Zhixin             Draft questions to B. Rice and W.          $510.00      2.0     $1,020.00
                          Meredith (Deloitte) regarding equity
                          backstop valuation model.
04/02/2020
   Azebu, Matt            Meet with W. Meredith, B. Rice, S.         $510.00      0.5      $255.00
                          Dineen, R. Domingue, Y. Shi, Z. Xu
                          (Deloitte) to discuss notes on the
                          valuation for the equity backstop
                          agreement.
   Azebu, Matt            Review accounting memorandum               $510.00      3.0     $1,530.00
                          summarizing treatment of the
                          Company's debt bridge financing
                          agreement.
   Dineen, Sean           Meet with W. Meredith, M. Azebu, B.        $810.00      0.5      $405.00
                          Rice, R. Domingue, Y. Shi, Z. Xu
                          (Deloitte) to discuss notes on the
                          valuation for the equity backstop
                          agreement.
   Domingue, Rob          Meet with W. Meredith, M. Azebu, B.        $700.00      0.5      $350.00
                          Rice, S. Dineen, Y. Shi, Z. Xu
                          (Deloitte) to discuss notes on the
                          valuation for the equity backstop
                          agreement.
   Meredith, Wendy        Review and respond to comments from        $810.00      0.5      $405.00
                          Y. Shi and Z. Xu (Deloitte) regarding
                          valuation for equity backstop
                          agreement.
   Meredith, Wendy        Meet with M. Azebu, B. Rice, S.            $810.00      0.5      $405.00
                          Dineen, R. Domingue, Y. Shi, Z. Xu
                          (Deloitte) to discuss notes on the
                          valuation for the equity backstop
                          agreement.
   Rice, Blake            Meet with W. Meredith, M. Azebu, S.        $510.00      0.5      $255.00
                          Dineen, R. Domingue, Y. Shi, Z. Xu
                          (Deloitte) to discuss notes on the
                          valuation for the equity backstop
                          agreement.

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2020 Post Bankruptcy Matters
04/02/2020
   Shi, Yuxin             Meet Z. Xu (Deloitte) to discuss plan to   $410.00       1.0      $410.00
                          test equity backstop agreement.
   Shi, Yuxin             Meet with W. Meredith, M. Azebu, B.        $410.00       0.5      $205.00
                          Rice, S. Dineen, R. Domingue, Z. Xu
                          (Deloitte) to discuss notes on the
                          valuation for the equity backstop
                          agreement.
   Xu, Zhixin             Meet Y. Shi (Deloitte) to discuss plan     $510.00       1.0      $510.00
                          to test equity backstop agreement.
   Xu, Zhixin             Meet with W. Meredith, M. Azebu, B.        $510.00       0.5      $255.00
                          Rice, S. Dineen, R. Domingue, Y. Shi
                          (Deloitte) to discuss notes on the
                          valuation for the equity backstop
                          agreement.
   Xu, Zhixin             Review management's responses              $510.00       0.5      $255.00
                          around assumptions chosen for the fair
                          value modeling for the equity backstop
                          agreement.
04/03/2020
   Allen, Jana            Perform accounting guidance research       $610.00       1.9     $1,159.00
                          on backstop equity agreement.
   Allen, Jana            Meet with W. Meredith, A. Pidgeon          $610.00       0.6      $366.00
                          (Deloitte) to discuss backstop equity
                          agreement accounting.
   Gillam, Tim            Meet with W. Meredith (Deloitte) to        $810.00       0.5      $405.00
                          discuss accounting for backstop equity
                          agreement.
   Meredith, Wendy        Meet with A. Pidgeon, J. Allen             $810.00       0.6      $486.00
                          (Deloitte) to discuss backstop equity
                          agreement accounting.
   Meredith, Wendy        Meet with S. Hunter and T. Ockels          $810.00       0.5      $405.00
                          (PG&E) to discuss accounting for
                          backstop equity agreement.
   Meredith, Wendy        Meet with T. Gillam (Deloitte) to          $810.00       0.5      $405.00
                          discuss accounting for backstop equity
                          agreement.
   Pidgeon, Andrew        Meet with W. Meredith, J. Allen            $810.00       0.6      $486.00
                          (Deloitte) to discuss backstop equity
                          agreement accounting.


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2020 Post Bankruptcy Matters
04/03/2020
   Xu, Zhixin             Review management's response from             $510.00       2.0     $1,020.00
                          T. Ockels, S. Hessami (PG&E)
                          regarding the valuation methodology
                          used for the equity backstop
                          agreement.
04/04/2020
   Meredith, Wendy        Review draft testimony and proposed           $810.00       1.0      $810.00
                          accounting related to securitization.
04/05/2020
   Gillam, Tim            Review asset securitization                   $810.00       2.5     $2,025.00
                          documentation.
   Gillam, Tim            Review backstop accounting                    $810.00       3.5     $2,835.00
                          documents.
04/06/2020
   Gillam, Tim            Meet with W. Meredith, Z. Xu, Y. Shi          $810.00       0.5      $405.00
                          (Deloitte) to discuss valuation for
                          backstop equity agreement.
   Gillam, Tim            Meet with W. Meredith (Deloitte), D.          $810.00       1.0      $810.00
                          Thomason, S. Hunter, T. Ockels
                          (PG&E) to discuss securitization
                          accounting and valuation of backstop
                          equity agreement.
   Gillam, Tim            Meet with W. Meredith, A. Pidgeon             $810.00       0.5      $405.00
                          (Deloitte) to discuss accounting for
                          backstop equity agreement.
   Luong, Mimi            Coordinate call with N. Donahue, K.           $700.00       0.2      $140.00
                          Gerstel (Deloitte) to discuss
                          subchapter C corporation structure in
                          its implication around bankruptcy.
   Meredith, Wendy        Meet with T. Gillam, Z. Xu, Y. Shi            $810.00       0.5      $405.00
                          (Deloitte) to discuss valuation for
                          backstop equity agreement.
   Meredith, Wendy        Meet with T. Gillam (Deloitte), D.            $810.00       1.0      $810.00
                          Thomason, S. Hunter, T. Ockels
                          (PG&E) to discuss securitization
                          accounting and valuation of backstop
                          equity agreement.




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2020 Post Bankruptcy Matters
04/06/2020
   Meredith, Wendy        Meet with T. Gillam, A. Pidgeon               $810.00       0.5      $405.00
                          (Deloitte) to discuss accounting for
                          backstop equity agreement.
   Pidgeon, Andrew        Meet with T. Gillam, W. Meredith              $810.00       0.5      $405.00
                          (Deloitte) to discuss accounting for
                          backstop equity agreement.
   Pidgeon, Andrew        Review management accounting                  $810.00       0.5      $405.00
                          analysis for equity backstop
                          agreement.
   Shi, Yuxin             Meet with T. Gillam, W. Meredith, Z.          $410.00       0.5      $205.00
                          Xu (Deloitte) to discuss valuation for
                          backstop equity agreement.
   Xu, Zhixin             Review PG&E disclosure statement              $510.00       2.0     $1,020.00
                          and summary of terms around the
                          equity backstop agreement.
   Xu, Zhixin             Continue to draft questions to B. Rice        $510.00       0.5      $255.00
                          and W. Meredith (Deloitte) regarding
                          equity backstop valuation model.
   Xu, Zhixin             Meet with T. Gillam, W. Meredith, Y.          $510.00       0.5      $255.00
                          Shi (Deloitte) to discuss valuation for
                          backstop equity agreement.
04/07/2020
   Domingue, Rob          Meet with Y. Shi, Z. Xu (Deloitte) to         $700.00       0.5      $350.00
                          discuss the contractual terms of the
                          equity backstop agreement.
   Donahue, Nona          Discuss accounting implications               $810.00       0.5      $405.00
                          around subchapter C corporation
                          structure in the PG&E bankruptcy with
                          M. Luong, K. Gerstel (Deloitte).
   Gerstel, Ken           Discuss accounting implications               $810.00       0.5      $405.00
                          around subchapter C corporation
                          structure in the PG&E bankruptcy with
                          N. Donahue, M. Luong (Deloitte).
   Luong, Mimi            Discuss accounting implications               $700.00       0.5      $350.00
                          around subchapter C corporation
                          structure in the PG&E bankruptcy with
                          N. Donahue, K. Gerstel (Deloitte).




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2020 Post Bankruptcy Matters
04/07/2020
   Luong, Mimi            Prepare for discussion related to           $700.00      0.5      $350.00
                          subchapter C implications of the PG&E
                          bankruptcy with N. Donahue, K.
                          Gerstel (Deloitte).
   Meredith, Wendy        Review PG&E accounting memo                 $810.00      1.0      $810.00
                          related to accounting for bridge
                          financing loan agreements.
   Meredith, Wendy        Review audit questions from Y. Shi          $810.00      0.5      $405.00
                          and Z. Xu (Deloitte) related to valuation
                          of equity backstop agreement.
   Pidgeon, Andrew        Review accounting literature related to     $810.00      0.5      $405.00
                          equity indexation for backstop
                          agreement.
   Shi, Yuxin             Meet Z. Xu (Deloitte) to discuss plan to    $410.00      0.5      $205.00
                          test backstop agreement.
   Shi, Yuxin             Meet with R. Domingue, Z. Xu                $410.00      1.0      $410.00
                          (Deloitte) to discuss the contractual
                          terms of the equity backstop
                          agreement.
   Xu, Zhixin             Meet Y. Shi (Deloitte) to discuss plan      $510.00      0.5      $255.00
                          to test backstop agreement.
   Xu, Zhixin             Meet with R. Domingue, Y. Shi               $510.00      1.0      $510.00
                          (Deloitte) to discuss the contractual
                          terms of the equity backstop
                          agreement.
   Xu, Zhixin             Review management's responses from          $510.00      0.5      $255.00
                          T. Ockels and S. Hessami (PG&E)
                          regarding equity backstop valuation
                          model set-up.
04/08/2020
   Azebu, Matt            Meeting with W. Meredith, R.                $510.00      0.5      $255.00
                          Domingue, Y. Shi, Z. Xu (Deloitte), T.
                          Ockels, S. Hessami (PG&E) to discuss
                          put option within equity backstop
                          model.
   Domingue, Rob          Meeting with W. Meredith, M. Azebu,         $700.00      0.5      $350.00
                          Y. Shi, Z. Xu (Deloitte), T. Ockels, S.
                          Hessami (PG&E) to discuss put option
                          within equity backstop model.


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2020 Post Bankruptcy Matters
04/08/2020
   Domingue, Rob          Meeting with W. Meredith, Y. Shi, Z.       $700.00      1.0      $700.00
                          Xu (Deloitte) to discuss put option
                          within equity backstop model.
   Gillam, Tim            Review asset securitization                $810.00      0.5      $405.00
                          documentation.
   Meredith, Wendy        Respond to questions from Y. Shi and       $810.00      0.5      $405.00
                          Z. Xu (Deloitte) related to equity
                          backstop valuation.
   Meredith, Wendy        Continue to respond to questions from      $810.00      1.0      $810.00
                          Y. Shi and Z. Xu (Deloitte) related to
                          equity backstop valuation.
   Meredith, Wendy        Prepare for meetings with PG&E             $810.00      0.5      $405.00
                          related to valuation of backstop equity
                          agreement.
   Meredith, Wendy        Review PG&E accounting memo                $810.00      1.0      $810.00
                          related to accounting for bridge
                          financing loan agreements.
   Meredith, Wendy        Meeting with M. Azebu, R. Domingue,        $810.00      0.5      $405.00
                          Y. Shi, Z. Xu (Deloitte), T. Ockels, S.
                          Hessami (PG&E) to discuss put option
                          within equity backstop model.
   Meredith, Wendy        Meeting with R. Domingue, Y. Shi, Z.       $810.00      1.0      $810.00
                          Xu (Deloitte) to discuss put option
                          within equity backstop model.
   Shi, Yuxin             Meeting with W. Meredith, M. Azebu,        $410.00      0.5      $205.00
                          R. Domingue, Z. Xu (Deloitte), T.
                          Ockels, S. Hessami (PG&E) to discuss
                          put option within equity backstop
                          model.
   Shi, Yuxin             Meeting with W. Meredith, R.               $410.00      1.0      $410.00
                          Domingue, Z. Xu (Deloitte) to discuss
                          put option within equity backstop
                          model.
   Xu, Zhixin             Draft follow-up questions to T. Ockels,    $510.00      0.5      $255.00
                          S. Hessami (PG&E) regarding equity
                          backstop valuation model set-up.




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2020 Post Bankruptcy Matters
04/08/2020
   Xu, Zhixin             Meeting with W. Meredith, M. Azebu,        $510.00       0.5      $255.00
                          R. Domingue, Y. Shi (Deloitte), T.
                          Ockels, S. Hessami (PG&E) to discuss
                          put option within equity backstop
                          model.
   Xu, Zhixin             Meeting with W. Meredith, R.               $510.00       1.0      $510.00
                          Domingue, Y. Shi (Deloitte) to discuss
                          put option within equity backstop
                          model.
04/09/2020
   Domingue, Rob          Meeting with Z. Xu, Y. Shi (Deloitte) to   $700.00       0.5      $350.00
                          discuss equity backstop valuation
                          model framework and assumptions.
   Meredith, Wendy        Respond to questions from Y. Shi and       $810.00       0.5      $405.00
                          Z. Xu (Deloitte) related to backstop
                          equity valuation.
   Shi, Yuxin             Meeting with R. Domingue, Z. Xu            $410.00       0.5      $205.00
                          (Deloitte) to discuss equity backstop
                          valuation model framework and
                          assumptions.
   Xu, Zhixin             Meeting with R. Domingue, Y. Shi           $510.00       0.5      $255.00
                          (Deloitte) to discuss equity backstop
                          valuation model framework and
                          assumptions.
   Xu, Zhixin             Continue to prepare follow-up              $510.00       0.5      $255.00
                          questions to T. Ockels, S. Hessami
                          (PG&E) regarding equity backstop
                          valuation model set-up.
04/10/2020
   Azebu, Matt            Meeting with S. Hunter, T. Ockels          $510.00       0.5      $255.00
                          (PG&E), W. Meredith (Deloitte) to
                          discuss the accounting treatment of the
                          noteholder restructuring support
                          agreement.
   Domingue, Rob          Meet with D. Thomason, S. Hunter, T.       $700.00       1.0      $700.00
                          Ockels (PG&E), E. Silverman (Lazard),
                          W. Meredith (Deloitte) to discussion
                          valuation of backstop equity
                          agreement.



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2020 Post Bankruptcy Matters
04/10/2020
   Gillam, Tim            Review bridge loan agreement as part         $810.00       2.0     $1,620.00
                          of the bankruptcy matters.
   Meredith, Wendy        Meeting with S. Hunter, T. Ockels            $810.00       0.5      $405.00
                          (PG&E), M. Azebu (Deloitte) to discuss
                          the accounting treatment of the
                          noteholder restructuring support
                          agreement.
   Meredith, Wendy        Meet with D. Thomason, S. Hunter, T.         $810.00       1.0      $810.00
                          Ockels (PG&E), E. Silverman (Lazard),
                          R. Domingue (Deloitte) to discussion
                          valuation of backstop equity
                          agreement.
   Xu, Zhixin             Review inputs used in the equity             $510.00       1.0      $510.00
                          backstop transaction.
04/13/2020
   Gillam, Tim            Meet with W. Meredith (Deloitte), D.         $810.00       0.5      $405.00
                          Thomason (PG&E) to discuss
                          backstop equity valuation.
   Meredith, Wendy        Meet with T. Gillam (Deloitte), D.           $810.00       0.5      $405.00
                          Thomason (PG&E) to discuss
                          backstop equity valuation.
   Sasso, Tony            Draft email to W. Meredith (Deloitte)        $810.00       0.3      $243.00
                          regarding accounting for interest
                          earned on trust assets per plan of
                          reorganization.
04/14/2020
   Gillam, Tim            Meet with W. Meredith (Deloitte) to          $810.00       0.5      $405.00
                          discuss backstop equity valuation.
   Meredith, Wendy        Meet with T. Gillam (Deloitte) to            $810.00       0.5      $405.00
                          discuss backstop equity valuation.
   Meredith, Wendy        Meet with S. Hunter (PG&E) to discuss        $810.00       0.5      $405.00
                          securitization accounting.
   Meredith, Wendy        Review engagement letter consultation        $810.00       0.5      $405.00
                          memo around bankruptcy.
   Xu, Zhixin             Prepare the simulation model for             $510.00       2.0     $1,020.00
                          PG&E backstop valuation.
   Xu, Zhixin             Continue to prepare the simulation           $510.00       2.0     $1,020.00
                          model for PG&E backstop valuation.


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2020 Post Bankruptcy Matters
04/14/2020
   Xu, Zhixin             Review accounting memo around               $510.00       2.0     $1,020.00
                          equity backstop valuation.
04/15/2020
   Gillam, Tim            Continue to review bridge loan              $810.00       2.5     $2,025.00
                          agreement as part of the bankruptcy
                          matters.
   Meredith, Wendy        Research securitization accounting          $810.00       0.5      $405.00
   Schloetter, Lexie      Analyze the impacts of the bridge loan      $410.00       1.0      $410.00
                          on the companies consolidated income
                          statement.
   Shi, Yuxin             Modify inputs into independent              $410.00       1.0      $410.00
                          valuation model around equity
                          backstop valuation.
04/16/2020
   Allen, Jana            Prepare accounting documentation            $610.00       2.0     $1,220.00
                          related to backstop equity accounting.
   Dineen, Sean           Meet with R. Domingue, Y. Shi, Z. Xu        $810.00       0.5      $405.00
                          (Deloitte) to discuss valuation of
                          backstop equity agreement.
   Domingue, Rob          Meet with S. Dineen, Y. Shi, Z. Xu          $700.00       0.5      $350.00
                          (Deloitte) to discuss valuation of
                          backstop equity agreement.
   Domingue, Rob          Meet with Y. Shi, Z. Xu (Deloitte) to       $700.00       0.5      $350.00
                          discuss valuation of backstop equity
                          agreement.
   Domingue, Rob          Review valuation model for the equity       $700.00       1.0      $700.00
                          backstop agreement.
   Gillam, Tim            Review bridge loan agreement as part        $810.00       2.0     $1,620.00
                          of the bankruptcy matters.
   Meredith, Wendy        Continue to research accounting for         $810.00       0.5      $405.00
                          asset securitization.
   Meredith, Wendy        Research accounting for asset               $810.00       0.5      $405.00
                          securitization.
   Shi, Yuxin             Meet with R. Domingue, Z. Xu                $410.00       0.5      $205.00
                          (Deloitte) to discuss valuation of
                          backstop equity agreement.




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2020 Post Bankruptcy Matters
04/16/2020
   Shi, Yuxin             Meet with S. Dineen, R. Domingue, Z.         $410.00       0.5      $205.00
                          Xu (Deloitte) to discuss valuation of
                          backstop equity agreement.
   Xu, Zhixin             Meet with R. Domingue, Y. Shi                $510.00       0.5      $255.00
                          (Deloitte) to discuss valuation of
                          backstop equity agreement.
   Xu, Zhixin             Meet with S. Dineen, R. Domingue, Y.         $510.00       0.5      $255.00
                          Shi (Deloitte) to discuss valuation of
                          backstop equity agreement.
   Xu, Zhixin             Review management's backstop                 $510.00       1.0      $510.00
                          premium model.
04/17/2020
   Allen, Jana            Meet with A. Pidgeon, W. Meredith            $610.00       0.5      $305.00
                          (Deloitte) to discussion documentation
                          related to backstop equity accounting.
   Dineen, Sean           Meet with R. Domingue, Y. Shi, Z. Xu,        $810.00       0.5      $405.00
                          W. Meredith (Deloitte) to discuss
                          valuation of backstop equity.
   Dineen, Sean           Meet with R. Domingue, Y. Shi, Z. Xu         $810.00       0.5      $405.00
                          (Deloitte) to discuss valuation of
                          backstop equity agreement.
   Domingue, Rob          Meet with S. Dineen, Y. Shi, Z. Xu           $700.00       0.5      $350.00
                          (Deloitte) to discuss valuation of
                          backstop equity agreement.
   Domingue, Rob          Meet with S. Dineen, Y. Shi, Z. Xu, W.       $700.00       0.5      $350.00
                          Meredith (Deloitte) to discuss valuation
                          of backstop equity.
   Gillam, Tim            Meet with W. Meredith (Deloitte) to          $810.00       0.5      $405.00
                          discuss proposed securitization
                          accounting.
   Meredith, Wendy        Meet with A. Pidgeon, J. Allen               $810.00       0.5      $405.00
                          (Deloitte) to discussion documentation
                          related to backstop equity accounting.
   Meredith, Wendy        Meet with S. Hunter, T. Ockels (PG&E)        $810.00       0.5      $405.00
                          to discuss backstop equity valuation.
   Meredith, Wendy        Meet with S. Dineen, R. Domingue, Y.         $810.00       0.5      $405.00
                          Shi, Z. Xu (Deloitte) to discuss
                          valuation of backstop equity.



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2020 Post Bankruptcy Matters
04/17/2020
   Meredith, Wendy        Meet with T. Gillam (Deloitte) to          $810.00       0.5      $405.00
                          discuss proposed securitization
                          accounting.
   Pemberton, Tricia      Review workpapers for the Q1 2020          $810.00       1.0      $810.00
                          review, specifically the equity backstop
                          commitment company prepared memo.
   Pemberton, Tricia      Review workpapers for the Q1 2020          $810.00       1.0      $810.00
                          review, specifically the equity backstop
                          bridge loan financing memo.
   Pidgeon, Andrew        Meet with W. Meredith, J. Allen            $810.00       0.5      $405.00
                          (Deloitte) to discussion documentation
                          related to backstop equity accounting.
   Shi, Yuxin             Meet with S. Dineen, R. Domingue, Z.       $410.00       0.5      $205.00
                          Xu (Deloitte) to discuss valuation of
                          backstop equity agreement.
   Shi, Yuxin             Meet with S. Dineen, R. Domingue, Z.       $410.00       0.5      $205.00
                          Xu, W. Meredith (Deloitte) to discuss
                          valuation of backstop equity.
   Xu, Zhixin             Meet with S. Dineen, R. Domingue, Y.       $510.00       0.5      $255.00
                          Shi, W. Meredith (Deloitte) to discuss
                          valuation of backstop equity.
   Xu, Zhixin             Meet with S. Dineen, R. Domingue, Y.       $510.00       0.5      $255.00
                          Shi (Deloitte) to discuss valuation of
                          backstop equity agreement.
04/18/2020
   Xu, Zhixin             Review management's backstop               $510.00       2.0     $1,020.00
                          model.
   Xu, Zhixin             Prepare the simulation model for           $510.00       2.0     $1,020.00
                          PG&E backstop valuation.
04/20/2020
   Allen, Jana            Prepare documentation for accounting       $610.00       8.0     $4,880.00
                          on equity backstop.
   Azebu, Matt            Discussion with W. Meredith, L.            $510.00       0.5      $255.00
                          Schloetter (Deloitte) regarding audit
                          strategy for equity backstop
                          commitment testing.
   Domingue, Rob          Meet with Y. Shi, Z. Xu (Deloitte) to      $700.00       1.0      $700.00
                          discuss valuation of backstop equity
                          agreement.

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2020 Post Bankruptcy Matters
04/20/2020
   Gillam, Tim             Meet with B. Graf, T. Kilkenny, W.          $810.00       0.5      $405.00
                           Meredith (Deloitte) to discuss proposed
                           securitization accounting.
   Gillam, Tim             Review equity backstop memo                 $810.00       3.0     $2,430.00
                           documentation.
   Graf, Bill              Meet with T. Kilkenny, T. Gillam, W.        $810.00       0.5      $405.00
                           Meredith (Deloitte) to discuss proposed
                           securitization accounting.
   Kilkenny, Tom           Meet with B. Graf, T. Gillam, W.            $810.00       0.5      $405.00
                           Meredith (Deloitte) to discuss proposed
                           securitization accounting.
   Meredith, Wendy         Meet with D. Thomason, S. Hunter, T.        $810.00       0.5      $405.00
                           Ockels, S. Hessami (PG&E) to discuss
                           update assumption in backstop equity
                           valuation.
   Meredith, Wendy         Meet with B. Graf, T. Kilkenny, T.          $810.00       0.5      $405.00
                           Gillam (Deloitte) to discuss proposed
                           securitization accounting.
   Meredith, Wendy         Discussion with M. Azebu, L.                $810.00       0.5      $405.00
                           Schloetter (Deloitte) regarding audit
                           strategy for equity backstop
                           commitment testing.
   Schloetter, Lexie       Discussion with W. Meredith, M. Azebu       $410.00       0.5      $205.00
                           (Deloitte) regarding audit strategy for
                           equity backstop commitment testing.
   Schloetter, Lexie       Review the valuation model associated       $410.00       0.5      $205.00
                           with the equity backstop premiums.
   Shi, Yuxin              Meet with R. Domingue, Z. Xu                $410.00       1.0      $410.00
                           (Deloitte) to discuss valuation of
                           backstop equity agreement.
   Xu, Zhixin              Meet with R. Domingue, Y. Shi               $510.00       1.0      $510.00
                           (Deloitte) to discuss valuation of
                           backstop equity agreement.
04/21/2020
   Clark, Brian            Meet with T. Gillam, W. Meredith            $810.00       0.5      $405.00
                           (Deloitte) to discuss valuation of
                           backstop equity agreement.
   Domingue, Rob           Meet with T. Gillam, W. Meredith, Y.        $700.00       0.5      $350.00
                           Shi (Deloitte) to discuss backstop
                           equity valuation.

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2020 Post Bankruptcy Matters
04/21/2020
   Domingue, Rob          Review backstop valuation model.            $700.00       0.5      $350.00
   Gillam, Tim            Meet with B. Clark, W. Meredith             $810.00       0.5      $405.00
                          (Deloitte) to discuss valuation of
                          backstop equity agreement.
   Gillam, Tim            Meet with W. Meredith, R. Domingue,         $810.00       0.5      $405.00
                          Y. Shi (Deloitte) to discuss backstop
                          equity valuation.
   Meredith, Wendy        Discussion with B. Rice (Deloitte)          $810.00       0.5      $405.00
                          regarding audit procedures and
                          disclosures on equity backstop
                          premium.
   Meredith, Wendy        Discussion with S. Hunter (PG&E) to         $810.00       0.5      $405.00
                          discus backstop equity valuation.
   Meredith, Wendy        Meet with B. Clark, T. Gillam (Deloitte)    $810.00       0.5      $405.00
                          to discuss valuation of backstop equity
                          agreement.
   Meredith, Wendy        Meet with T. Gillam, R. Domingue, Y.        $810.00       0.5      $405.00
                          Shi (Deloitte) to discuss backstop
                          equity valuation.
   Meredith, Wendy        Respond to email from T. Ockels             $810.00       0.5      $405.00
                          (PG&E) regarding backstop equity
                          agreement.
   Rice, Blake            Discussion with W. Meredith (Deloitte)      $510.00       0.5      $255.00
                          regarding audit procedures and
                          disclosures on equity backstop
                          premium.
   Schloetter, Lexie      Review bridge loan memo for quarterly       $410.00       2.5     $1,025.00
                          audit procedures.
   Shi, Yuxin             Meet with T. Gillam, W. Meredith, R.        $410.00       0.5      $205.00
                          Domingue (Deloitte) to discuss
                          backstop equity valuation.
   Shi, Yuxin             Meet with Z. Xu (Deloitte) to discuss       $410.00       0.5      $205.00
                          backstop valuation model.
   Xu, Zhixin             Prepare for internal meeting to discuss     $510.00       0.5      $255.00
                          equity backstop valuation.
   Xu, Zhixin             Meet with Y. Shi (Deloitte) to discuss      $510.00       0.5      $255.00
                          backstop valuation model.




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2020 Post Bankruptcy Matters
04/21/2020
   Xu, Zhixin             Preparer initial question list for client's   $510.00       2.0     $1,020.00
                          valuation model of the equity backstop
                          accounting.
04/22/2020
   Allen, Jana            Meet with A. Pidgeon (Deloitte) to            $610.00       0.5      $305.00
                          discuss equity backstop valuation
   Allen, Jana            Meet with T. Gillam, W. Meredith, C.          $610.00       1.0      $610.00
                          Weller, A. Pidgeon (Deloitte) to discuss
                          equity backstop valuation.
   Dineen, Sean           Meet with W. Meredith (Deloitte) to           $810.00       0.5      $405.00
                          discussion equity backstop valuation.
   Domingue, Rob          Meet with Y. Shi, Z. Xu (Deloitte) to         $700.00       0.5      $350.00
                          discuss backstop equity agreement.
   Domingue, Rob          Review equity backstop valuation              $700.00       1.3      $910.00
                          model assumptions used.
   Gerstel, Ken           Review subchapter C corporation               $810.00       0.3      $243.00
                          structure in the PG&E bankruptcy
                          matter.
   Gillam, Tim            Review bankruptcy plan to understand          $810.00       2.5     $2,025.00
                          the accounting around equity backstop
                          agreement.
   Gillam, Tim            Meet with W. Meredith, C. Weller, A.          $810.00       1.0      $810.00
                          Pidgeon, J. Allen (Deloitte) to discuss
                          equity backstop valuation.
   Meredith, Wendy        Research accounting treatment for             $810.00       0.5      $405.00
                          conditional contracts.
   Meredith, Wendy        Meet with T. Gillam, C. Weller, A.            $810.00       1.0      $810.00
                          Pidgeon, J. Allen (Deloitte) to discuss
                          equity backstop valuation.
   Meredith, Wendy        Meet with S. Dineen (Deloitte) to             $810.00       0.5      $405.00
                          discussion equity backstop valuation.
   Meredith, Wendy        Review questions from Y. Shi and Z.           $810.00       0.5      $405.00
                          Xu (Deloitte) related to equity backstop
                          valuation.
   Pidgeon, Andrew        Meet with T. Gillam, W. Meredith, C.          $810.00       1.0      $810.00
                          Weller, J. Allen (Deloitte) to discuss
                          equity backstop valuation.




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2020 Post Bankruptcy Matters
04/22/2020
   Pidgeon, Andrew        Meet with C. Weller (Deloitte) to             $810.00       1.0      $810.00
                          discuss equity backstop accounting
                          and valuation.
   Pidgeon, Andrew        Meet with J. Allen (Deloitte) to discuss      $810.00       0.5      $405.00
                          equity backstop valuation
   Shi, Yuxin             Meet with R. Domingue, Z. Xu                  $410.00       0.5      $205.00
                          (Deloitte) to discuss backstop equity
                          agreement.
   Weller, Curt           Meet with T. Gillam, W. Meredith, A.          $810.00       1.0      $810.00
                          Pidgeon, J. Allen (Deloitte) to discuss
                          equity backstop valuation.
   Weller, Curt           Meet with A. Pidgeon (Deloitte) to            $810.00       1.0      $810.00
                          discuss equity backstop accounting
                          and valuation.
   Xu, Zhixin             Review client's updated equity                $510.00       1.5      $765.00
                          backstop valuation model and
                          response to questions raised by
                          Deloitte in the initial question listing.
   Xu, Zhixin             Meet with Y. Shi, R. Domingue                 $510.00       0.5      $255.00
                          (Deloitte) to discuss backstop equity
                          agreement.
   Xu, Zhixin             Prepare follow-up questions for equity        $510.00       1.0      $510.00
                          backstop model.
04/23/2020
   Gillam, Tim            Meet with W. Meredith (Deloitte), D.          $810.00       1.0      $810.00
                          Thomason, S. Hunter, J. Garboden, T.
                          Ockels (PG&E) to discuss backstop
                          equity valuation.
   Gillam, Tim            Meet with W. Meredith (Deloitte) to           $810.00       0.5      $405.00
                          discuss valuation of backstop equity.
   Gillam, Tim            Meet with W. Meredith (Deloitte) to           $810.00       0.5      $405.00
                          discuss PG&E equity backstop
                          valuation.
   Gillam, Tim            Meet with D. Thomason, S. Hunter, T.          $810.00       1.0      $810.00
                          Ockels (PG&E), W. Meredith (Deloitte),
                          D. Haaren (Cravath) to discuss clauses
                          in equity backstop agreement.




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2020 Post Bankruptcy Matters
04/23/2020
   Gillam, Tim               Meet with D. Thomason, S. Hunter, T.       $810.00       0.5      $405.00
                             Ockels, S. Hessami (PG&E) to discuss
                             update assumption in backstop equity
                             valuation.
   Luong, Mimi               Review equity back stop memo to draft      $700.00       0.5      $350.00
                             response around tax consideration.
   Meredith, Wendy           Meet with D. Thomason, S. Hunter, T.       $810.00       1.0      $810.00
                             Ockels (PG&E), T. Gillam (Deloitte), D.
                             Haaren (Cravath) to discuss clauses in
                             equity backstop agreement.
   Meredith, Wendy           Meet with T. Gillam (Deloitte), D.         $810.00       1.0      $810.00
                             Thomason, S. Hunter, J. Garboden, T.
                             Ockels (PG&E) to discuss backstop
                             equity valuation.
   Meredith, Wendy           Meet with T. Gillam (Deloitte) to          $810.00       0.5      $405.00
                             discuss valuation of backstop equity.
   Meredith, Wendy           Meet with T. Gillam (Deloitte) to          $810.00       0.5      $405.00
                             discuss PG&E equity backstop
                             valuation.
   Meredith, Wendy           Meet with S. Hunter, T. Ockels (PG&E)      $810.00       0.5      $405.00
                             to discuss accounting for conditional
                             contracts.
   Meredith, Wendy           Review backstop equity contract            $810.00       0.5      $405.00
                             termination terms.
   Schloetter, Lexie         Continue to update the equity backstop     $410.00       2.0      $820.00
                             memo for accounting conclusions.
   Schloetter, Lexie         Prepare memo related to the equity         $410.00       2.0      $820.00
                             backstop testing procedures.
04/24/2020
   Basilico, Ellen           Meet with J. Wells (PG&E), T. Gillam,      $810.00       1.0      $810.00
                             W. Meredith (Deloitte) to discuss
                             backstop equity accounting and
                             valuation.
   Domingue, Rob             Meet with Y. Shi, Z. Xu (Deloitte) to      $700.00       0.5      $350.00
                             discuss valuation of backstop equity
                             agreement.
   Domingue, Rob             Meet with W. Meredith, S. Dineen, Y.       $700.00       0.5      $350.00
                             Shi, Z. Xu (Deloitte) to discuss
                             valuation of backstop equity
                             agreement.

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2020 Post Bankruptcy Matters
04/24/2020
   Domingue, Rob          Review equity backstop valuation           $700.00       0.7      $490.00
                          model's methodologies used.
   Gillam, Tim            Meet with J. Wells (PG&E), E. Basilico,    $810.00       1.0      $810.00
                          W. Meredith (Deloitte) to discuss
                          backstop equity accounting and
                          valuation.
   Gillam, Tim            Meet with W. Meredith (Deloitte) to        $810.00       1.0      $810.00
                          discuss valuation for backstop equity.
   Meredith, Wendy        Meet with S. Hunter, T. Ockels (PG&E)      $810.00       0.5      $405.00
                          to discuss questions from Y. Shi and Z.
                          Xu (Deloitte) regarding the fair value
                          modeling for the equity backstop
                          agreement.
   Meredith, Wendy        Meet with J. Wells (PG&E), T. Gillam,      $810.00       1.0      $810.00
                          E. Basilico (Deloitte) to discuss
                          backstop equity accounting and
                          valuation.
   Meredith, Wendy        Meet with T. Gillam (Deloitte) to          $810.00       1.0      $810.00
                          discuss valuation for backstop equity.
   Meredith, Wendy        Meet with S. Dineen, R. Domingue, Y.       $810.00       0.5      $405.00
                          Shi, Z. Xu (Deloitte) to discuss
                          valuation of backstop equity
                          agreement.
   Meredith, Wendy        Discussion with B. Rice (Deloitte), J.     $810.00       0.5      $405.00
                          Garboden, S. Hunter (PG&E)
                          regarding equity backstop model
                          assumptions and consolidation.
   Nkinzingabo, Rudy      Call with Z. Xu, J. Yuen (Deloitte), T.    $610.00       1.0      $610.00
                          Lewis, K. Xu (PG&E) to discuss Q1 tax
                          discrete and movement in annual
                          effective tax rate around equity
                          backstop transaction.
   Nkinzingabo, Rudy      Update income tax provision memo           $610.00       1.0      $610.00
                          documentation for equity backstop
                          transaction.
   Rice, Blake            Discussion with W. Meredith (Deloitte),    $510.00       0.5      $255.00
                          J. Garboden, S. Hunter (PG&E)
                          regarding equity backstop model
                          assumptions and consolidation.



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2020 Post Bankruptcy Matters
04/24/2020
   Shi, Yuxin               Meet with Z. Xu (Deloitte) to discuss       $410.00       0.5      $205.00
                            backstop equity agreement.
   Shi, Yuxin               Meet with W. Meredith, S. Dineen, R.        $410.00       0.5      $205.00
                            Domingue, Z. Xu (Deloitte) to discuss
                            valuation of backstop equity
                            agreement.
   Shi, Yuxin               Meet with R. Domingue, Z. Xu                $410.00       0.5      $205.00
                            (Deloitte) to discuss valuation of
                            backstop equity agreement.
   Xu, Zhixin               Prepare probability analysis of stock       $510.00       0.5      $255.00
                            price reaching the strike price for the
                            equity backstop agreement.
   Xu, Zhixin               Meet with R. Domingue, Y. Shi               $510.00       0.5      $255.00
                            (Deloitte) to discuss valuation of
                            backstop equity agreement.
   Xu, Zhixin               Meet with Y. Shi (Deloitte) to discuss      $510.00       0.5      $255.00
                            backstop equity agreement.
   Xu, Zhixin               Call with R. Nkinzingabo, J. Yuen           $510.00       1.0      $510.00
                            (Deloitte), T. Lewis, K. Xu (PG&E) to
                            discuss Q1 tax discrete and movement
                            in annual effective tax rate around
                            equity backstop transaction.
   Xu, Zhixin               Meet with W. Meredith, S. Dineen, R.        $510.00       0.5      $255.00
                            Domingue, Y. Shi (Deloitte) to discuss
                            valuation of backstop equity
                            agreement.
   Yuen, Jennifer           Call with R. Nkinzingabo, Z. Xu             $510.00       1.0      $510.00
                            (Deloitte), T. Lewis, K. Xu (PG&E) to
                            discuss Q1 tax discrete and movement
                            in annual effective tax rate around
                            equity backstop transaction.
04/25/2020
   Domingue, Rob            Review management responses from            $700.00       0.2      $140.00
                            T. Ockels, S. Hessami (PG&E) to
                            questions around equity backstop
                            valuation assumptions used.
   Gillam, Tim              Meet with D. Thomason, J. Garboden,         $810.00       1.5     $1,215.00
                            S. Hunter, T. Ockels (PG&E), W.
                            Meredith (Deloitte) to discussion
                            backstop equity valuation.

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2020 Post Bankruptcy Matters
04/25/2020
   Gillam, Tim            Review valuation models for backstop.      $810.00       2.5     $2,025.00
   Luong, Mimi            Add documentation to tax memo for          $700.00       0.2      $140.00
                          subchapter C corporation structure in
                          its implication around bankruptcy.
   Meredith, Wendy        Meet with D. Thomason, J. Garboden,        $810.00       1.5     $1,215.00
                          S. Hunter, T. Ockels (PG&E), T. Gillam
                          (Deloitte) to discussion backstop equity
                          valuation.
   Meredith, Wendy        Review procedures performed related        $810.00       1.0      $810.00
                          to bankruptcy emergence during the
                          quarter.
   Pidgeon, Andrew        Prepare equity backstop consultation       $810.00       1.0      $810.00
                          memo.
04/26/2020
   Gillam, Tim            Research fair value modeling for the       $810.00       2.5     $2,025.00
                          equity backstop.
   Pidgeon, Andrew        Prepare equity backstop consultation       $810.00       2.0     $1,620.00
                          memo.
04/27/2020
   Azebu, Matt            Discussion with W. Meredith (Deloitte)     $510.00       0.5      $255.00
                          regarding the accounting for the equity
                          backstop premium.
   Clark, Brian           Meet (partial) with T. Gillam, W.          $810.00       0.5      $405.00
                          Meredith (Deloitte) to discuss equity
                          backstop valuation.
   Dineen, Sean           Meet with W. Meredith, Y. Shi, Z. Xu       $810.00       0.5      $405.00
                          (Deloitte) to discussion equity backstop
                          valuation.
   Dineen, Sean           Meet with Z. Xu, Y. Shi (Deloitte) to      $810.00       1.0      $810.00
                          discuss equity backstop valuation.
   Dineen, Sean           Meet with R. Domingue, W. Meredith,        $810.00       1.5     $1,215.00
                          Y. Shi, Z. Xu (Deloitte), D. Thomason,
                          J. Garboden, S. Hunter, T. Ockels, S.
                          Hessami, S. Liu (PG&E) to discussion
                          equity backstop valuation.
   Domingue, Rob          Review equity backstop simulation          $700.00       0.5      $350.00
                          model using the Monte Carlo valuation
                          model.


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2020 Post Bankruptcy Matters
04/27/2020
   Domingue, Rob          Meet with S. Dineen, W. Meredith, Y.        $700.00       1.5     $1,050.00
                          Shi, Z. Xu (Deloitte), D. Thomason, J.
                          Garboden, S. Hunter, T. Ockels, S.
                          Hessami, S. Liu (PG&E) to discussion
                          equity backstop valuation.
   Gillam, Tim            Review fair value modeling for the          $810.00       3.0     $2,430.00
                          equity backstop.
   Gillam, Tim            Meet with B. Clark, W. Meredith             $810.00       1.0      $810.00
                          (Deloitte) to discuss equity backstop
                          valuation.
   Gillam, Tim            Meet with W. Meredith (Deloitte), D.        $810.00       0.5      $405.00
                          Thomason, J. Garboden, S. Hunter, T.
                          Ockels (PG&E) to discussion equity
                          backstop valuation.
   Gillam, Tim            Review the consultation memo                $810.00       1.5     $1,215.00
                          regarding plea agreement accounting.
   Meredith, Wendy        Meet with B. Clark, T. Gillam (Deloitte)    $810.00       1.0      $810.00
                          to discuss equity backstop valuation.
   Meredith, Wendy        Meet with D. Thomason, J. Garboden,         $810.00       1.0      $810.00
                          S. Hunter, T. Ockels (PG&E) to
                          discuss earnings per share related to
                          the equity backstop agreements that
                          potentially settle in equity.
   Meredith, Wendy        Meet with S. Dineen, Y. Shi, Z. Xu          $810.00       0.5      $405.00
                          (Deloitte) to discussion equity backstop
                          valuation.
   Meredith, Wendy        Meet (partial) with S. Dineen, R.           $810.00       1.0      $810.00
                          Domingue, Y. Shi, Z. Xu (Deloitte), D.
                          Thomason, J. Garboden, S. Hunter, T.
                          Ockels, S. Hessami, S. Liu (PG&E) to
                          discussion equity backstop valuation.
   Meredith, Wendy        Meet with T. Gillam (Deloitte), D.          $810.00       0.5      $405.00
                          Thomason, J. Garboden, S. Hunter, T.
                          Ockels (PG&E) to discussion equity
                          backstop valuation.
   Meredith, Wendy        Review draft memo related to backstop       $810.00       0.5      $405.00
                          equity accounting.
   Meredith, Wendy        Discussion with M. Azebu (Deloitte)         $810.00       0.5      $405.00
                          regarding the accounting for the equity
                          backstop premium.

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2020 Post Bankruptcy Matters
04/27/2020
   Pidgeon, Andrew          Prepare equity backstop consultation       $810.00      3.0     $2,430.00
                            memo.
   Schloetter, Lexie        Formalize documentation for the plea       $410.00      1.0      $410.00
                            agreement consultation.
   Shi, Yuxin               Meet with Z. Xu, S. Dineen (Deloitte) to   $410.00      1.0      $410.00
                            discuss equity backstop valuation.
   Shi, Yuxin               Meet with S. Dineen, W. Meredith, Z.       $410.00      0.5      $205.00
                            Xu (Deloitte) to discussion equity
                            backstop valuation.
   Shi, Yuxin               Meet with S. Dineen, R. Domingue, W.       $410.00      1.5      $615.00
                            Meredith, Z. Xu (Deloitte), D.
                            Thomason, J. Garboden, S. Hunter, T.
                            Ockels, S. Hessami, S. Liu (PG&E) to
                            discussion equity backstop valuation.
   Xu, Zhixin               Review updated equity backstop             $510.00      1.0      $510.00
                            valuation model.
   Xu, Zhixin               Review updated backstop model              $510.00      2.0     $1,020.00
                            based on management's responses
                            around assumptions used.
   Xu, Zhixin               Meet with S. Dineen, R. Domingue, W.       $510.00      1.5      $765.00
                            Meredith, Y. Shi (Deloitte), D.
                            Thomason, J. Garboden, S. Hunter, T.
                            Ockels, S. Hessami, S. Liu (PG&E) to
                            discussion equity backstop valuation.
   Xu, Zhixin               Meet with S. Dineen, Y. Shi (Deloitte)     $510.00      1.0      $510.00
                            to discuss equity backstop valuation.
   Xu, Zhixin               Meet with S. Dineen, W. Meredith, Y.       $510.00      0.5      $255.00
                            Shi (Deloitte) to discussion equity
                            backstop valuation.
   Yuen, Jennifer           Update documentation relating to           $510.00      2.5     $1,275.00
                            equity backstop commitment.
04/28/2020
   Allen, Jana              Meeting with W. Meredith, A. Pidgeon       $610.00      1.0      $610.00
                            (Deloitte) to discuss accounting for
                            backstop equity agreement.
   Allen, Jana              Research accounting for backstop           $610.00      2.5     $1,525.00
                            equity agreement impacts to diluted
                            earnings per share.



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2020 Post Bankruptcy Matters
04/28/2020
   Azebu, Matt            Discussion with T. Pemberton, W.              $510.00       0.5      $255.00
                          Meredith, B. Rice, L. Schloetter
                          (Deloitte) regarding the equity
                          backstop accounting.
   Meredith, Wendy        Meet with S. Hunter, T. Ockels, Z.            $810.00       0.5      $405.00
                          Birden (PG&E) to discuss earnings per
                          share accounting.
   Meredith, Wendy        Meeting with A. Pidgeon, J. Allen             $810.00       1.0      $810.00
                          (Deloitte) to discuss accounting for
                          backstop equity agreement.
   Meredith, Wendy        Discussion with T. Pemberton, M.              $810.00       0.5      $405.00
                          Azebu, B. Rice, L. Schloetter (Deloitte)
                          regarding the equity backstop
                          accounting.
   Pemberton, Tricia      Discussion with W. Meredith, M.               $810.00       0.5      $405.00
                          Azebu, B. Rice, L. Schloetter (Deloitte)
                          regarding the equity backstop
                          accounting.
   Pidgeon, Andrew        Research earnings per share                   $810.00       1.5     $1,215.00
                          presentation in connection with the
                          equity backstop agreement.
   Pidgeon, Andrew        Meeting with W. Meredith, J. Allen            $810.00       1.0      $810.00
                          (Deloitte) to discuss accounting for
                          backstop equity agreement.
   Rice, Blake            Discussion with T. Pemberton, W.              $510.00       0.5      $255.00
                          Meredith, M. Azebu, L. Schloetter
                          (Deloitte) regarding the equity
                          backstop accounting.
   Schloetter, Lexie      Discussion with T. Pemberton, W.              $410.00       0.5      $205.00
                          Meredith, M. Azebu, B. Rice (Deloitte)
                          regarding the equity backstop
                          accounting.
   Shi, Yuxin             Assess various valuation models               $410.00       2.0      $820.00
                          pertaining to equity backstop valuation
                          testing.
04/29/2020
   Allen, Jana            Finalize accounting memo                      $610.00       1.0      $610.00
                          documenting equity backstop
                          agreement.


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2020 Post Bankruptcy Matters
04/29/2020
   Gillam, Tim            Review the update disclosures relating     $810.00       1.5     $1,215.00
                          to the backstop agreement.
   Luong, Mimi            Review equity back stop memo to draft      $700.00       1.2      $840.00
                          response around tax consideration.
   Meredith, Wendy        Continue drafting backstop equity          $810.00       1.0      $810.00
                          memo.
   Meredith, Wendy        Draft equity backstop memo related to      $810.00       1.0      $810.00
                          procedures performed to evaluate
                          assumptions used in the valuation
                          model.
   Pemberton, Tricia      Review accounting memo                     $810.00       2.0     $1,620.00
                          documenting the accounting for the
                          equity backstop agreement.
   Shi, Yuxin             Modify assumptions used independent        $410.00       2.0      $820.00
                          valuation model for equity backstop
                          valuation.
04/30/2020
   Allen, Jana            Review equity backstop agreement to        $610.00       0.5      $305.00
                          research on accounting disclosure.
   Clark, Brian           Review equity backstop valuation           $810.00       0.5      $405.00
                          memo.
   Gillam, Tim            Review the equity backstop                 $810.00       1.5     $1,215.00
                          agreement's disclosure language in the
                          Form 10Q.
   Gillam, Tim            Meet with W. Meredith (Deloitte) to        $810.00       0.5      $405.00
                          discuss backstop equity disclosures.
   Meredith, Wendy        Draft memo related to procedures for       $810.00       2.0     $1,620.00
                          backstop equity accounting and
                          valuation
   Meredith, Wendy        Continue drafting memo related to          $810.00       1.5     $1,215.00
                          procedures for backstop equity
                          accounting and valuation.
   Meredith, Wendy        Meet with T. Gillam (Deloitte) to          $810.00       0.5      $405.00
                          discuss backstop equity disclosures.
   Meredith, Wendy        Review backstop equity disclosures in      $810.00       0.5      $405.00
                          Form 10-Q.
   Nkinzingabo, Rudy      Review documentation pertaining to         $610.00       1.0      $610.00
                          equity backstop commitment to the
                          effective tax rate for the quarter.

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2020 Post Bankruptcy Matters
04/30/2020
   Pidgeon, Andrew            Review disclosures relative to equity       $810.00       0.5        $405.00
                              backstop.
   Schloetter, Lexie          Address notes related to the plea           $410.00       0.5        $205.00
                              agreement consultation memo.
   Schloetter, Lexie          Close notes on memo related to the          $410.00       1.0        $410.00
                              equity backstop testing procedures.
   Shi, Yuxin                 Draft memo pertaining to procedures         $410.00       2.0        $820.00
                              performed for equity backstop
                              valuation.
   Subtotal for 2020 Post Bankruptcy Matters:                                        259.1      $172,663.00

2020 Registration Statement and Financing Reviews
04/01/2020
   Azebu, Matt                Discussion with W. Meredith (Deloitte)      $510.00       0.5        $255.00
                              regarding required procedures related
                              to registration statement amendment.
   Meredith, Wendy            Discussion with M. Azebu (Deloitte)         $810.00       0.5        $405.00
                              regarding required procedures related
                              to registration statement amendment.
04/02/2020
   Meredith, Wendy            Review draft registration statement to      $810.00       0.5        $405.00
                              be issued with the Securities and
                              Exchange Commission.
04/03/2020
   Azebu, Matt                Document procedures performed               $510.00       3.0       $1,530.00
                              related to issuance of consents in
                              connection with amendment to
                              registration statement.
04/06/2020
   Azebu, Matt                Meet with W. Meredith (Deloitte), J.        $510.00       0.5        $255.00
                              Garboden, J. Lloyd (PG&E) to discuss
                              potential disclosures in registration
                              statement.
   Meredith, Wendy            Meet with M. Azebu (Deloitte), J.           $810.00       0.5        $405.00
                              Garboden, J. Lloyd (PG&E) to discuss
                              potential disclosures in registration
                              statement.


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2020 Registration Statement and Financing Reviews
04/07/2020
   Meredith, Wendy        Respond to questions from M.               $810.00      0.5      $405.00
                          Klemann (PG&E) around the timing of
                          registration statement.
04/10/2020
   Azebu, Matt            Research audit procedures required to      $510.00      1.0      $510.00
                          perform on providing comfort letter for
                          the registration statement.
   Pemberton, Tricia      Review comfort letter procedures           $810.00      2.0     $1,620.00
                          performed for the registration
                          statement.
04/13/2020
   Biswas, Sampa          Prepare comfort letter for the Form S-3    $370.00      1.0      $370.00
                          registration statement.
   Meredith, Wendy        Review final workpapers related to         $810.00      1.0      $810.00
                          PG&E Form S-3 registration statement.
   Patha, Prem            Prepare comfort letter for the Form S-3    $370.00      0.5      $185.00
                          registration statement.
04/16/2020
   Azebu, Matt            Discussion with D. Haaren, M. Fleming      $510.00      0.5      $255.00
                          (Cravath), M. Klemann (PG&E), B.
                          Harney (Hunton), W. Meredith, B. Rice
                          (Deloitte) regarding future equity and
                          debt comfort letter procedures and
                          timing.
   Meredith, Wendy        Prepare for discussion with D. Haaren,     $810.00      0.5      $405.00
                          M. Fleming (Cravath), M. Klemann
                          (PG&E), B. Harney (Hunton), B. Rice,
                          M. Azebu (Deloitte) regarding future
                          equity and debt comfort letter
                          procedures and timing.
   Meredith, Wendy        Discussion with D. Haaren, M. Fleming      $810.00      0.5      $405.00
                          (Cravath), M. Klemann (PG&E), B.
                          Harney (Hunton), B. Rice, M. Azebu
                          (Deloitte) regarding future equity and
                          debt comfort letter procedures and
                          timing.




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2020 Registration Statement and Financing Reviews
04/16/2020
   Rice, Blake            Discussion with D. Haaren, M. Fleming       $510.00      0.5      $255.00
                          (Cravath), M. Klemann (PG&E), B.
                          Harney (Hunton), W. Meredith, M.
                          Azebu (Deloitte) regarding future
                          equity and debt comfort letter
                          procedures and timing.
04/24/2020
   Rice, Blake            Review comfort letter procedures for        $510.00      3.0     $1,530.00
                          future debt and equity offerings.
04/28/2020
   Chopra, Harshita       Continue drafting the comfort letter for    $370.00      3.0     $1,110.00
                          the issuance of equity by the company
                          and agreed corresponding amounts in
                          10-K 2019 and 8-Ks to respective 10-
                          Ks, 10-Qs and accounting analysis.
   Chopra, Harshita       Continue drafting the comfort letter for    $370.00      2.0      $740.00
                          the issuance of equity by the company
                          and agree corresponding amounts in
                          10-K 2019 and 8-Ks to respective 10-
                          Ks, 10-Qs and accounting analysis.
   Chopra, Harshita       Draft the comfort letter for the issuance   $370.00      3.0     $1,110.00
                          of equity by the company and agree
                          corresponding amounts in 10-K 2019
                          and 8-Ks to respective 10-Ks, 10-Qs
                          and accounting analysis.
04/29/2020
   Brown, Erin            Document comfort letters overview for       $370.00      2.0      $740.00
                          team learning around planned
                          procedures.
   Chopra, Harshita       Draft the comfort letter for the issuance   $370.00      3.0     $1,110.00
                          of equity by the company and agree
                          corresponding amounts in 10-K 2019
                          and 8-Ks to respective 10-Ks, 10-Qs
                          and accounting analysis.
   Chopra, Harshita       Continue drafting comfort letter for the    $370.00      1.5      $555.00
                          issuance of equity by the company and
                          agree corresponding amounts in 10-K
                          2019 and 8-Ks to respective 10-Ks, 10-
                          Qs and accounting analysis.


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2020 Registration Statement and Financing Reviews
04/29/2020
   Chopra, Harshita       Discussion with S. Varshney (Deloitte)      $370.00      0.3      $111.00
                          regarding queries relating to drafting of
                          comfort letter due to issuance of equity
                          by the company.
   Varshney, Swati        Discussion with H. Chopra (Deloitte)        $510.00      0.3      $153.00
                          regarding queries relating to drafting of
                          comfort letter due to issuance of equity
                          by the company.
04/30/2020
   Azebu, Matt            Discussion with W. Meredith, B. Rice,       $510.00      0.5      $255.00
                          H. Chopra, S. Varshney, J. Hamner, B.
                          Martin, L. Schloetter, E. Brown, K.
                          Boyce (Deloitte) regarding
                          implementation of comfort letters in the
                          2020 audit of PG&E.
   Boyce, Kyle            Discussion with W. Meredith, B. Rice,       $370.00      0.5      $185.00
                          H. Chopra, S. Varshney, J. Hamner, B.
                          Martin, M. Azebu, L. Schloetter, E.
                          Brown (Deloitte) regarding
                          implementation of comfort letters in the
                          2020 audit of PG&E.
   Brown, Erin            Discussion with W. Meredith, B. Rice,       $370.00      0.5      $185.00
                          H. Chopra, S. Varshney, J. Hamner, B.
                          Martin, M. Azebu, L. Schloetter, K.
                          Boyce (Deloitte) regarding
                          implementation of comfort letters in the
                          2020 audit of PG&E.
   Chopra, Harshita       Discussion with W. Meredith, B. Rice,       $370.00      0.5      $185.00
                          S. Varshney, J. Hamner, B. Martin, M.
                          Azebu, L. Schloetter, E. Brown, K.
                          Boyce (Deloitte) regarding
                          implementation of comfort letters in the
                          2020 audit of PG&E.
   Hamner, Jack           Discussion with W. Meredith, B. Rice,       $510.00      0.5      $255.00
                          H. Chopra, S. Varshney, B. Martin, M.
                          Azebu, L. Schloetter, E. Brown, K.
                          Boyce (Deloitte) regarding
                          implementation of comfort letters in the
                          2020 audit of PG&E.




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2020 Registration Statement and Financing Reviews
04/30/2020
   Martin, Blake              Discussion with W. Meredith, B. Rice,      $510.00      0.5       $255.00
                              H. Chopra, S. Varshney, J. Hamner, M.
                              Azebu, L. Schloetter, E. Brown, K.
                              Boyce (Deloitte) regarding
                              implementation of comfort letters in the
                              2020 audit of PG&E.
   Meredith, Wendy            Discussion with B. Rice, H. Chopra, S.     $810.00      0.5       $405.00
                              Varshney, J. Hamner, B. Martin, M.
                              Azebu, L. Schloetter, E. Brown, K.
                              Boyce (Deloitte) regarding
                              implementation of comfort letters in the
                              2020 audit of PG&E.
   Rice, Blake                Discussion with W. Meredith, H.            $510.00      0.5       $255.00
                              Chopra, S. Varshney, J. Hamner, B.
                              Martin, M. Azebu, L. Schloetter, E.
                              Brown, K. Boyce (Deloitte) regarding
                              implementation of comfort letters in the
                              2020 audit of PG&E.
   Schloetter, Lexie          Discussion with W. Meredith, B. Rice,      $410.00      0.5       $205.00
                              H. Chopra, S. Varshney, J. Hamner, B.
                              Martin, M. Azebu, E. Brown, K. Boyce
                              (Deloitte) regarding implementation of
                              comfort letters in the 2020 audit of
                              PG&E.
   Varshney, Swati            Discussion with W. Meredith, B. Rice,      $510.00      0.5       $255.00
                              H. Chopra, J. Hamner, B. Martin, M.
                              Azebu, L. Schloetter, E. Brown, K.
                              Boyce (Deloitte) regarding
                              implementation of comfort letters in the
                              2020 audit of PG&E.
   Subtotal for 2020 Registration Statement and Financing Reviews:                   36.6     $18,074.00

2020 Regulatory Accounting
04/21/2020
   Meredith, Wendy            Review regulatory asset legal              $810.00      0.5       $405.00
                              assessment related to probable of
                              recovery accounting conclusion around
                              wildfire.




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2020 Regulatory Accounting
04/22/2020
   Meredith, Wendy        Discussion with L. Schloetter, B. Rice     $810.00      0.5       $405.00
                          (Deloitte) regarding fire mitigation
                          regulatory asset legal opinion updates.
   Rice, Blake            Discussion with L. Schloetter              $510.00      0.5       $255.00
                          (Deloitte), D. Demartini, A. Duran, D.
                          Mok (PG&E) regarding fire mitigation
                          regulatory asset legal opinion updates.
   Rice, Blake            Discussion with L. Schloetter, W.          $510.00      0.5       $255.00
                          Meredith (Deloitte) regarding fire
                          mitigation regulatory asset legal
                          opinion updates.
   Schloetter, Lexie      Discussion with B. Rice (Deloitte), D.     $410.00      0.5       $205.00
                          Demartini, A. Duran, D. Mok (PG&E)
                          regarding fire mitigation regulatory
                          asset legal opinion updates.
   Schloetter, Lexie      Discussion with W. Meredith, B. Rice       $410.00      0.5       $205.00
                          (Deloitte) regarding fire mitigation
                          regulatory asset legal opinion updates.
04/23/2020
   Meredith, Wendy        Discussion with B. Rice, L. Schloetter     $810.00      0.5       $405.00
                          (Deloitte), D. Kenna, D. DeMartini, A.
                          Duran (PG&E) regarding change in fire
                          related regulatory asset balances.
   Rice, Blake            Discussion with W. Meredith, L.            $510.00      0.5       $255.00
                          Schloetter (Deloitte), D. Kenna, D.
                          DeMartini, A. Duran (PG&E) regarding
                          change in fire related regulatory asset
                          balances.
   Schloetter, Lexie      Discussion with W. Meredith, B. Rice       $410.00      0.5       $205.00
                          (Deloitte), D. Kenna, D. DeMartini, A.
                          Duran (PG&E) regarding change in fire
                          related regulatory asset balances.
   Schloetter, Lexie      Discussion with D. Kenna, D.               $410.00      0.5       $205.00
                          DeMartini, A. Duran (PG&E) regarding
                          change in fire related regulatory asset
                          balances.




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Date                          Description                                      Rate    Hours           Fees

2020 Regulatory Accounting
04/24/2020
   Azebu, Matt                Discussion with T. Gillam, W. Meredith,       $510.00      0.5        $255.00
                              L. Schloetter, B. Rice (Deloitte), A.
                              Duran, D. Mok (PG&E) regarding the
                              status of wildfire related regulatory
                              asset recoveries and timing of future
                              applications.
   Gillam, Tim                Discussion with W. Meredith, L.               $810.00      0.5        $405.00
                              Schloetter, B. Rice, M. Azebu
                              (Deloitte), A. Duran, D. Mok (PG&E)
                              regarding the status of wildfire related
                              regulatory asset recoveries and timing
                              of future applications.
   Meredith, Wendy            Discussion with T. Gillam, L.                 $810.00      0.5        $405.00
                              Schloetter, B. Rice, M. Azebu
                              (Deloitte), A. Duran, D. Mok (PG&E)
                              regarding the status of wildfire related
                              regulatory asset recoveries and timing
                              of future applications.
   Rice, Blake                Discussion with T. Gillam, W. Meredith,       $510.00      0.5        $255.00
                              L. Schloetter, M. Azebu (Deloitte), A.
                              Duran, D. Mok (PG&E) regarding the
                              status of wildfire related regulatory
                              asset recoveries and timing of future
                              applications.
   Schloetter, Lexie          Discussion with T. Gillam, W. Meredith,       $410.00      0.5        $205.00
                              B. Rice, M. Azebu (Deloitte), A. Duran,
                              D. Mok (PG&E) regarding the status of
                              wildfire related regulatory asset
                              recoveries and timing of future
                              applications.
   Schloetter, Lexie          Discussion with P. Liu (PG&E) related         $410.00      0.5        $205.00
                              to the wildfire expense regulatory asset
                              account for quarterly updates.
   Subtotal for 2020 Regulatory Accounting:                                              8.0       $4,530.00

Preparation of Fee Applications
04/07/2020
   Jin, Yezi                  Prepare November 2019 monthly                 $330.00      1.0        $330.00
                              bankruptcy fee statement for filling.



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Preparation of Fee Applications
04/08/2020
   Jin, Yezi               Prepare November 2019 monthly                 $330.00      5.0       $1,650.00
                           bankruptcy fee statement for filling.
04/09/2020
   Jin, Yezi               Prepare November 2019 monthly                 $330.00      2.0        $660.00
                           bankruptcy fee statement for filling.
04/10/2020
   Gutierrez, Dalia        Prepare first draft of the December           $200.00      6.5       $1,300.00
                           monthly fee application, including
                           creating exhibits.
04/13/2020
   Gutierrez, Dalia        Update December monthly fee                   $200.00      3.0        $600.00
                           application per feedback received from
                           M. Rothchild (Deloitte).
   Gutierrez, Dalia        Update December fee statement with            $200.00      2.0        $400.00
                           team feedback.
   Gutierrez, Dalia        Update exhibits for December fee              $200.00      1.0        $200.00
                           application.
   Gutierrez, Dalia        Update December monthly fee                   $200.00      2.0        $400.00
                           application.
   Jin, Yezi               Prepare December 2019 monthly                 $330.00      0.2         $66.00
                           bankruptcy fee statement.
04/18/2020
   Jin, Yezi               Prepare January 2020 monthly                  $330.00      0.5        $165.00
                           bankruptcy fee statement
04/19/2020
   Jin, Yezi               Prepare January 2020 monthly                  $330.00      3.5       $1,155.00
                           bankruptcy fee statement
04/20/2020
   Jin, Yezi               Prepare January 2020 monthly                  $330.00      0.3         $99.00
                           bankruptcy fee statement
04/22/2020
   Jin, Yezi               Prepare January 2020 monthly                  $330.00      2.0        $660.00
                           bankruptcy fee statement
04/23/2020
   Jin, Yezi               Prepare January 2020 monthly                  $330.00      2.2        $726.00
                           bankruptcy fee statement

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Date                            Description                                    Rate    Hours            Fees

Preparation of Fee Applications
04/24/2020
   Jin, Yezi                    Prepare January 2020 monthly                $330.00      2.7        $891.00
                                bankruptcy fee statement
04/25/2020
   Jin, Yezi                    Prepare January 2020 monthly                $330.00      3.2       $1,056.00
                                bankruptcy fee statement
04/27/2020
   Rice, Blake                  Review bankruptcy applications for          $230.00      1.0        $230.00
                                December for submission to
                                bankruptcy court.
   Rice, Blake                  Review bankruptcy applications for          $230.00      1.0        $230.00
                                January for submission to bankruptcy
                                court.
04/28/2020
   Gutierrez, Dalia             Update January fee detail with team         $200.00      3.0        $600.00
                                feedback in preparation for the monthly
                                fee application.
   Gutierrez, Dalia             Prepare exhibits and charts for the         $200.00      4.0        $800.00
                                January monthly fee application
                                including update billing tool with
                                additional staff.
   Gutierrez, Dalia             Prepare first draft of January monthly      $200.00      2.0        $400.00
                                fee application, including exhibits and
                                charts.
04/29/2020
   Jin, Yezi                    Prepare February 2020 bankruptcy            $330.00      0.3           $99.00
                                monthly fee statement.
    Subtotal for Preparation of Fee Applications:                                       48.4     $12,717.00
Total                                                                                 1,353.4   $457,725.00




                                           Recapitulation
        Name                                                   Rate          Hours              Fees
        Basilico, Ellen                                     $810.00            1.0          $810.00
        Clark, Brian                                        $810.00            1.5        $1,215.00

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                        Deloitte & Touche LLP
             Fees Sorted by Category for the Fee Period
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                             Recapitulation
Name                                             Rate          Hours            Fees
Dineen, Sean                                 $810.00             5.5        $4,455.00
Donahue, Nona                                $810.00             0.5         $405.00
Gerstel, Ken                                 $810.00             0.8         $648.00
Gillam, Tim                                  $810.00            56.0       $45,360.00
Graf, Bill                                   $810.00             0.5         $405.00
Kilkenny, Tom                                $810.00             0.5         $405.00
Meredith, Wendy                              $810.00            63.1       $51,111.00
Pemberton, Tricia                            $810.00             8.0        $6,480.00
Pidgeon, Andrew                              $810.00            14.1       $11,421.00
Sasso, Tony                                  $810.00             0.3         $243.00
Weller, Curt                                 $810.00             2.0        $1,620.00
Domingue, Rob                                $700.00            14.7       $10,290.00
Luong, Mimi                                  $700.00             3.1        $2,170.00
Allen, Jana                                  $610.00            20.0       $12,200.00
Nkinzingabo, Rudy                            $610.00             3.0        $1,830.00
Azebu, Matt                                  $510.00            17.0        $8,670.00
Hamner, Jack                                 $510.00             0.5         $255.00
Martin, Blake                                $510.00             0.5         $255.00
Rice, Blake                                  $510.00             8.0        $4,080.00
Varshney, Swati                              $510.00             0.8         $408.00
Xu, Zhixin                                   $510.00            44.0       $22,440.00
Yuen, Jennifer                               $510.00             3.5        $1,785.00
Cochran, James                               $410.00             2.5        $1,025.00
Donahue, Nona                                $410.00             3.5        $1,435.00
Gillam, Tim                                  $410.00            25.5       $10,455.00
Meredith, Wendy                              $410.00            35.9       $14,719.00
Pemberton, Tricia                            $410.00            14.5        $5,945.00
Schloetter, Lexie                            $410.00            16.5        $6,765.00
Shi, Yuxin                                   $410.00            23.5        $9,635.00


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                              Recapitulation
Name                                              Rate          Hours            Fees
Biswas, Sampa                                 $370.00             1.0         $370.00
Boyce, Kyle                                   $370.00             0.5         $185.00
Brown, Erin                                   $370.00             2.5         $925.00
Chopra, Harshita                              $370.00            13.3        $4,921.00
Patha, Prem                                   $370.00             0.5         $185.00
Jin, Yezi                                     $350.00             9.1        $3,185.00
Jin, Yezi                                     $330.00            22.9        $7,557.00
Kamra, Akanksha                               $310.00            18.0        $5,580.00
Kanekar, Anish                                $310.00             4.0        $1,240.00
Long, Brittany                                $310.00            27.5        $8,525.00
Misra, Saurabh                                $310.00             6.0        $1,860.00
Nkinzingabo, Rudy                             $310.00            16.2        $5,022.00
Azebu, Matt                                   $260.00            22.5        $5,850.00
Bhatia, Sagar                                 $260.00             5.5        $1,430.00
Dam, Vivian                                   $260.00            14.0        $3,640.00
Fazil, Mohamed                                $260.00            22.5        $5,850.00
Hamner, Jack                                  $260.00             1.0         $260.00
Hennessy, Vincent                             $260.00             1.0         $260.00
Kipkirui, Winnie                              $260.00            22.3        $5,798.00
Martin, Blake                                 $260.00             1.0         $260.00
Rice, Blake                                   $260.00            46.5       $12,090.00
Varshney, Swati                               $260.00            39.9       $10,374.00
Yuen, Jennifer                                $260.00            33.4        $8,684.00
Rice, Blake                                   $230.00             2.0         $460.00
Bedi, Arpit                                   $210.00            29.7        $6,237.00
Gupta, Deepak                                 $210.00             2.5         $525.00
K, Kavya                                      $210.00             4.0         $840.00
M, Ashwin                                     $210.00             5.0        $1,050.00
Nambiar, Sachin                               $210.00             0.5         $105.00


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                             Recapitulation
Name                                             Rate          Hours            Fees
Ramkumar, Vignesh                            $210.00             5.0        $1,050.00
Schloetter, Lexie                            $210.00           174.0       $36,540.00
Uy, Rycel                                    $210.00             1.0         $210.00
Gutierrez, Dalia                             $200.00            23.5        $4,700.00
Boyce, Kyle                                  $190.00           135.0       $25,650.00
Brown, Erin                                  $190.00           156.5       $29,735.00
Chopra, Harshita                             $190.00            91.0       $17,290.00
Kapoor, Sameer                               $190.00             0.2          $38.00
Khan, Shabeer                                $190.00             0.6         $114.00
Shariff, Salman                              $190.00             1.0         $190.00




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